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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

LEILA GREEN LITTLE, JEANNE                 §   Civil Action No. 1:22-cv-00424-RP
PURYEAR, KATHY KENNEDY,                    §
REBECCA JONES, RICHARD DAY,                §
CYNTHIA WARING, AND DIANE                  §
MOSTER,                                    §
                                           §
   Plaintiffs,                             §
                                           §
           v.                              §
                                           §
LLANO COUNTY, RON CUNNINGHAM, §
in his official capacity as Llano County   §
Judge, JERRY DON MOSS, in his official §
capacity as Llano County Commissioner,     §
PETER JONES, in his official capacity as   §
Llano County Commissioner, MIKE            §
SANDOVAL, in his official capacity as      §
Llano County Commissioner, LINDA           §
RASCHKE, in her official capacity as Llano §
County Commissioner, AMBER MILUM, §
in her official capacity as Llano County   §
Library System Director, BONNIE            §
WALLACE, in her official capacity as       §
Llano County Library Board Member,         §
ROCHELLE WELLS, in her official            §
capacity as Llano County Library Board     §
Member, RHONDA SCHNEIDER, in her           §
official capacity as Llano County Library  §
Board Member, and GAY BASKIN, in her §
official capacity as Llano County Library  §
Board Member,                              §
                                           §
   Defendants.                             §



           DECLARATION OF AMY WALD SENIA IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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       I, Amy Wald Senia, declare:

       1.      I am an attorney at BraunHagey & Borden LLP and counsel of record for

Plaintiffs in the above-captioned matter. I make this declaration based on personal knowledge

and if called upon to testify, I could and would testify competently to the facts stated herein.

       2.      The following documents are public records obtained from Llano County through

requests pursuant to the Texas Public Information Act.

                a. Attached as Exhibit 1 is (1) a true and correct copy of an email thread

                    between Ron Cunningham, Jerry Don Moss, and Amber Milum on

                    December 1 and 2, 2021, entitled “OverDrive,” and (2) a true and correct

                    copy of an email from Melissa Macdougall to Amber Milum on December

                    10, 2021, entitled “Overdrive stats.”

                b. Attached as Exhibit 2 is a true and correct copy of Llano County Library

                    System’s Materials Selection Policy, approved and adopted by the

                    Commissioners Court in August 2006.

                c. Attached as Exhibit 3 is a true and correct copy of an email from Rochelle

                    Wells to Jerry Don Moss on January 19, 2022, entitled “Re: library

                    committee meeting.”

                d. Attached as Exhibit 4 is a true and correct copy of an email from Amber

                    Milum to Jerry Don Moss on October 4, 2021, entitled “‘Butt Books’

                    2021.10.4.”

                e. Attached as Exhibit 5 is a true and correct copy of an email thread between

                    Amber Milum and Suzette Baker on November 5, 2021, entitled “Outside

                    Sign.”



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      f. Attached as Exhibit 6 is a true and correct copy of excerpted portions of an

         excel spreadsheet of the Library System’s record of books removed from

         library shelves between January 1, 2021, through March 31, 2022, entitled

         “Deleted Holdings 1-1-2021 tru [sic] 3-31-2022.” The formatting of the

         spreadsheet was edited for readability, in particular, adjusting column

         widths, adding borderlines, and hiding the following columns: Column A

         titled “Mat #”; Column E titled “Price”; Column F titled “Fund”; Column J

         titled “Call”; Column K titled “Mat Type”; Column L titled “Mat Type 2”;

         Column M titled “Biblio Still Exists”; and Column Q titled “ISBN.” A

         native, unformatted copy of this excel spreadsheet will be lodged with the

         Court on a USB drive.

      g. Attached as Exhibit 7 is a true and correct copy of an email thread between

         Bonnie Wallace, Ron Cunningham, Jerry Don Moss, and Amber Milum on

         November 10 through 12, 2021, entitled “Pornographic Filth at the Llano

         Public Libraries.”

      h. Attached as Exhibit 8 is a true and correct copy of an email from Rochelle

         Wells to Jerry Don Moss and others on November 11, 2021, entitled “Re:

         Update on library books.”

      i. Attached as Exhibit 9 is a true and correct copy of an excel spreadsheet

         compiled by Amber Milum entitled “Bonnie Wallace book list 2021.11.12.”

         A native copy of this excel spreadsheet will be lodged with the Court on a

         USB drive.




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      j. Attached as Exhibit 10 is a true and correct copy of an email from Amber

         Milum to Ron Cunningham on October 28, 2021, entitled “Critical race

         theory book.”

      k. Attached as Exhibit 11 is a true and correct copy of an email thread between

         Amber Milum and Melissa Macdougall on December 13, 2021, entitled

         “Commissioner’s Court.”

      l. Attached as Exhibit 12 is a true and correct copy of an email from

         Christopher Brailas to Amber Milum on January 13, 2022, entitled

         “Overdrive Access control measures via Apollo member records.”

      m. Attached as Exhibit 13 is a true and correct copy of an email from Amber

         Milum to Jerry Don Moss on January 18, 2022, entitled “Overdrive Access.”

      n. Attached as Exhibit 14 is a true and correct copy of an email thread between

         Amber Milum and Jim Monastra on December 10 and December 13, 2021,

         entitled “Overdrive.”

      o. Attached as Exhibit 15 is a true and correct copy of an email from Amber

         Milum to Melissa MacDougall on February 1, 2022, entitled “RE:FW:

         Cengage Learning - 26651567.”

      p. Attached as Exhibit 16 is a true and correct copy of an email from Melissa

         MacDougall to Amber Milum on January 31, 2022, entitled “books.”

      q. Attached as Exhibit 17 is a true and correct copy of an email from Suzette

         Baker to Amber Milum on February 10, 2022, entitled “Order lists.”




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       r. Attached as Exhibit 18 is a true and correct copy of an email from Amber

          Milum to Ron Cunningham on January 20, 2022, entitled “Advisory board

          meeting.”

       s. Attached as Exhibit 19 is a true and correct copy of an email from Melissa

          Macdougall to Pat Newman on December 20, 2021, entitled “Re: library

          card.”

       t. Attached as Exhibit 20 is a true and correct copy of an email from Ron

          Cunningham to Amber Milum on December 21, 2021, entitled “OverDrive

          and Youth Library Cards.”

       u. Attached as Exhibit 21 is a true and correct copy of an email from Ron

          Cunningham to Amber Milum on November 8, 2021, entitled

          “Thanksgiving.”

3.    The following documents were obtained from publicly available sources.

       a. Attached as Exhibit 22 is a true and correct copy of the letter entitled

          “School District Content Inquiry” sent by Representative Matt Krause to

          Texas school district superintendents on October 25, 2021. This document is

          publicly available here:

          https://static.texastribune.org/media/files/965725d7f01b8a25ca44b6fde2f551

          9b/krauseletter.pdf (last accessed May 5, 2022).

       b. Attached as Exhibit 23 is a true and correct copy of the 16-page addendum

          to Matt Krause’s October 25, 2021 letter listing specific book titles and their

          corresponding authors and publication dates. This document is publicly

          available here:



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                    https://static.texastribune.org/media/files/94fee7ff93eff9609f141433e41f8ae

                    1/krausebooklist.pdf (last accessed May 5, 2022).

                c. Attached as Exhibit 24 is a true and correct copy of an article written on

                    March 4, 2022, by Brigid Cooley of DailyTrib.com, a newspaper that covers

                    local news in Llano. This document is publicly available here:

                    https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-

                    closes-meetings-to-the-public/ (last accessed May 5, 2022).

                d. Attached as Exhibit 25 are a true and correct copies of letters to the editor

                    written by Llano County citizens and published by the Llano News on

                    December 22, 2021, December 29, 2021, and February 16, 2022.



       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.



Dated: May 8, 2022                           By:
                                                     Amy Wald Senia




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           EXHIBIT 1
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Carrie Sultemeier

From:                    Amber Milum <amilum@co.llano.tx.us>
Sent:                    Thursday, December 2, 2021 1:54 PM
To:                      Ron Cunningham
Subject:                 RE: OverDrive



I am putting together the information I have and am researching more. I will send you
my findings soon.

Amber


-----Original Message-----
From: "Ron Cunningham" <rcunningham@co.llano.tx.us>
Sent: Wednesday, December 1, 2021 5:44pm
To: "Amber Milum" <amilum@co.llano.tx.us>
Cc: "'Jerry Don Moss"'
Subject: RE: OverDrive

Thanks Amber,
I am asking for a plan on how to implement these filters immediately.
If we cannot, then we need to figure out a way to immediately implement these filters,
then we need to turn off OverDrive until we do have a plan and program implemented.

There has to be a means to filter these books and if turning it off until you have
developed that plan is the only option, then we need to notify Commissioners Court we
are suspending the OverDrive service until we have accomplished this task.

I am adding an agenda item for this coming Monday and am requesting you attend and
present to the Commissioners Court what actions you have taken and what actions we
are to expect in the immediate future.
Thank you,

Ron Cunningham
Llano County Judge
325 .247.7730
801 Ford Street
Suite 101
Llano, Texas 78643
Judge Ron Cunningham rcunningham@co.llano.tx.us
Jennifer Buchanan-Administrative Assistant jbuchanan@co.llano.tx.us

From: amilum@co.llano.tx.us <amilum@co.llano.tx.us>
Sent: Wednesday, December 1, 2021 5:04 PM
To: Ron Cunningham <rcunningham@co.llano.tx.us>

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 Cc: 'Jerry Don Moss'
 Subject: RE: OverDrive

Judge, Commissioner Moss,

I know both of you were needing more information about Overdrive.

Yes, children can access books that are not age-appropriate. However, I have 2 options
for parents. I have contacted our Overdrive representative and this is what he said ...

 As of now, there's not a way for users to identify and block individual titles from others. We do have two separate rooms
that display only content age appropriate for kids, though, which are available both on the OverDrive site and the Libby
app. These eReading Rooms filter out content that is not juvenile or young adult, and are ustickied" so that if a user visits
them, they will be redirected to that site in the future.

Here's links to both rooms:

https://ctdl. overdrive. com/library/kids
https://ctdl.overdrive.com/library/teens


Parents can access these links for Overdrive and it will send them straight to age-
appropriate material. Once logged in and you try to look at something else it will redirect
you to the kids or teens page again.

You can also go to the Llano County website
Click on County Library
Click on the library website
Click on Online info
then click on Overdrive login

At the top, you will see ...
subjects, Collections, Kindle books, kids, teens
you can click on kids or teens and it will only show you titles in that section.

Over to the right, you see My Account, you can log in with your library card number and
the telephone number we have on file (without any dashes). then you can add FILTERS
to what you can see. If you click on juvenile you can only see books in that section.

I have been trying to play around with it and see how it works. So far it is a good
resource for parents. Suzette from Kingsland was also telling me that you can set up
filters on a kindle as well. I have not tried mine as of yet.

I don't have numbers just yet but I think taking away Overdrive will be a disservice to
most of our patrons. We have a lot of elderly patrons who only use overdrive and our
travelers do as well. I hope these options will be a comfort to parents that there is
something that can help.

I will keep looking into options for Overdrive. I would be more than happy to do a show
and tell of how to set up the filters on Overdrive at Commissioners court.

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}f.m6er :Mi{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/




-----Original Message-----
From: "Ron Cunningham" <rcunningham@co.llano.tx.us>
Sent: Wednesday, December 1, 2021 4:32pm
To: "Amber Milumn <amilum@co.llano.tx.us>
Subject: OverDrive

Amber,
Please advise if you have developed any further information regarding Llano County's
OverDrive account.

Although we may not have ordered any books since 2017, can children access books
which are not age appropriate?
If so, can we turn on filters to prevent this?
If not, what options do we have and any options do we have to prevent children
accessing inappropriate material?
If we pull our account from OverDrive, what options do we have for other means of on
line resources?

Thanks,


Ron Cunningham
Llano County Judge
325.247. 7730
801 Ford Street
Suite 101
Llano, Texas 78643
Judge Ron Cunningham rcunninqham@co.llano.tx.us
Jennifer Buchanan-Administrative Assistant jbuchanan@co.llano.tx.us




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amilum@co.llano.tx.us

From:                         amilum@co.llano.tx.us
Sent:                         Friday, December 10, 2021 12:20 PM
To:                           Melissa Macdougall
Subject:                      RE: Overdrive stats



Thank you for the help!!


-----Original Message-----
From: "Melissa Macdougall" <mmacdougall@co.llano.tx.us>
Sent: Friday, December 10, 2021 12:02pm
To: "Amber Milum" <amilum@co.llano.tx.us>
Subject: Overdrive stats

Linda has worked with Overdrive since the beginning, she is pulling together some stats for you. Wanted
to let you know so you wouldn't have to duplicate her efforts.

But for starters - 7,930 checkouts from Overdrive in the last two years.

Melissa Macdougall, Head Librarian
Lakeshore Library
325-379-1174
Currently reading: Bewilderment by Richard Powers




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LLANO COUNTY
LIBRARY SYSTEM
    POLICIES
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                       LLANO COUNTY LIBRARY SYSTEM POLICIES
r                                 August 14, 2006

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                               Llano County Library System

                                  Constitution and By-Laws


    Be It Remembered: That the Commissioners Court, made up of the County Judge and
    the Commissioners Court of Llano County, Texas do hereby adopt and establish this
    Constitution and By-Laws which shall govern, guide and direct the Llano County Library
    System of Llano County in the administration, management and operation of said
    institution according to the Library Laws of Texas.

                                    Article I. Name of Library

    Name of the central library and branches shall be Llano County Library System.

                                       Article II. Location

    The central library shall be located at 102 E. Haynie Street, Llano, Texas, with branches
    in Kingsland and Buchanan Dam.

                                       Article III. Purpose

    The purpose of establishing a free county library is to make available to every individual
(   within the county, and to the public in general, the free use of the books and recreational
    materials in order to promote through guidance and stimulation the communication of
    ideas.

                             Article IV. Management and Control

    The Llano County Library System shall be governed and under the management and
    control of the Commissioners Court of Llano County. The maintenance and management
    of the Library System shall be in accordance with the Constitution and By-Laws adopted
    by the Commissioners Court.

                                   Article V.   Related Boards

    The Llano County Library Board acts in an advisory capacity offering suggestions for the
    improvement of library services. The Commissioners will appoint one member from their
    own precinct, each organized Friends of the Library will appoint one member, and the
    Woman's Culture Club will appoint one member. All will serve four-year terms after
    approval from Commissioners Court.

    Friends of the Library organizations are desirable as cooperating agencies but shall adopt
    no policies which conflict with the policies of the County Commissioners Court or the
    Llano County Library System Constitution and By-Laws. Copies of the Constitution and
    By-Laws shall be sent to all related organizations.

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                       Article VI. Establishment and Maintenance Funds.

    The Commissioners Court of Llano County, Texas has established, maintains, and
    operates a free county library for Llano County.
    The county library shall be located at the county seat in the courthouse unless a more
    suitable location is available. Branches of the county library shall be located as directed
    by Commissioners Court.
    Commissioners Court will allocate funds each year for the use of the Library.

                                   Article VII. Library Director

    The Commissioners Court shall employ a County Librarian or Director who shall hold
    the position at the pleasure of the Commissioners Court. No person shall be eligible for
    the position of County Librarian unless prior to his/her employment he/she has received
    from the Texas State Library and Archives Commission a certificate of qualification.

                                 Article VIII. Salary and Expense

    The Commissioners Court shall fix the salary of the Library Director and Library
    Assistants at the time they fix the salary of the appointed county officers. The Library
    Director and Library Assistants shall be allowed traveling expenses incurred in the
    business of the library in accordance with the county budget.

                               Article IX. Duty of the Librarian
(
    The Librarian shall endeavor to give an equal and complete service to all parts of the
    county through branch libraries and deposit stations in schools and other locations where
    suitable quarters may be obtained, thus distributing printed matter, books and other
    educational matter as quickly as circumstance will permit. The County Librarian shall
    have the power to make rules and regulations for the county free library, to establish
    branches and stations throughout the county, to determine the number and kind of
    employees of such library, and to appoint and dismiss such employees in the same
    manner as provided by the Commissioners Court for other county departments. The
    county librarian shall, subject to the general rules adopted by the Commissioners Court,
    build up and manage according to accepted rules of library management, a library for the
    people of the county and shall determine what books and other library equipment shall be
    purchased.



                      Article X. Amendment of Constitution and By-Laws.

    This Constitution and By-Laws may be amended on majority vote of the Commissioners
    Court.



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                            PPROVED ON THE 14th day of August 2006 BY THE

r
                            7RS CO T and supersedes any previous versions.

    ,.




           ohnnie Heck, Commissioner Precinct # 1




          Duane Stueven, Commissioner Precinct #3




(         Leon Tucker, Commissioner Precinct #4




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                                 Mission Statement

    The mission of the Llano County Library System is to provide resources to help
    community residents obtain information, which meets their personal, educational,
    professional, and recreational needs.




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                                     Administration
r
    It is the responsibility of the Director, under the direction of the County Judge and the
    Commissioners Court, to administer the County Library System according to state law
    and accepted library practice.




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                         Americans with Disabilities Act

    The Llano County Library System complies with the Americans with Disabilities Act of
    1990, Public Law 101-336 (ADA), which prohibits discrimination on the basis of
    disability. The ADA, as applied to cities, counties, and other local governmental entities,
    requires that no qualified individual with a disability shall, on the basis of a disability, be
    denied the benefits of local government services, programs, or activities.




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       Building Fund Policy for the Llano County Library System

    A building fund may be started for any library in the Llano County Library System by
    requesting permission of the Director of the Library System and with the approval of
    Commissioners Court.

    Rules governing the establishment, deposits to and disbursements from these funds shall
    be as follows:

       •   Upon granting permission for such a fund to be started, the Director shall meet
           with the County auditor to establish a separate account for each building fund
           which is established.

       •   Funds may be deposited to the said account by forwarding funds, fully identified
           with all pertinent information (i.e. branch name and /or number, account number
           if more than one account exists, source of funds and amount) to the County
           Treasurer.

       •   The Director of the Library System shall determine the purpose (furniture,
           equipment, etc.) for which the building funds will be spent.

       •   Monies may only be disbursed from a building fund by the County Treasurer
(          upon receipt of written approval of the disbursement from the Director of the
           Library System, the County Auditor, and Commissioners Court.




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                                Confidentiality Policy
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    The Llano County Library System follows the policy of the American Library
    Association and aims to provide confidentiality for all its patrons.

    The records of library materials borrowed or used, the information sought in the library,
    or services used, cannot be disclosed to anyone except:

       •   As reasonably necessary for the operation of the library;
       •   Persons authorized, in writing, by the individual named in the records;
                  or

       •   By order or subpoena of a district court, issued on a showing of good cause.




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                                    Copy Machines


    The following statement of copyright is to be posted at every copy machine:

           Notice: The Copyright Law of the United States (Title 17 U.S. Code) governs the
           making of photocopies or other reproductions of copyrighted material. The
           person using this equipment is liable for any infringement.


    A copy machine is available at each Llano County Library for public use for a fee.




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                                    Displays/Exhibits
    Bulletin boards maybe placed in the library to announce meetings, etc. of public interest.
    No notice may be placed on the bulletin board that expresses personal viewpoints or is
    offensive to others.

    Display space is available in the library's exhibit case for educational, artistic, and
    cultural materials that promote interest in the use of books, library materials, and
    information, or that share information about local art and cultural groups. Preference will
    be given to exhibits that are timely and of general interest. Displays that focus on a
    public issue (including elections and political issues) must include information about
    major aspects of differing points of view. Displays that are solely commercial in focus
    are not appropriate.

    Groups or individuals desiring to use the exhibit case should submit a request to the
    librarian at least one month in advance. Generally, the same group or individual may
    display items one time per year.

    The librarian may reject any exhibit or display that does not fit with the mission of the
    library or that is not neat and presented attractively. Labels for exhibit items must be neat
    and legible. Display of items in the library does not indicate endorsement of the issues,
    events, or services promoted by those materials.

(   The library will take reasonable care to ensure the safety and security of items displayed;
    however, the library has no insurance to cover exhibit items and assumes no
    responsibility in the event ofloss, theft, or damage. Exhibitors are encouraged to insure
    items of value and will be asked to sign a form that releases the library from
    responsibility for loss, damage, or destruction. Items displayed may not include price
    tags or other information regarding the purchase of items. Items must be removed from
    the exhibit case as scheduled by the librarian, or they will be removed and stored for
    thirty days by library staff. After thirty days, they will be disposed of in accordance with
    local law.




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       Establishment of a New or the Expansion of Existing
                            Libraries
    Within the province of the Llano County Library System, new libraries may be
    established, existing libraries expanded or services in existing libraries expanded at the
    direction of the Director of the Library System in consultation with Commissioners
    Court.

    Using the American Library Association output measure procedure, the Director will
    identify needs of the library according to the roles assigned to that library. These will be
    presented to the Governing Body for consultation and approval.

    The same policy shall apply to the discontinuance or curtailment of library services of
    any library in the County System.




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            Genealogy Collection and Maintenance Policy
    Genealogy, a unique collection for the Llano County Library System, will be built and
    maintained as a research collection. The primary purpose of this department is a
    collection specific to the area of Llano County and as funds allows contiguous counties.
    The branch libraries may have sections (not departments) set aside for basic genealogy
    reference to supplement the genealogy department and to assist genealogy in the areas of
    Llano County Branch Libraries.
                1. Only duplicate materials are allowed to check out. All other material is
                   reserved. Some genealogy material (which fits the selection policy for the
                   archives) may be duplicated and marked permanent collection for the
                   Archives Collection.
                2. The materials collected for the genealogy department and branch sections
                   will be collected through donation monies, memorials or gifts. The
                   Library System reserves the right to refer or reject materials of
                   questionable value to the collection. Availability of space will be of major
                   concern in determining which will be accepted. Materials for this
                   collection must meet the same selection criteria as other collection
                   development materials.
                3. Materials suitable for collection include the following formats: County
                   records, census records, immigration and passenger lists, military records,
                   and pertinent state and federal records. These records may be in the
                   format of oral histories, clippings, manuscripts, maps and measured
(                  drawings.
                4. Due to the lack of space the following materials will not be included:

                       •   Display cases, collections, memorabilia and ephemera (unless of
                           an especially relevant and unusual nature) will not be collected.
                       •   Individual family histories generally will not be purchased. Gifts
                           of family histories will be accepted as space and need allow.
                       •   Highly technical works on Heraldry, unless they contain large
                           numbers of names, will be excluded.
                       •   Materials in familiar foreign languages may be acquired if they are
                           of particular significance and value to the collection.
                       •   Histories of specific, small geographic areas (i.e. Buck's County,
                           Pennsylvania) will not be emphasized.

               5. Suitable materials that have historical, geographical, or cultural relevance
                  to the County of Llano are recommended. However, due to the large
                  number of retired patrons from other areas of the United States living in
                  our branch locations, other materials will be considered for these
                  locations. Space limitations will be of primary concern in adding to these
                  sections.


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               6. Only basic genealogy information should be duplicated in the Main
                  Library and Branches (i.e. How to Get Started, etc.). All material in the
                  genealogy department and sections will reside in the collection for which
                  it was selected.
               7. Census films that are available for rental and duplicate material available
                  from the state can be ordered at the Main Library and the Kingsland
                  Branch. Interlibrary loans between the Main Library and the branches are
                  not permissible.
               8. The Llano County Library System welcomes and encourages research of
                  all kinds while at the same time acknowledging the limitations of the
                  collection, budget constraints, staff time and the availability of a much
                  more comprehensive collection in Austin.
               9. The degree to which help will be available to the genealogical patron is
                  discussed in the following paragraph:

                         It should be recognized that the library staff cannot do a patron's
                         genealogy research for him. Should a patron be totally
                         inexperienced in the methods ofresearch involved, the public library
                         can fulfill its responsibility by providing him with the names of
                         professional and amateur genealogists in his area who might be
                         willing to help.

    Because of the content and cost of many items in the area, the collection will be restricted
    to the non-circulating collections of reference/genealogy.
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                              Gifts and Memorial Policy
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    The Llano County Library System accepts gifts of money and materials with the
    understanding that the library may do with them as it sees fit. They become the sole
    property of the library. Gifts of materials may be added to the library collection. They
    will be subject to the same principles and standards of selection as are applied to all
    materials added to the library's collection.

    All materials in the library's collection will be displayed, circulated, or made available
    for use in a manner consistent with its facilities, good library practice, and the needs of
    the public.

    It is to be understood that the Llano County Library System is to have full authority as to
    when, where, and how any gifts of materials are displayed or used.

    The library will attempt to comply with the wishes of the donor, but it reserves the rights,
    as conditions change, to assign any of its materials wherever the need is greatest.

    All gifts of materials must be in a usable physical condition. The Library will not accept
    materials that are not outright gifts.

    A library that is used extensively by its public sustains losses through theft, mutilation,
    and ordinary wear. The Library cannot guarantee that any gift will be a permanent part
(   of the collection.

    Because of limitations of space, budget, and staff, the Library reserves the right to
    discard, at its discretion, any unsolicited materials sent to the Library or its branches.

    The Library encourages and welcomes cash gifts, endowment funds and bequests for
    purchasing books (in general or specified areas), other library materials and equipment,
    for improving the library facilities, or for the benefit of the library staff. This money may
    be used for memorial purposes.

    It is the Llano County Library System policy to publicly acknowledge memorial
    donations; however, all other information, (amount, etc.) unless othetwise specified by
    the donor, will be kept confidential.




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                                    Interlibrary Loan
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    The Llano County Library System offers interlibrary loan as one of its standard services.
    In order to satisfy the needs and interests of local residents, the library staff will attempt
    to borrow specifically-named materials not available in this library from other institutions
    around the state, the nation, and the world. Interlibrary loans for unspecified materials on
    specifically-named subjects also will be submitted.

    The staff will place interlibrary loan requests for any user, with an established library
    card, in good standing, including both adults and children. This service is extended to all
    patrons, regardless of their towns ofresidence. The library will not extend interlibrary
    loan services to any patron with outstanding overdue fines, lost or damaged item charges,
    or other infractions on his/her borrower record.

    Some materials may not be available such as high demand items, bestsellers, and items
    with a publication date of less than six (6) months or feature movies.

    A patron may not have more than three (3) active ILL requests at one time.

    Interlibrary loan materials obtained by the Llano County Library System are here on a
    time-limited basis; therefore, the patron's cooperation in picking up materials promptly is
    requested. Interlibrary loan materials not picked up within five (5) days after patron
    notification may be returned to the lending institution and a mailing fee will be charged
(   to the patron's account.

    The length of time an interlibrary loan item is loaned to this library is determined by the
    lending institution. Loan periods can vary greatly. Patrons are warned that some
    interlibrary loan materials will not be renewable. Renewals of items beyond the loan
    period specified by the lending institution must be approved in advance by that lending
    institution.

    Titles frequently requested for interlibrary loan are considered for purchase and addition
    to the library's permanent collections.




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              Llano County Library System Patron Internet & Computer Policy
                                                Effective 6/28/2021

The purpose of this policy is to define the appropriate use of the technology resources within the Llano County
Library System (LCLS). To ~Ifill our mission, the Llano County Library System provides access to a broad range
of informational resources, including those available through the Internet.

We make this service available as part of our mission to be Llano County's place for learning, access to
innovative technology, creative solutions to Informational needs, and empowering personal and professional
growth.

The Llano County Library System and its employees do not monitor or control material accessed through the
Internet and cannot be held responsible for its contents. Not all information found on the Internet is accurate,
complete, up•to-date, legal, or philosophically acceptable to all Individuals.

Llano County and the Llano County Library System assume no responsibility and shall have no liability for any
direct, indirect, or consequential damages arising from the use of information found on the Internet or any
communications sent through the Library's Internet computers.

Consent Form:

    •   All Internet computer users will be required to read this policy and sign a consent form.
    •   Signing In to use a computer implles that the user agrees to comply with the LCLS Patron Internet &
        Computer Policy.
    •   Parents or legal guardians of minors must sign a permission form for the child to use the computers.
    •   Minors are any individual under the age of 18.

Staff Assistance:

    •   Library Staff will help identify starting points and sites for searches appropriate to the library's mission
        and service roles.
    •   Staff will provide limited assistance.

Usage and Time Umlts:

    •   Computer users must be assigned a computer by library staff.
    •   Each patron must use their own Llano County library card to be assigned a computer.
    •   A guest pass for computer use is available for visitors by providing a driver' s license or photo ID.
    •   No more than two people, If their behavior does not disturb those around them, may share a
        workstation. Unauthorized or unaccompanied minors may not sit or "hang out" at the computer
        stations.
    •   Each patron at a computer station is allowed 30 minutes, additional time may be allotted at the
        discretion of library staff. If patrons are waiting to use a computer, those whose sessions have been
        the longest (30 minutes or more) will be asked to surrender their stations to the patrons who are
        waiting.
    •   Charges for printouts are 15 cents per page for black and white and 75 cents per page for color.
        Patrons are responsible for all printouts they generate and can ask for assistance to avoid unnecessary
        charges.
    •   Computer reservations, use, and printing services end 15 minutes before closing.
    •   Computer privileges will be withheld until library fines are paid, Including those for lost or damaged
        materials.
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General Rules:

    •   Patrons are responsible for abiding by all copyright laws.
   •    Patrons should respect the privacy of others who are using the computer.
    •   Only Library software can be used on Library computers.
   •    You must comply with instructions from library staff.
   •    No food or drink is permitted at the computer stations.

Download Ing/Saving:

    •   Patrons may only download or save to their personal mobile storage device (ex. flash drive).
    •   Saving or downloading to public computers or desktops from the internet and personal software is not
        permitted.

FIitered Computers:
    •   Filtered computers restrict access to inappropriate internet websites.
    •   All minors will be placed at filtered computers as required by law.
    •   Parents and legal guardians assume all responsibility for materials their minor children access while on
        the Internet and should be aware that filtering is not 100% foolproof and Llano County and the Llano
        County Library System has no control over and is not responsible for information found on the
        Internet.

Prohibited Uses:

    •   Turning off or restarting computers, tampering with or changing icons on the desktop.
    •   Continuously using sounds and visuals which might disrupt the ability of other library patrons to use
        the library and its resources.
    •   Sending, receiving, or displaying pornography/child pornography -- It Is a criminal offense to view
        pornographic or obscene sites on library computers according to the Texas Penal Code and/or the
        Federal Criminal Statutes.
    •   Interfering with the operation of any computer, alter, damage or destroy data, computer programs, or
        settings. These acts are considered a felony under the Texas Penal Code.
    •   Attempt to corrupt private information, files, or access other networks.
    •   Install software or programs, save, download or upload files to the C drive.
    •   Engaging in any activity which is deliberately and maliciously offensive, libelous, or slanderous.

Penalty for Violation of Internet & Computer Polley:

Actions that violate local, state, or federal law will be prosecuted and will result in a permanent loss of
computer use privileges and will be referred to the appropriate law enforcement agencies.

    •   For all other policy violations, where warnings are ignored, such violation is entered into the member's
        account resulting in suspension and/or permanent loss of computer use privileges.
    •   Suspensions and/or permanent loss of computer use privileges will be enforced system-wide.
    •   You will receive a document stating the reason for the suspension or permanent loss of your Llano
        County library System computer use prlvlleges,
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                           Llano County Library System Patron Internet & Computer Policy



     Approved By the Llano County Commissioner's Court June 28, 2021




                                    Judge Ron Cunningham




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                          Materials Circulation Policy
    To check out material the patron must have a current library card from the Llano
    County Library System and present it at the time of checkout.

    Books
       • Two weeks for most books.
       • Books designated reserved may check for two weeks with no renewal. These may
          include best sellers, very new books, titles in high demand, etc.
       • Reference books, reference genealogy and materials in the vertical file do not
          circulate.
      • Interlibrary Loans are due the date indicated by the lending library.

    Periodicals
       • Periodicals that are dated less than three months before the current date may not
           be checked out.

    Paperbacks and other non-cataloged materials
       • Have no due date.

    Audiocassettes
       • Two weeks for audiocassettes.
    Videos
(      • Videos and DVDs check out for three working days.

    Computer Software
      • Computer software checks out for two weeks. Software may be renewed.

    Equipment
      • The Llano Library System does not loan equipment (projectors, cameras, etc.) to
         the public.

    There are limits on the number of items that may be checked out at one time per
    person. These are:
       • New borrowers are limited to one bar-coded item.
       • Other patrons unlimited unless that patron has over-dues or fines (see overdue
           fine procedure).

    The Library has established two loan periods.
       • 3 Working days: Videocassettes.
       • 14 Calendar days: new fiction, nonfiction of a popular nature, current holiday
          materials.




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    Renewals

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       •   Renewal periods are for two weeks with the exception of videos and DVDs,
           which renew for 3 days. Items may be renewed twice.

    Special Loans
       • The Librarian may establish the loan period for special collections, materials that
           are temporarily in great demand for students, or materials added to the collection,
           which are in new format, e.g. computer software. The size of the collection and
           patron demand will be the primary criteria for setting the loan period.

    Materials may be renewed in person, by phone or e-mail on days the library is open to the
    public. Items may be renewed two times.
    The Librarian may refuse renewal if it is felt that demand necessitates such action.
    Renewal on Interlibrary loans should be referred to the interlibrary loan clerk.

    Patrons with fines:
        • A fine will be added to the library patron's record and is due on the return of the
           item. No item may be checked out until the record is clear.
        • Use of another family member's card to avoid paying fines or paying for lost
           material is prohibited.

    Library liability
       • Patrons checking out library owned materials are doing so at their own risk. Any
          damage to a machine due to use of library material is not the responsibility of the
          library.
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                            Materials Selection Policy
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    Purpose of Policy
       • To guide the Director/Head Librarian in the selection of materials.
       • To inform the public about the principles upon which selections are made.

    Definition of Media Selection
       • "Selection" refers to the decision that must be made either to add materials to the
           collection or retain materials already in the collection. The "de-selection" of
           materials will be based on information supplied in the Crew Manual.

    Goals of Media Selection
       • To maintain a well-balanced and broad collection of materials for information,
           reference, research, and enjoyment.
       • To support the democratic process by providing materials for the education and
           enlightenment of the community.

    Responsibility for Selection
       • The ultimate responsibility for media selection rests with the Director/Head
          Librarian of the Library, who operates within the framework of policies
          determined by the Commissioners Court. The general public and staff members
(         may recommend materials for consideration.

    General Principles
       • Selection is based on the merits of a work in relation to the needs, interest and
          demands of the Llano County Library System. Basic to this policy is the Library
          Bill of Rights, as adopted by the American Library Association. This states in
          part, "In no case should any book be excluded because of race or nationality or
          the political or religious views of the writer. There should be the fullest
          practicable provision of material presenting all points of view concerning the
          problem and issues of our times ... international, national and local; and media or
          other reading material of sound factual authority should not be proscribed or
          removed from the library shelves because of partisan or doctrinal disapproval".
          The Library does not promulgate particular beliefs or views, nor is the selection of
          any given media equivalent to endorsement of the viewpoint of the author
          expressed therein.
       • Responsibility for the reading of children rests with their parents or legal
          guardians. Selection should not be inhibited by the possibility that media may
          inadvertently come into possession of children.
       • Materials with an emphasis on sex, or containing profane language should not be
          automatically rejected. Selection should be made on the basis of whether the
          media presents life in its true proportions, whether characters and situations are
          realistically presented, and whether the media has literary value.
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        •   Based on the services it is expected to perfonn, it is the responsibility of the
(           Library to provide circulation reference, and research material for the general
            public and the student. Special collections in depth (business, technology, local
            history, etc.) shall also be maintained when indicated by accepted Library
            procedures and budget restraints.

    Specific Principles for Selection
       The following principles will condition selection:
           • Contemporary significance or permanent value.
           • Accuracy
           • Authority of author
           • Relation of work to existing collection
           • Price, format and ease of use
           • Scarcity of information in subject area
           • Availability of material elsewhere in community ... holdings of other libraries
               within the community is considered in developing the Library's collection.
           • Popular demand ... The Library should make available materials for
               enlightenment and recreation even if not enduring in value, interest or
               accuracy. A representative sampling of experimental or short-lived materials
               may be purchased.

    Textbooks
       • Providing textbooks and curriculum material is generally held to be the
(         responsibility of the schools. Textbooks should be purchased for the collection
          when they supply information in areas that may be the best, or the only source of
          information on the subject.

    Non-book Materials
      • Purchase of non-book materials should be governed by the same principles and
          criteria applied to book purchase.

    Gifts
        •   Selection of gifts should be governed by the same principles and criteria applied
            to the selection of an item for purchase. No conditions may be imposed relating
            to any gift after its acceptance by the Library

    Requests for removal of materials
       • The patron's choice of library materials for personal use will be an individual
          matter.
       • Responsibility for the use of materials by children and adolescents shall rest with
          their parents or legal guardians. While a person may reject materials for himself
          or herself and for his or her children, he or she shall not exercise censorship to
          restrict access to the materials by others.




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        Llano County Library System Meeting Room Policy
                Llano • Kingsland • Lakeshore



Meeting Room Policy

   This policy establishes guidelines and procedures for the use of Llano County
   Library System meeting rooms. Each of the libraries in the System make a meeting
   room available for general informational, educational, cultural, and civic needs of the
   community. Procedure for use of meeting room space may vary at each Library, and
   is stated in the Meeting Room Agreement. The meeting rooms are available during
   Library hours, as well as evenings and weekends when the Library is closed.

Rules for Use

   The rules for use listed below are in addition to the guidelines stated for each
   Category Group and apply to all. Permission to use a Library Meeting Room may be
   withheld from groups failing to comply with the Meeting Room Policy.

General

   The library's meeting rooms are primarily for use by the library for programs and
   other activities held under its sponsorship. Therefore, Library and/or County needs
   may preempt any other scheduled use of the meeting rooms. Meetings that interfere
   with Library use are not permitted.

   Use of the Library Meeting Room does not constitute Library endorsement of
   viewpoints expressed by the group reserving the room or participants & attendees at
   the event. No advertisement or announcement implying such endorsement will be
   permitted.

   Usage of the Library's phone number as a contact number will not be permitted. The
   Library will not serve as an information source for persons who may have questions
   regarding the meeting/event. Adequate information must be provided on the
   Library's Meeting Room calendar to satisfy any questions, including, but not limited
   to, a contact phone number and/or email address.

   All activities taking place in Library Meeting Rooms must be open to the public.

    Public kitchen facilities vary by Library and will mandate types of refreshments/meals
    able to be served (see individual Library procedures).

    All groups using the Meeting Room agree to hold Llano County Library System and
    the County of Llano harmless from all liability, including injuries, accidents, loss or

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   damage to personal equipment, and/or any expenses that arise during or may be
   caused by use of the facility.


   Reservations

   Reservations may be placed on an as-needed basis, dependent upon availability.
   Reservations, including standing reservations, for the next calendar year may be
   placed after the Open Reservation Period begins, no earlier than October 1 (see
   individual Library procedures). No reservation is final until the Meeting Room
   Agreement and fee are processed by the Library staff.

   Reservations are on a first-come first-serve basis. No reservations roll-over into the
   next year, and no group has exclusive right to a particular day of the week or month.

   Reservations for Meeting Room use may only be made by an adult.

   Time reserved should include any set-up/clean-up time needed in addition to
   meeting time. Due to multiple uses during a day, the room will not be available
   before the time scheduled.

   No group may assign its reservation to another group or individual.

   For after-hours and weekend meetings, a key must be picked up during Library open
   hours by the person(s) listed on or with the reservation form. The Library does not
   issue reminders. No special arrangements will be made for groups that fail to pick up
   a key prior to a meeting.

   Notices of cancellations should be made as soon as possible by the person making
   the original reservation. A full refund of reservation fee will be made for cancellations
   made 48 hours in advance of scheduled meeting/event. Failure to cancel at least 48
   hours in advance will result in forfeiture of all fees. Refunds only apply to single use
   reservations.

   If a group fails to appear for two consecutive meetings without making a
   cancellation, all future reservations of the group are cancelled until the group
   reschedules. To resume a meeting schedule, a new meeting room agreement must
   be completed and appropriate fee paid.

   A reservation, though previously confirmed, may be cancelled by the Library due to
   booking the room for a Library event or meeting, County of Llano needs, and for
   voting and elections.

Restrictions

   No religious ceremonies or services may be conducted in the Meeting Rooms.


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   Fundraising events are prohibited, including any "by donation" events. Sales of
   products and/or services and any other charges are prohibited. Sales and donations
   may be allowed at Library sponsored events.

   No animals, with the exception of service animals, are allowed in the Meeting
   Rooms.

   Smoking, tobacco products, illegal drugs and alcoholic beverages are not permitted
   in any Library facility.

   Children may not be left unattended in the Library by meeting attendees.

   If there is any doubt or disagreement about whether a proposed use of the meeting
   room violates any of these restrictions, the Library Director will consult with the
   County Officials.

Care and Use of Facility

   Public entrances/exits are to be used by persons attending a meeting/function and
   for all deliveries and must remain unlocked for duration of meeting.

   Attendance must be limited to the capacity of the individual Meeting Room (stated in
   meeting room agreement). Open aisles must be maintained within the seating
   arrangement to meet ADA requirements and allow for easy access to exits.
   Seating/standing outside the Meeting Room in corridor or foyer is prohibited.

   Furniture/equipment from outside or other areas of the Library will not be permitted
   without approval at time of reservation. Each Library makes available certain
   AudioNisual Equipment upon request.

   Equipment, supplies, or personal effects cannot be stored in the Library Meeting
   Rooms prior to or after use.

   Meeting Room tables and chairs may be rearranged for meeting/function, but must
   be returned to the original arrangement at the end of the meeting.

   Groups using the Meeting Room must provide their own paper goods, i.e. plates,
   cups, napkins, utensils.

   All trash and debris resulting from refreshment or meal service must be disposed of
   properly, and all trash receptacles emptied and garbage placed in outside
   dumpsters.

   All damages must be reported to the Library, including spills on carpet. The
   individual making the reservation and the membership of the group as a whole will


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   be held responsible for all damages and cleaning charges that occur.

   Meeting room exits must be properly secured and lights turned off at the completion
   of meeting or program. Instructions for opening/closing procedure and return of
   meeting room keys is provided by the Library.

Use Categories

   Meeting room use is available to Not-For-Profit groups and organizations, and For-
   Profit Businesses. Each use category will be charged a fee for use (see fee
   schedule). Government entities will not be charged a use fee. Each category must
   adhere to the general guidelines and procedures, as well as any stated for each
   category.

Not-For-Profit Groups & Organizations

   There is an annual fee for meeting room use. This fee applies to one-time or multiple
   use (see fee schedule). Fee is for individual Library and is not transferrable between
   branches.

   No group or organization may reserve/use the meeting room more than twice per
   month. Exceptions may be made at the Manager's discretion depending on room
   availability.

   No fees may be charged to persons attending; however, non-profit organizations
   may collect regular memberships and dues.

For-Profit Business

   This category applies to any person or group that operates for profit.

   There is a fee charged per use (see fee schedule).

   For-Profit Businesses may use meeting rooms for employee informational and
   training purposes, and to share general information with a group or on a one-on-one
   basis.

   Solicitations for services and sales of goods will not be permitted.


Failure to Comply with Policy

   Permission to use Library meeting rooms will be withheld from a group that fails to
   comply with the Meeting Room Policy or from a group that damages a meeting
   room, the carpet, equipment, or furniture, or causes a disturbance.



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Fee Schedule

   Not-For-Profit Groups and Organizations
   $25 non-refundable annual fee

   For-Profit Business
   $50 per-use fee




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             Overdue, Damaged, and Lost Materials Policy
r    Public library services are based on the principle that library patrons assume certain
     responsibilities to cooperate in providing a community resource. One of these
     responsibilities is to return borrowed materials promptly so that the materials will be
     available to others. To facilitate the timely return of materials, the library has established
     loan periods based upon a judgment of reasonable time period needed by the average
     patron to utilize the material and upon the demand for the material.

     To encourage the prompt return of material, the library has established a fine as a penalty
     and as a reminder to those patrons who fail to return materials by the due date. When
     materials are not returned promptly, this penalizes other patrons who may wish to have
     access to these materials within a reasonable time and causes the library to incur
     additional expenses.

     Any patron who borrows materials from the Llano County Library System is responsible
     for returning them in a timely manner and in good condition. Patrons will make
     restitution for materials damaged while in their possession. A fee for damages or
     replacement plus processing will be accessed and must be paid before any other materials
     are checked out.

     When a patron reports the borrowed material lost or fails to return it, the patron will make
     restitution to the Library by paying for the materials plus a processing fee. The
(    restitution and fee must be paid before any materials are checked out.

     Patrons with fines, lost books or damaged materials may not check out materials until
     their card is in good standing.

     Llano County Library System will pursue the return of items through the court system
     when items are not returned within 6 months of the due date and if all other collection
     attempts have failed.




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                                Patron Registration Policy
r    The Llano County Library System serves all residents of the County of Llano.

     The Library issues the first library card free of charge to all citizens.
            • Adults may obtain a library card after filling out an application and showing
               identification.
           • Children under 18 years may apply for a library card with the signature of
               their parents or guardians and the showing of identification from the parents
               or Guardians. The parent's card (if they have one) must be in good standing
               for the child to obtain a card.

     Lost cards may be replaced for a fee that increases with each replacement.




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              Patron Rules Governing Use of the Library
    The right to use the library is extended to all citizens of Llano County without
    discriminatory restrictions because of name, race, creed, color or national origin.

    Those who disobey the following rules will first be warned. If the disobedience does not
    cease, those involved will be asked to leave. The police will be called for those who
    refuse to leave after being asked to do so, or when engaging in unlawful behavior.
    Repeated disobedience of library rules is grounds for denial oflibrary privileges.

    Forbidden Activities
       1. Any behavior that presents an imminent danger to oneself and /or others.
       2. Running, fighting, or playing
       3. Disturbing others with loud talking; including use of portable phones and other
           electronic devices.
       4. Smoking or use of any tobacco product or possession of controlled substances.
       5. Animals, insects and other living organisms may not be brought into the library.
           Trained guide animals are allowed when being used by a physically challenged
           guest. From time to time, animals, etc. may be used in Library programs with the
           permission of the Library Director and only under certain conditions that address
           the safety of guests and care of the facility.
       6. Sexual misconduct.
       7. Sleeping or loitering.
(      8. Food and beverages are not allowed except in the meeting room.
       9. Solicitation, for profit or charity.
       10. Selling or distributing items or leaflets.
       11. Possession by anyone of a firearm, illegal knife, or any weapon defined by the
           Texas Penal Code except a peace officer engaged in the performance of his
           official duties.
       12. Willful damage to library property.
       13. Disorderly conduct as defined in of the Texas Penal Code.
       14. Gambling.

    General Rules.
           1. Library staff is not to assume responsibility for the care of children in the
              Library or on the Library grounds.
          2. It is library policy that all children under age 5 must be accompanied by a
              parent or designated responsible person while in the library. Also, if the
              young child (age 5 or under) is attending children's programming, we require
              that the parent/responsible person remain in the Library throughout the
              program.
          3. No children under age 16 may be left unattended on library premises at
              closing.
          4. Items may not be left at the library for pick up by another person.




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                                    Public Relations
r
    The Purpose of the public relations policy is to guide efforts to keep the community
    informed about the Llano County Library System's mission, services and resources and
    to foster a positive public image in order to assure effective and maximum usage.

    Objectives are:
       • To promote awareness and understanding of the Libraries and their roles and
           activities in the communities.
       • To stimulate interest in and facilitate use of the Libraries.
       • To encourage public participation in planning Library services.
       • To build advocacy for the Library's needs and the activities of the Friends
           Groups.

    The Library Director will approve:
       • Publicity and press releases for library programs, services and news.
       • All flyers, brochures and marketing materials before they are distributed.

    Employee Contact with the Media:

    Employees of the Library are absolutely free at any time to exercise statutory rights
    regarding contact with political representatives or the media. While it is the right of an
    employee to express personal opinions to the media or others, that right does not allow
(   employees to speak as representatives of the Library. Employees who express opinions to
    the media may not do so as representatives of the Library and may not use position titles
    associated with their employment in a way that suggests they are acting as representatives
    of the Library. Contacts by employees with the media as representatives of the Library
    are restricted to those duly appointed as Library spokespersons.




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                               Public Service Hours

    The Llano County Library System consists of three libraries that are open approximately
    125 hours per week including Saturday hours.

    The Kingsland Library is open:
    Monday - Friday 9:00 AM - 5:30 PM
    Saturday        9:00 AM - 12:00 Noon

    The Lakeshore Library is open:
    Monday - Friday 8:30 AM - 5:30 PM
    Closed for Lunch 12:00 Noon - 1:00 PM

    The Llano Library is open:
    Monday Friday 9:00 AM - 5:30 PM
    Saturday         10:00 AM - 1:00 PM




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                                      Records Retention
(
    In accordance to the retention schedule for records common to all local governments, the
    Llano County Library System will retain the following records:

    General Records:
    Accident Reports - Reports of accidents to persons on Llano County Library property or in any
    other situation in which Llano County Library System could be party to a lawsuit.

        1. Accidents to adults.- RETENTION: 5 years.
        2. Accidents to minors.- RETENTION: 5 years; or 2 years after the minor reaches the age of
           18, whichever is later.
       3. Complaints - 2 years.
       4. Policy and program development - 5 years.
       5. Legal Opinions• Legal opinions rendered by counsel for Llano County Library System or
           the Attorney General, including any written requests for opinions, concerning the
           governance and administration of library. - RETENTION: PERMANENT.
       6. Minutes (Staff) - Minutes of internal staff meetings. - RETENTION: AV.
       7. News Releases. - RETENTION: -AV.
       8. Photographs, Recordings, and Other Non-Textual Media - PERMANENT.
       9. Policy and Procedure Documentation - Until superseded+ 5 years.
       10. Publications - PERMANENT.

    Reports and Studies (Non-Fiscal)
(
       1.    Annual reports.- RETENTION: PERMANENT.
       2.    Special reports or studies. - RETENTION: PERMANENT.
       3.    Monthly, bimonthly, quarterly, or semi-annual reports. - RETENTION: 3 years.
       4.    Activity reports compiled on a daily or other periodic basis. -RETENTION: 1 year.

    Financial Records:
       1.    Annual budgets (including amendments). - RETENTION: PERMANENT.
       2.    Special budgets (includes budgets for capital improvement projects, grant-funded
             projects, or other projects prepared on a special or emergency basis and not included in
             an annual budget). - RETENTION: PERMANENT.
       3.    Successful grant applications and proposals and any documentation that modifies the
             terms of a grant 3, 5, or 7 years.
       4.    Accounts Receivable Records - Bill copies or stubs, statements, billing registers, account
             cards, deposit warrants, cash receipts, receipt books, cash transfers, daily cash reports,
             cash drawer reconciliations, and similar records that serve to document money owed to
             or received by a local government and its collection or receipt. - RETENTION: FE of date
             of receipt + 3 years for Llano County Library System
       5.    Records of accounts deemed uncollectable, including write-off authorizations.
             RETENTION: - FE of write-off date + 3 years for other governments.
       6.    Banking Records - Bank statements, canceled checks, check registers, deposit slips,
             debit and credit notices, reconciliations, notices of interest earned, etc. - RETENTION:
             FE of write-off date + 5 years.


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     Personnel and Payroll Records:

        1. TERMINATED EMPLOYEES - 2 years from the date of termination.
        2. Certificates and Licenses - RETENTION: Until superseded or separation of employee+ 5
           years.
        3. Employee Selection Records - RETENTION: 2 years from the creation (or receipt) of the
           record or the personnel action involved, whichever later.
        4. Employment Advertisements or Announcements - RETENTION: 2 years.
        5. Employment Applications - RETENTION: 2 years from the creation (or receipt) of the
           record or the personnel action involved, whichever is later.
        6. Job descriptions, including any associated task or skill statements. - RETENTION: Until
           superseded or position abolished + 4 years.
        7. Time and Attendance Reports - RETENTION: 4 years.

     Support Services Records:

        1.   Inventory Records (Parts and Supplies). - RETENTION: 1 year.
        2.   Purchase orders, requisitions, and receiving reports. - RETENTION: FE+ 3 years.

     Electronic Data Processing Records:

                •   Electronic Data - 2 years.

     Abbreviations Used

     AV As long as administratively valuable
(    FE - Fiscal year end.




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                                     Referenee Policy
    Interpretation by Librarian:

    In the course of reference duty, a librarian may be asked to quote from medical, legal,
    census, or tax related sources. It is the policy of the Llano Library System to do just that,
    quote directly from the available sources. Library Staff must refrain from making
    judgmental or evaluative comments, and should never provide "personal" interpretation.
    Likewise, Librarians must not interpret specific dictionary definitions or make
    recommendations to patron for the purchase of a specific encyclopedia or products listed
    in consumer report buying guides.


       •    Librarians will provide information in the form of short answers to specific
            questions and guidance in locating material for patrons who appear in person, call
            on the telephone, or request information through correspondence.
        •   Librarians will assist patrons in the use of the Library and teach research
            methodology, when appropriate. This includes providing help in developing a
            research strategy and advice on whether a trip to the Library would be worthwhile
            for individuals who telephone.
       •    Librarians will provide bibliographic verification of items both in the Library and
            not owned by the Library and will assist patrons in obtaining materials through
            interlibrary loan, when appropriate.
       •    Librarians may refer library users to other departments, agencies and libraries in
(           pursuit of needed information
       •    All volunteers who assist patrons or answer phone inquiries are to bide by the
            above policies.




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        READ AND APPROVED ON THE 14th day of August 2006 BY THE
    ~ __
       __co7ss10 E: COURT and supersedes any previous versions.
             \     ,/




         ohnnie Heck, Commissioner Precinct # I



                 arker, Commissioner Precinct #2


        z::e-
        ~-rnr✓.U~
        Duane Stueven, Commissioner Precinct #3



C
        Leon Tucker, Commissioner Precinct #4




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            EXHIBIT 3
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    Melissa Wright

    From:                              matt.rienstra@co.llano.tx.us
    Sent:                              Tuesday, March 1, 2022 2:35 PM
    To:                                'Melissa Wright'
    Subject:                           FW: library committee meeting




    From: Jerrydonmoss <
    Sent:Tuesday,March
    To: Matthew Rienstra <matt.rienstra@co.llano.tx.us>
    Subject: Fwd: library committee meeting




    Begin forwarded message:



    From: Rochelle Wells <
    Date: Jan 19, 2022 at 7·
    To: Jerry Don Moss
    Subject: Re: library committee meeting

    Jerry Don, here are the highlights of the meeting. Following the minutes, I am going to tell you about some items that
    came up.
    Rochelle




    Gay Baskin elected to President
    Bonnie Wallace to V.P.
    Rochelle Wells to Secretary


    Asked to edit handouts - applications, updates, new policies, enhance policies

    Amber had new policies regarding volunteers that we will need to review

    By-Laws: Article 2 needs updating (representation of committee members)

    Amber was present as a non-voting member of the board; It was asked that she not be present at all meeting and just on an
I
    as-needed basis. We need to run this by the judge.
I

    Committees Minutes must as be emailed to Amber.

' Discussion on OverDrive and more info to follow at Commissioner's Meeting on Monday 1/24.
  Amber was told she was not to discuss the solution to the OverDrive issue before Commissioner's Court on Monday.

    Agreed to meet 1/24 for next meeting at Kingsland Library.

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Agreed to meet every other Thursday with place of meeting rotating between Kingsland and Llano library locations.
Gay will create a calendar/spreadsheet for meeting dates.

Bonnie will check on setting up Zoom for members who cannot physically make the meeting, for reasons such as Covid,
etc.

The judge is checking with legal to see if Library Board meetings are open or closed meetings, but not positive on this.

OverDrive discussion:
We will be hearing the decision concerning OverDrive during Commissioners Court on Monday.

$6300/yr book budget, not including memorials or donations.

You can purchase audio books via OverDrive. Llano County Libraries have not purchased any books.
Books purchase on OverDrive are temporary purchases.
5 yrs is the average life of physical books (in contrast to temporary books purchased through OverDrive).
Amber was asked to furnish details about the unique users for both OverDrive and physical books.

Board members will email Gay committee ideas for next meeting.

Going to use Roberts Rules in meetings going forward.



Onto the stuff not in the meeting notes:

We discovered that the National Coalition Against Censorship wrote a letter to all the commissioners. It was asked of
Amber how NCAC got the specific information as to which books were removed. She denied giving them this
information and said Tina hadn't either. It was asked then how they had access this information. She said she did not
know. And then said she gave a friend the other book that she did not throw away (In the Night Kitchen). (By the way,
some of us saw the photos from the other book - they were disgusting, so thank you for making her remove It's Perfectly
Normal!)

We spoke about utilizing the Houston Public Library's OverDrive system. Someone asked why this option wasn't brought
up in the Commissioner's Court. Amber said she had told patrons they could use this system, but then was told by a
commissioner that she could not tell them this and so stopped. A few of us thought that using Houston Public Library's
OverDrive should satisfy the ADA, as well as adults with disabilities in Llano.

On this same note, someone reminded her that she said in Commissioner's Court that no books were removed. She said
she meant that no books were removed in December. (Chris Jones and another patron told me of several books placed into
the book sale section of the library that had been inappropriate books.
 Is there a reason why she would not be forthcoming with this information?).

We asked many questions concerning OverDrive, and all her answers pointed toward its reinstatement. I asked if minor
Llano library patrons could be permanently kept from accessing ebooks in the state of Texas. She said yes. Some ofus
feel that it would save the county $3,000/yr if we got rid of OverDrive altogether and while also giving older Llano library
patrons access to many more books and even audio books.


There were three or four patrons present and taking notes. That surprised a few ofus. Would you be able to persuade
Judge Cunningham to keep the meetings closed and only include appointed board members, bringing in Amber when we
need clarification, etc. (Cheryll Mabray (Precinct 1) brought this up and most agreed with her.)


Also would you also be available for future meetings with your appointees?

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 Melissa Wright

 From:                               Jerrydonmoss
 Sent:                               Thursday, February
 To:                                 Matthew Rienstra; Dwain K. Rogers
 Subject:                            Fwd: "Butt Books" 2021.10.4




 Begin forwarded message:



  From: Amilum <amilum@co.llano.tx.us>
  Date: Oct 4, 2021 at 12:28 PM
  To: Commissioner Moss <jerrydon.moss@co.llano.tx.us>, Jerrydonmoss
. Subject: "Butt Books" 2021.10.4

· Commissioner Moss,

 I wanted to give you dates and a little more info so you are prepared for your meeting.

 I spoke with you on August 3rd and I removed the book, My Butt is so Noisyl, from the
 shelves and the system on August 5th, and once I Broke my Buttl was returned by
 Rochelle Wells I deleted it from the system on August 9th.

The book, I Need a New Butt, is the one that everyone had an issue with and it was
never on the shelves.

 If they bring up the "farting books" I had purchaseo 4 seasonal books, Larry the farting
 Leprechaun, Gary the goose and His Gas on the Loose,
 Freddie the Farting Snowman, and Harvey the heart has too many farts, were never on
 the shelves either. I purchased them at the same time as the butt books, but with
 everything that went on I never put them out on the shelves.

 All of the books have been in my file cabinet in the office.

 I hope this helps and good luck with the meeting,

fl_m6er 9di(um
 Llano County Library System Director
 102 E. Haynie St.
 Llano. TX 78643
 325.247 .5248
 http://www. llano-library-system. net/

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amilum@co.llano.tx.us

From:                           sbaker@co.llano.tx.us
Sent:                           Friday, November 5, 2021 12:21 PM
To:                             amilum@co.llano.tx.us
Subject:                        RE: Outside Sign



OMG!!!!!!!!!
They need to get a hobby.



From: amilum@co.llano.tx. us <amilum@co.llano.tx. us>
Sent: Friday, November 5, 202111:14 AM
To: Suzette Baker <sbaker@co.llano.tx.us>
Subject: Outside Sign

Hey Suzette,

With everything going on with the people being angry at almost everything the libraries
are doing. We all need to watch what we say. We need to keep positive and friendly as
well as be cautious of what we are saying in the library when we think no one is around.
You never know if someone is listening. (MAKE SURE THERE IS NO OVERSHARING! !)

I spoke with Commissioner Moss yesterday, he said that there are a few people who are
trying to start in on Kingsland now too. He didn't say what they are saying but that to
expect it to head that way as well. He said all these people are watching the libraries like
a hawk and they are pouncing on anything they can.

I want you to make sure when you do the outside sign keep it watered down so no one
will have an issue with it. With all the items labeled at Kingsland, I don't know what they
will have to complain about. Rhonda is going door to door and building an army. Brent
has also noticed people coming in and looking around and then leaving. Who knows,
maybe they didn't find anything or maybe they are working with Rhonda to get some
info. We don't know. That is how bad it is here. We are constantly looking over our
shoulders.

I don't want this to come y'alls way so be on the lookout and cautious of what is going
on around y'all or what is being said.

Also, we are putting a positive spin on all of our changes. We are not saying why we are
doing it we are just pointing out the positives of the changes and how helpful they are to
our patrons. Don't acknowledge the gossip. "kill them with kindness".

GOOD LUCK!!

}lm6er :M.ifum
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Llano County Library System Director
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Llano, TX 78643
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                                                                                                                                                                                                All-Time
Title                                                                                                             Author            Deletion Reason Added       Copyright Deleted        Branch Circs    Last Circ
Get low / K5 International presents a Zanuck Independent Production in co-production with David Gundlach
Productions, Lara Enterprises, TVN, in association with Butchers Run Films ; produced by Dean Zanuck, David
Gundlach ; screenplay by Chris Provenzano and C. Gaby Mitchell ; directed by Aaron Schneider.                                       Weeded         2011-03-08        2011   2021-07-19 LB             53 2019-03-15
Enough said                                                                                                                         Weeded         2014-02-03        2014   2021-07-19 LB             30 2019-07-01
First do no harm (DVD).                                                                                                             Weeded         2018-12-07               2021-07-19 LB              6 2020-09-24
The fall of the Roman Empire [DVD] / Samuel Bronston Productions, Inc. ; [presented by] Samuel Bronston ;
produced by Samuel Bronston ; original screenplay by Ben Barzman, Basilio Franchina, Philip Yordan ; directed by
Anthony Mann.                                                                                                                       Weeded         2019-09-15        2008   2021-07-19 LB              5 2020-01-21
In her shoes                                                                                                                        Weeded         2013-12-11        2006   2021-07-19 LB             13 2019-06-13
Everybody wants some!! [DVD] / Paramount Pictures and Annapurna Pictures present ; a Detour Filmproduction ;
produced by Megan Ellison, Ginger Sledge, Richard Linklater ; written and directed by Richard Linklater.                            Weeded         2019-09-15        2016   2021-07-19   LB            2   2019-11-22
I, robot                                                                                                                            Weeded         2005-02-08        2004   2021-07-19   LB           71   2020-07-20
Entrapment                                                                                                                          Weeded         2013-03-06        1999   2021-07-19   LB           21   2020-12-23
(500) Days of Summer [DVD].                                                                                                         Weeded         2010-01-07               2021-07-19   LB           30   2020-03-06
Fail-safe [DVD].                                                                                                                    Weeded         2019-12-06        2000   2021-07-19   LB            1   2019-12-06
The five people you meet in Heaven [DVD] / Lloyd Kramer; Jon Voight; Ellen Burstyn; Jeff Daniels; Dagmara
Dominczyk; Steven Grayhm; Kramer Morgenthau; David Hirschfelder; Mitch Albom.                                                       Weeded         2007-03-14        2005   2021-07-19 LB             54 2020-09-02
Friday night lights                                                                                                                 Weeded         2015-05-21        2005   2021-07-19 LB             13 2018-11-30
Inferno                                                                                                                             Weeded         2017-03-03        2017   2021-07-19 LB             28 2019-07-12
Fletch / a Michael Ritchie film ; a Douglas/Greisman production ; a Universal Picture ; produced by Alan Greisman
and Peter Douglas ; screenplay by Andrew Bergman ; directed by Michael Ritchie.                                                     Weeded         2016-08-24        2007   2021-07-19 LB              9 2020-08-28
The imitation game                                                                                                                  Weeded         2015-05-26        2015   2021-07-19 LB             32 2019-08-09
I hate Valentine's Day / Blue Star Entertainment & IFC Films present a Blue Star Entertainment production, a My
Bench production ; produced by William Sherak, Jason Shuman, Madeleine Sherak ; story by Nia Vardalos and
Stephen David & Ben Zook ; screenplay by Nia Vardalos ; directed by Nia Vardalos.                                                   Weeded         2017-02-06        2010   2021-07-19 LB             17 2020-08-10
Fool's gold                                                                                                                         Weeded         2008-09-22        2008   2021-07-19 LB             45 2020-12-18
It could happen to you                                                                                                              Weeded         2016-02-16        2005   2021-07-19 LB              7 2019-08-02
I don't know how she does it / The Weinstein Company presents ; produced by Donna Gigliotti ; screenplay by
Aline Brosh McKenna ; directed by Douglas McGrath.                                                                                  Weeded         2012-01-17        2012   2021-07-19 LB             28 2019-06-19
Extremely loud & incredibly close                                                                                                   Weeded         2014-01-16        2012   2021-07-19 LB             29 2021-01-04
I am potential / American Family Studios.                                                                                           Weeded         2017-10-31        2015   2021-07-19 LB              7 2019-08-20
The International / Relativity Media in association with Atlas Entertainment, Mosaic Media Group, Papillon
Productions, Rose Line Productions, Siebte Babelsberg Film, Studio Babelsberg [and] X-Filme Creative Pool ;
produced by Lloyd Phillips, Charles Roven, Richard Suckle ; written by Eric Warren Singer ; directed by Tom
Tykwer.                                                                                                                             Weeded         2015-07-09        2009   2021-07-19 LB             26 2019-08-30
A Man Apart                                                                                                                         Weeded         2016-02-22        2003   2021-07-20 LB             19 2020-11-23
Limitless / Relativity presents, in association with Virgin Produced, a Rogue Production ; a Many Rivers, Boy of
the Year production, in association with Intermedia Film ; produced by Leslie Dixon, Scott Kroopf, Ryan
Kavanaugh ; screenplay by Leslie Dixon ; directed by Neil Burger.                                                                   Weeded         2011-08-09        2011   2021-07-20   LB           53   2020-07-10
Louder than words / David Duchovny, Hope Davis, Timothy Hutton.                                                                     Weeded         2014-10-06        2014   2021-07-20   LB           22   2020-02-27
Journey to the center of the earth                                                                                                  Weeded         2019-08-06        2008   2021-07-20   LB            0
The Lighthouse (DVD).                                                                                                               Weeded         2020-02-25        2020   2021-07-20   LB           11   2020-09-25
Journey to the center of the earth                                                                                                  Weeded         2008-12-02        2008   2021-07-20   LB           53   2020-07-06
The matador                                                                                                                         Weeded         2017-02-06        2006   2021-07-20   LB            9   2019-10-11
I need a new butt! / Dawn McMillan ; illustrated by Ross Kinnaird.                                                McMillan, Dawn.   Weeded         2021-06-04        2019   2021-07-20   LC            0
Jumper / Twentieth Century-Fox Film Corporation ; New Regency Pictures ; Epsilon Motion Pictures in association
with Hypnotic, Regency Enterprises ; produced by Lucas Foster, Simon Kinberg, Stacy Maes, Jay Sanders ;
screenplay by David S. Goyer and Jim Uhls and Simon Kinberg ; directed by Doug Liman.                                               Weeded         2013-01-30        2008   2021-07-20 LB             15 2019-08-02
Marjorie Prime (DVD).                                                                                                               Weeded         2018-08-08        2017   2021-07-21 LB             11 2018-12-28
Love, Simon                                                                                                                         Weeded         2018-07-30        2018   2021-07-21 LB              7 2018-10-31
Man of the house / Revolution Studios presents a Stephen Herek production ; produced by Steven Reuther, Todd
Garner, Allyn Stewart ; screenplay by Robert Ramsey & Mathew Stone and John J. McLaughlin ; directed by
Stephen Herek.                                                                                                                      Weeded         2016-08-16        2005   2021-07-21 LB             17 2021-03-26
Married life / a Sony Pictures release, Sidney Kimmel Entertainment presents an Anonymous Content, Firm Films
production, an Ira Sachs film ; produced by Steve Golin, Sidney Kimmel, Jawal Nga, Ira Sachs ; screenplay by Ira
Sachs & Oren Moverman ; directed by Ira Sachs.                                                                                      Weeded         2016-05-23        2008   2021-07-21 LB             11 2020-06-01
Maleficent — Mistress of evil /                                                                                                     Weeded         2020-04-21        2020   2021-07-21 LB             11 2021-07-16


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                                                                                                                                                                                                                   All-Time
Title                                                                                                                   Author                        Deletion Reason   Added      Copyright Deleted        Branch Circs     Last Circ
Life cycle of a sunflower / Angela Royston.                                                                             Royston, Angela.              Weeded            2010-09-27      2009   2021-08-04   LC             8 2017-01-05
Medieval warfare. / Tara Steele.                                                                                        Steele, Tara.                 Weeded            2011-03-22      2004   2021-08-04   LC             6 2015-05-11
Rutherford B., who was he? : poems about our presidents / Marilyn Singer ; [illustrations by] John Hendrix.             Singer, Marilyn.              Weeded            2015-03-31      2013   2021-08-04   LC            14 2016-08-02
The Aztec News / author, Philip Steele ; consultants, Penny Bateman & Norma Rosso.                                      Steele, Philip, 1948-         Weeded            2016-04-26      2009   2021-08-04   LC             2 2016-09-21
Peaceful piggy yoga / by Kerry Lee MacLean.                                                                             MacLean, Kerry Lee.           Weeded            2016-04-15      2008   2021-08-04   LC             2 2016-06-21
                                                                                                                        Stepanek, Mattie J.T,
Hope through heartsongs / by Mattie J.T. Stepanek.                                                                      (Mattie Joseph Thaddeus.)     Weeded            2002-04-09      2002   2021-08-04 LC             12 2016-03-09

The fort on Fourth Street : a story about the six simple machines / by Lois Spangler ; illustrated by Christina Wald.   Spangler, Lois, 1947-         Weeded            2014-04-28      2013   2021-08-04 LC              8 2021-04-21
The plant hunters : true stories of their daring adventures to the far corners of the Earth / Anita Silvey.             Silvey, Anita.                Weeded            2014-08-28      2012   2021-08-04 LC              0
The most victorious cars of NASCAR racing / Jeffrey Spaulding.                                                          Spaulding, Jeffrey.           Weeded            2008-08-27      2008   2021-08-04 LC             23 2017-07-24

Sipping spiders through a straw : campfire songs for monsters / lyrics by Kelly DiPucchio ; pictures by Gris Grimly. DiPucchio, Kelly S.              Weeded            2009-01-16      2008   2021-08-04 LC              4 2015-10-21
Bats in the band / written and illustrated by Brian Lies.                                                            Lies, Brian.                     Weeded            2015-07-29      2014   2021-08-04 LC             14 2020-09-30
Best foot forward : exploring feet, flippers, and claws / Ingo Arndt ; Translated by J. Alison James.                Arndt, Ingo, 1968-               Weeded            2014-08-28      2013   2021-08-04 LC              3 2015-06-24
                                                                                                                     Shulgin, Alexander T.,
The nature of drugs : history, pharmacology, and social impact / Alexander Shulgin.                                  (Alexander Theodore.)            Weeded            2021-07-08      2021   2021-08-05 KB              0
Three times lucky / Sheila Turnage, Michael Friedman.                                                                Turnage, Sheila.                 Weeded            2014-04-07      2012   2021-08-05 LC             10 2021-05-27
Princess collection : a treasury of tales.                                                                                                            Weeded            2015-09-14      2009   2021-08-05 LC             51 2021-07-21
The robo-battle of Mega Tortoise vs. Hazard Hare : a graphic novel / by Stephanie Peters ; illustrated by Fernando Peters, Stephanie True,
Cano ; lettered by Jaymes Reed.                                                                                      1965-                            Weeded            2019-11-08      2018   2021-08-05   LC           10   2021-07-13
Middle school : my brother is a big, fat liar / James Patterson, Lisa Papademetriou.                                 Patterson, James, 1947-          Weeded            2014-04-07      2013   2021-08-05   LC           21   2021-06-28
The ghosts of tupelo landing / Sheila Turnage.                                                                       Turnage, Sheila.                 Weeded            2014-04-07      2014   2021-08-05   LC            9   2021-06-01
Flora & Ulysses : the illuminated adventures / Kate DiCamillo.                                                       DiCamillo, Kate.                 Weeded            2014-04-07      2013   2021-08-05   LC           11   2021-07-14
Magic tree house. # 51 : : high time for heroes / Mary Pope Osborne, Mary Pope Osborne.                              Osborne, Mary Pope.              Weeded            2014-04-07      2014   2021-08-05   LC           25   2021-07-12
Larry The Farting Leprechaun / Reading age : Baby - 8 years.                                                         Bexley, Jane.                    Weeded            2021-06-04             2021-08-05   LC            0
Disney's The little mermaid..                                                                                                                         Weeded            2012-07-12      2006   2021-08-05   LC           35   2021-07-21

Ricky Ricotta's mighty robot vs. the naughty nightcrawlers from Neptune / story by Dav Pilkey ; art by Dan Santat.      Pilkey, Dav, 1966-            Weeded            2016-09-20      2016   2021-08-05   LC           23   2021-07-27
Harvey The Heart Had Too Many Farts / Reading age : 4 - 7 years.                                                        Bexley, Jane.                 Weeded            2021-06-04             2021-08-05   LC            0
The 39 clues book two : One false note / Gordan Korman.                                                                 Korman, Gordan.               Weeded            2009-07-08      2008   2021-08-05   LC           14   2020-10-30
Beyond the grave / Jude Watson.                                                                                         Watson, Jude.                 Weeded            2009-07-08      2009   2021-08-05   LC           18   2020-11-06
The sword thief / Peter Lerangis.                                                                                       Lerangis, Peter.              Weeded            2009-07-08      2009   2021-08-05   LC           33   2020-05-29
Gary the Goose and His Gas on the Loose.                                                                                Bexley, Jane.                 Weeded            2021-06-25             2021-08-05   LC            0
Freddie the Farting Snowman / Reading age : 4 - 7 years.                                                                Bexley, Jane.                 Weeded            2021-06-04             2021-08-05   LC            0
Allie Finkle's rules for girls : the new girl / Meg Cabot.                                                              Cabot, Meg.                   Weeded            2009-07-08      2008   2021-08-05   LC           18   2021-03-16
Allie Finkle's rules for girls : Moving day / Meg Cabot.                                                                Cabot, Meg.                   Weeded            2009-07-08      2008   2021-08-05   LC           15   2021-03-16
Allie Finkle's rules for girls : best friends and drama queens / Meg Cabot.                                             Cabot, Meg.                   Weeded            2009-07-08      2009   2021-08-05   LC           21   2021-06-01
Middle school - how I survived bullies, broccoli, and snake hill / Chris Tebbetts, James Patterson.                     Tebbetts, Christopher.        Weeded            2014-04-07      2013   2021-08-05   LC           18   2021-06-28
Diary of a mad black woman [DVD] : the play / the Tyler Perry Company, Inc. ; Peachez Entertainment ; AJ
Productions in association with Bolton Curley Media Services Productions ; producer, Amy Bolton Curley ; writer
and director, Tyler Perry.                                                                                                                            Weeded            2021-07-15      2005   2021-08-06 LB              0
I broke my butt / Dawn McMillan ; illustrated by Ross Kinnaird.                                                         McMillan, Dawn.               Weeded            2021-06-04      2019   2021-08-09 LC              4 2021-08-03
                                                                                                                        Peterson, Roger Tory (1908-
A field guide to the birds of Texas and adjacent States                                                                 )                            Weeded             1999-08-25      1963   2021-08-09   LC           29   2020-09-09
My butt is so noisy / Dawn McMillan ; illustrated by Ross Kinnaird.                                                     McMillan, Dawn.              Weeded             2021-06-04      2021   2021-08-09   LC            4   2021-08-03
The cold dish / Craig Johnson.                                                                                          Johnson, Craig, 1961-        Weeded             2005-03-11      2005   2021-08-11   LC           51   2021-03-30
Death without company                                                                                                   Johnson, Craig (1961-)       Weeded             2007-05-14      2006   2021-08-11   LC           55   2021-03-31
Disney the Lion King                                                                                                                                 Weeded             2016-04-01      2003   2021-08-11   LC           49   2021-05-28
What do you stand for : a kid's guide to building character / Barbara A. Lewis ; edited by Pamela Espeland.             Lewis, Barbara A., 1943-     Weeded             2002-01-22      1998   2021-08-12   LC            5   2013-04-23
For young women only / Shaunti Feldhahn and Lisa A. Rice.                                                               Feldhahn, Shaunti Christine. Weeded             2007-02-28      2006   2021-08-12   LC            7   2018-10-18
The girls' book of wisdom / edited by Catherine Dee.                                                                                                 Weeded             2002-04-17      1999   2021-08-12   LC           19   2012-07-12
Chicken soup for the teenage soul's the real deal : friends : best, worst, old, new, lost, false, true, and more /
[compiled by] Jack Canfield, Mark Victor Hansen, Deborah Reber.                                                                                       Weeded            2007-08-27      2005   2021-08-12 LC              7 2009-07-20
Are there really ghosts : questions about angels, the supernatural, and the psychic friends network / James N.
Watkins.                                                                                                                Watkins, James, 1952-         Weeded            2002-04-09      2001   2021-08-12 LC             12 2015-06-29



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                                                                                                                           Baum, L. Frank, 1856-1919,
The wizard of oz / L. Frank Baum.                                                                                          (Lyman Frank.)               Weeded             2009-06-10        2003   2021-09-22   KB            8   2021-03-22
An American plague : the true and terrifying story of the yellow fever epidemic of 1793 / by Jim Murphy.                   Murphy, Jim, 1947-           Weeded             2004-09-22        2003   2021-09-23   LC            3   2010-10-19
Marching for freedom: walk together, children, and don't you grow weary                                                    Partridge, Elizabeth.        Weeded             2011-05-17        2009   2021-09-23   LC            0
Anne Frank in the world.                                                                                                                                Weeded             2004-03-12        2001   2021-09-23   LC           10   2014-07-09
Where the action was : women war correspondents in World War II / by Penny Colman.                                         Colman, Penny.               Weeded             2004-03-12        2002   2021-09-23   LC            0
Eating well through cancer : easy recipes & recommendations during & after treatment / Holly Clegg.                        Clegg, Holly.                Weeded             2009-03-18        2006   2021-09-23   LC            5   2012-07-30
                                                                                                                           Gorrell, Gena K, 1946-,
Heart and soul : the story of Florence Nightingale / Gena K. Gorrell.                                                      (Gena Kinton.)               Weeded             2002-04-17        2000   2021-09-23   LC            3   2021-03-24
Babe Didrikson Zaharias : the making of a champion / by Russell Freedman.                                                  Freedman, Russell.           Weeded             2001-10-22        1999   2021-09-23   LC            3   2013-05-03
Touched: The Caress of Fate — Book 1                                                                                       Amore, Elisa S.              Weeded             2019-06-24        2017   2021-09-24   KB            5   2019-11-19
Chomp                                                                                                                      Hiaasen, Carl                Weeded             2012-08-21        2012   2021-09-27   KB           10   2019-02-01
Flush                                                                                                                      Hiaasen, Carl                Weeded             2005-09-29        2005   2021-09-27   KB           23   2020-06-12
Warcross: Warcross — Book 1                                                                                                Lu, Marie, (1984-)           Weeded             2017-11-08        2017   2021-09-27   KB            5   2019-06-11
Twilight Saga: Twilight — Book 1                                                                                           Meyer, Stephenie             Weeded             2010-11-23        2005   2021-09-29   KB           42   2021-04-12
Bloodlines: Bloodlines — Book 1                                                                                            Mead, Richelle               Weeded             2011-09-12        2011   2021-09-29   KB           17   2020-08-13
Seraphina: Shadow Scale — Book 2                                                                                           Hartman, Rachel              Weeded             2015-04-24        2015   2021-09-30   LB            4   2016-09-09
Twilight Saga: New Moon — Book 2                                                                                           Meyer, Stephenie             Weeded             2009-05-15        2006   2021-09-30   KB           42   2021-07-28
The boss baby                                                                                                                                           Weeded             2017-08-04        2017   2021-09-30   LB           21   2020-11-17
Looking through darkness / Aimee & David Thurlo.                                                                           Thurlo, Aim©♭e,.             Weeded             2015-08-31        2015   2021-10-01   LB            5   2019-08-02
The guardian                                                                                                               Sparks, Nicholas             Weeded             2003-07-03        2003   2021-10-01   LB           14   2019-02-11
Nora Webster : a novel / Colm Toibin.                                                                                      Tóibín, Colm, 1955-          Weeded             2014-10-27        2014   2021-10-01   LB            6   2020-09-28
Five days left                                                                                                             Timmer, Julie Lawson.        Weeded             2014-10-27        2014   2021-10-01   LB            7   2019-01-29
True believer                                                                                                              Sparks, Nicholas             Weeded             2005-04-21        2005   2021-10-01   LB           14   2019-09-09
Always watching / Chevy Stevens.                                                                                           Stevens, Chevy.              Weeded             2013-07-23        2013   2021-10-01   LB            9   2019-08-12
A time of change / Aimée Thurlo & David Thurlo.                                                                            Thurlo, Aimée.               Weeded             2013-04-23        2013   2021-10-01   LB            7   2019-08-02
The last song                                                                                                              Sparks, Nicholas             Weeded             2009-09-30        2009   2021-10-01   LB           26   2019-03-14
The best of me                                                                                                             Sparks, Nicholas             Weeded             2011-10-24        2011   2021-10-01   LB           26   2021-01-29
Calhoun Family Saga: The Wedding — Book 2                                                                                  Sparks, Nicholas             Weeded             2003-10-31        2003   2021-10-01   LB           41   2019-01-18
Encyclopedia of the undead: a field guide to creatures that cannot rest in peace                                           Curran, Bob.                 Weeded             2010-02-24        2006   2021-10-01   LC            1   2010-03-26
The art of comic book writing: the definitive guide to outlining, scripting, and pitching your sequential art stories      Kneece, Mark                 Weeded             2016-08-31        2015   2021-10-01   LC            4   2017-09-29
                                                                                                                           Tolkien, J. R. R (John
The return of the king                                                                                                     Ronald Reuel) (1892-1973)    Weeded             2012-12-04        2002   2021-10-01   LB            0
The first commandment: a thriller                                                                                          Thor, Brad                   Weeded             2007-11-27        2007   2021-10-01   LB           22   2020-11-24
The light between oceans: a novel                                                                                          Stedman, M. L.               Weeded             2012-08-30        2012   2021-10-01   LB           16   2019-08-22
The first wife                                                                                                             Spindler, Erica (1957-)      Weeded             2015-02-23        2015   2021-10-01   LB           11   2020-06-19
Trap : a novel / Robert K. Tanenbaum.                                                                                      Tanenbaum, Robert.           Weeded             2015-08-31        2015   2021-10-01   LB           10   2019-10-22
Act of war: a thriller                                                                                                     Thor, Brad                   Weeded             2014-07-18        2014   2021-10-01   LB           16   2021-06-11
                                                                                                                                                        Lost by patron &
My teacher is a monster! (no, I am not) / Peter Brown.                                                                     Brown, Peter H.              Paid               2015-03-31        2014   2021-10-04   LC           25   2021-08-09
Waiting for Nick / by Nora Roberts.                                                                                        Roberts, Nora.               Weeded             2014-05-27        2014   2021-10-05   LB            5   2020-08-14
The history of science fiction                                                                                             Miller, Ron (1938-)          Weeded             2002-04-17        2001   2021-10-05   LC            3   2012-01-27
Inn Boonsboro Trilogy: The Last Boyfriend — Book 2                                                                         Roberts, Nora                Weeded             2012-05-14        2012   2021-10-05   LB           10   2020-08-14
The Mayflower bride / Kimberley Woodhouse.                                                                                 Woodhouse, Kimberley.        Weeded             2021-03-29        2018   2021-10-06   LB            0
The pirate bride / Kathleen Y'Barbo.                                                                                       Y'Barbo, Kathleen.           Weeded             2021-03-29        2018   2021-10-06   LB            0
My heart belongs in San Francisco, California : Abby's prospects / Janice Thompson.                                        Thompson, Janice A,.         Weeded             2021-03-26        2018   2021-10-06   LB            1   2021-05-25
                                                                                                                           Baum, L. Frank (Lyman
The Wizard of Oz                                                                                                           Frank) (1856-1919)           Weeded             2002-08-07        1982   2021-10-06   KB            1   2009-07-01
The captured bride / Michelle Griep.                                                                                       Griep, Michelle,.            Weeded             2021-03-29        2018   2021-10-06   LB            0
The dangerous days of Daniel X / James Patterson and Michael Ledwidge.                                                     Patterson, James, 1947-      Weeded             2008-08-05        2008   2021-10-08   KB           25   2020-12-01
Demons and druids                                                                                                          Patterson, James (1947-)     Weeded             2010-09-14        2010   2021-10-08   KB           12   2018-06-28
Game over / James Patterson and Ned Rust.                                                                                  Patterson, James, 1947-      Weeded             2012-08-22        2011   2021-10-08   KB           14   2019-05-18
First comes love : a novel / Emily Giffin.                                                                                 Giffin, Emily.               Weeded             2016-08-01        2016   2021-10-12   LB            3   2018-09-14
Saving ceecee honeycutt [sound recording] : a novel / Beth Hoffman.                                                        Hoffman, Beth.               Weeded             2010-01-25        2010   2021-10-12   LB           10   2018-02-08
Super trucks / written by Clive Gifford.                                                                                   Gifford, Clive.              Weeded             2013-12-10        2013   2021-10-12   KB           37   2021-09-28
It's perfectly normal : a book about changing bodies, growing up, sex, and sexual health / Robie H. Harris ;
illustrated by Michael Emberley.                                                                                           Harris, Robie H.             Weeded             2006-01-26        2004   2021-10-12 LC              7 2018-09-22


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The valley                                                                                                   Renehan, John,              Weeded            2015-04-07      2015   2021-11-05   KB            10 2018-05-01
Indulgence in death                                                                                          Robb, J. D. (1950-)         Weeded            2010-11-18      2010   2021-11-05   KB            33 2017-07-05
Before evil : the prequel / Alex Kava.                                                                       Kava, Alex.                 Weeded            2017-09-14      2017   2021-11-05   KB            13 2020-09-23
The chase / Brenda Joyce.                                                                                    Joyce, Brenda.              Weeded            2002-06-20      2002   2021-11-05   KB            48 2021-09-14
Ice hunt                                                                                                     Rollins, James (1961-)      Weeded            2003-07-24      2003   2021-11-05   KB            49 2019-01-15
No place like home / Barbara Samuel.                                                                         Samuel, Barbara, 1959-      Weeded            2002-03-28      2002   2021-11-05   KB            49 2019-07-05
Firstborn: Fame — Book 1                                                                                     Kingsbury, Karen            Weeded            2006-04-05      2005   2021-11-05   KB            70 2019-11-27
In harm's way / Ridley Pearson.                                                                              Pearson, Ridley.            Weeded            2010-08-19      2010   2021-11-05   KB            22 2018-10-01
Forgiven                                                                                                     Kingsbury, Karen            Weeded            2006-04-05      2005   2021-11-05   KB            81 2019-12-11
The quick : a novel / Lauren Owen.                                                                           Owen, Lauren.               Weeded            2017-08-08      2014   2021-11-05   KB             5 2018-02-20
Find me / Carol O'Connell.                                                                                   O'Connell, Carol.           Weeded            2007-02-23      2006   2021-11-05   KB            22 2020-11-12
The seventh plague                                                                                           Rollins, James (1961-)      Weeded            2016-12-20      2016   2021-11-05   KB            17 2021-08-03
The last don / Mario Puzo.                                                                                   Puzo, Mario, 1920-          Weeded            1999-10-06      1996   2021-11-05   KB            16 2020-05-28
Listen to your heart / Fern Michaels.                                                                        Michaels, Fern.             Weeded            2000-05-12      2000   2021-11-05   KB            54 2018-03-22
Sleeping beauty / Phillip Margolin.                                                                          Margolin, Phillip.          Weeded            2004-05-24      2004   2021-11-05   KB            51 2020-06-02
The children act: a novel                                                                                    McEwan, Ian                 Weeded            2014-11-05      2014   2021-11-05   KB             7 2018-05-15
An Invisible Client / Victor Methos.                                                                         Methos, Victor.             Weeded            2016-02-05      2016   2021-11-05   KB            11 2018-09-14
Fire and rain ; & Outlaw                                                                                     Lowell, Elizabeth (1944-)   Weeded            2010-08-17      2007   2021-11-05   KB            21 2020-02-21
The Dog Park Club / Cynthia Robinson.                                                                        Robinson, Cynthia, 1958-    Weeded            2014-03-19      2010   2021-11-05   KB            15 2020-10-21
By winter's light                                                                                            Laurens, Stephanie          Weeded            2016-02-17      2014   2021-11-05   KB            13 2020-02-25
Memory in death                                                                                              Robb, J. D. (1950-)         Weeded            2006-04-05      2006   2021-11-05   KB            69 2021-09-07
The third victim                                                                                             Margolin, Phillip           Weeded            2018-04-09      2018   2021-11-05   KB            10 2018-07-02
A Christmas odyssey : a novel / Anne Perry.                                                                  Perry, Anne.                Weeded            2010-11-18      2010   2021-11-05   KB            20 2020-03-03
The last oracle: a novel                                                                                     Rollins, James (1961-)      Weeded            2008-08-05      2008   2021-11-05   KB            32 2018-01-10
Granite man ; & Warrior                                                                                      Lowell, Elizabeth (1944-)   Weeded            2010-08-17      2007   2021-11-05   KB            19 2020-02-21
Starry night: a Christmas novel                                                                              Macomber, Debbie            Weeded            2013-10-29      2013   2021-11-05   KB            32 2020-12-28
Dead heat / Joel C. Rosenberg.                                                                               Rosenberg, Joel C., 1967-   Weeded            2008-04-25      2008   2021-11-05   KB            46 2019-09-17
Baby shoes                                                                                                   Slater, Dashka              Weeded            2007-08-29      2006   2021-11-05   KB            29 2021-10-27
Hush now, don't you cry                                                                                      Bowen, Rhys                 Weeded            2012-04-17      2012   2021-11-05   KB            21 2020-09-15
A Christmas garland : a novel / Anne Perry.                                                                  Perry, Anne.                Weeded            2012-12-05      2012   2021-11-05   KB            14 2019-07-31
The Shanghai Moon / S.J. Rozan.                                                                              Rozan, S. J.                Weeded            2011-02-15      2009   2021-11-05   KB            15 2018-01-31
New York to Dallas                                                                                           Robb, J. D. (1950-)         Weeded            2011-10-21      2011   2021-11-05   KB            33 2020-07-22
Otherwise engaged                                                                                            Quick, Amanda               Weeded            2014-05-19      2014   2021-11-05   KB            15 2020-05-29
The devil's labyrinth: a novel                                                                               Saul, John                  Weeded            2007-08-15      2007   2021-11-08   KB            24 2018-09-06
Lincoln in the bardo: a novel                                                                                Saunders, George, (1958-)   Weeded            2018-02-23      2017   2021-11-08   KB             4 2018-05-03
The far empty / J. Todd Scott.                                                                               Scott, J. Todd,.            Weeded            2016-11-09      2016   2021-11-08   KB            12 2018-05-24
In the night kitchen.                                                                                        Sendak, Maurice.            Weeded            1999-08-25      1970   2021-11-09   LC            33 2020-09-30
Halloween / Jerry Seinfeld ; illustrated by James Bennett.                                                   Seinfeld, Jerry.            Weeded            2002-10-09      2002   2021-11-09   KB            32 2018-11-17
Water is water : a book about the water cycle / Miranda Paul ; illustrated by Jason Chin.                    Paul, Miranda.              Weeded            2017-03-02      2015   2021-11-09   KB             5 2021-10-19
My hero academia — 5, — Shoto Todoroki, origin /                                                             Horikoshi, K寵hei, (1986-)   Weeded            2021-08-03      2016   2021-11-09   KB             2 2021-09-21
Aunt Eater's mystery Halloween                                                                               Cushman, Doug               Weeded            2001-09-17      1998   2021-11-09   KB            57 2021-10-26
Meet the dogs of Bedlam Farm / Jon Katz.                                                                     Katz, Jonathan.             Weeded            2014-01-30      2011   2021-11-09   KB            13 2021-10-26
Vulture view                                                                                                 Sayre, April Pulley         Weeded            2008-09-10      2007   2021-11-09   KB            16 2021-06-22
Born to read                                                                                                 Sierra, Judy                Weeded            2008-09-12      2008   2021-11-09   KB            27 2021-10-23
Top 10 unsolved mysteries / by Kathryn Clay.                                                                 Clay, Kathryn.              Weeded            2013-12-11      2012   2021-11-09   KB             9 2019-02-26
And then comes Halloween / Tom Brenner ; illustrated by Holly Meade.                                         Brenner, Tom.               Weeded            2012-01-23      2011   2021-11-09   KB            18 2017-10-12
Shake dem Halloween bones / W. Nikola-Lisa ; illustrated by Mike Reed.                                       Nikola-Lisa, W.             Weeded            2007-08-27      1997   2021-11-09   KB            38 2018-10-31
                                                                                                             Wong, David, 1975 January
This book is full of spiders : seriously, dude, don't touch it / David Wong.                                 10-                         Weeded            2014-12-10      2012   2021-11-09   KB           10   2018-08-28
An egg is quiet                                                                                              Aston, Dianna Hutts         Weeded            2007-05-21      2006   2021-11-09   KB           31   2021-10-26
American wife : a novel / Curtis Sittenfeld.                                                                 Sittenfeld, Curtis.         Weeded            2008-10-30      2008   2021-11-10   KB            8   2021-02-03
Peony in love : a novel / Lisa See.                                                                          See, Lisa.                  Weeded            2007-07-24      2007   2021-11-10   KB           23   2018-07-25
Breaking bad — The complete fourth season /                                                                                              Weeded            2019-10-17      2012   2021-11-10   LC            6   2021-10-04
Knock 'em dead résumés : smart advice to make your online and paper résumés more productive / Martin Yate.   Yate, Martin John.          Weeded            2008-10-30      2008   2021-11-10   KB           23   2016-11-17
Arms from the sea: a novel                                                                                   Shapero, Rich               Weeded            2018-02-26      2016   2021-11-10   KB            3   2018-06-30
Elfen Lied: Complete Collection [DVD] / NR.                                                                                              Weeded            2020-05-14      2013   2021-11-10   KB            5   2020-08-28
Every fifteen minutes                                                                                        Scottoline, Lisa            Weeded            2015-05-04      2015   2021-11-10   KB           22   2021-06-09


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Freakboy / Kristin Elizabeth Clark.                                                                                  Clark, Kristin Elizabeth.     Weeded            2015-10-08      2013   2021-11-12   LC             1 2016-06-13
The secret history / Donna Tartt.                                                                                    Tartt, Donna.                 Weeded            2004-05-24      2004   2021-11-12   KB            32 2019-11-08
Stardust : a novel / Joseph Kanon.                                                                                   Kanon, Joseph.                Weeded            2009-10-22      2009   2021-11-12   KB             9 2020-02-25
The supergirls : fashion, feminism, fantasy, and the history of comic book heroines / Mike Madrid.                   Madrid, Mike,.                Weeded            2016-12-27      2016   2021-11-12   LC             0
Shine / Lauren Myracle.                                                                                              Myracle, Lauren, 1969-        Weeded            2012-01-23      2011   2021-11-12   LC            10 2021-07-21
Appalachian Trail thru-hikers' companion / Leslie Mass, editor.                                                                                    Weeded            2010-01-20      2009   2021-11-12   KB             5 2015-07-06
I hate myselfie : a collection of essays / by Shane Dawson.                                                          Dawson, Shane.                Weeded            2016-08-18      2015   2021-11-12   LC             3 2018-02-07
G.I. Joe & Lillie : remembering a life of love and loyalty / Joseph S. Bonsall.                                      Bonsall, Joseph S.            Weeded            2004-02-20      2003   2021-11-12   KB            14 2015-07-14
A touch of Grace                                                                                                     Snelling, Lauraine            Weeded            2008-03-20      2008   2021-11-12   KB            29 2018-07-20
1421: the year China discovered America                                                                              Menzies, Gavin.               Weeded            2011-03-21      2008   2021-11-12   KB             6 2015-11-30
A family Christmas / selected and introduced by Caroline Kennedy ; illustrated by Jon J. Muth and Laura Hartman
Maestro.                                                                                                             Kennedy, Caroline, 1957-      Weeded            2010-07-14      2007   2021-11-12   KB            5   2014-12-16
Heads up philosophy / written by Marcus Weeks ; consultant Stephen Law.                                              Weeks, Marcus,.               Weeded            2016-08-31      2014   2021-11-12   LC            2   2017-03-13
Spinning / Tillie Walden.                                                                                            Walden, Tillie, 1996-         Weeded            2018-09-11      2017   2021-11-12   LC            4   2019-05-18
Unashamed : overcoming the sins no girl wants to talk about / Jessie Minassian.                                      Minassian, Jessie.            Weeded            2016-10-14      2015   2021-11-12   LC            0
Then came heaven / LaVyrle Spencer.                                                                                  Spencer, LaVyrle.             Weeded            1999-10-07      1997   2021-11-12   KB           20   2020-02-25
Caste : the origins of our discontents / Isabel Wilkerson.                                                           Wilkerson, Isabel. Caste.     Weeded            2020-12-15      2020   2021-11-12   LC            3   2021-01-22
Doctor Who 50 : the essential guide / written by Justin Richards.                                                    Richards, Justin.             Weeded            2016-08-31      2013   2021-11-12   LC            3   2018-07-24
Three bags full : a sheep detective story / Leonie Swann.                                                            Swann, Leonie.                Weeded            2007-08-29      2007   2021-11-12   KB           19   2018-08-24
Up your score SAT 2016-2017 : the underground guide to outsmarting the SAT / by Larry Berger [and others] ;
illustrations by Chris Kalb.                                                                                         Berger, Larry.                Weeded            2016-08-31      2015   2021-11-12   LC            1   2018-05-29
Hello, cruel world : 101 alternatives to suicide for teens, freaks, and other outlaws / by Kate Bornstein.           Bornstein, Kate, 1948-        Weeded            2016-10-14      2006   2021-11-12   LC            1   2018-01-12
An Irish country Christmas : a novel / Patrick Taylor.                                                               Taylor, Patrick, 1941-        Weeded            2011-02-15      2008   2021-11-12   KB           23   2019-01-02
Niceville / Carsten Stroud.                                                                                          Stroud, Carsten, 1946-        Weeded            2013-04-11      2012   2021-11-12   KB           16   2018-08-29
All I know now : wonderings and advice on making friends, making mistakes, falling in (and out of) love, and other
adventures in growing up hopefully / written and illustrated by Carrie Hope Fletcher.                                Fletcher, Carrie Hope.        Weeded            2016-08-31      2015   2021-11-12 LC              0
Being Jazz: my life as a (transgender) teen                                                                          Jennings, Jazz                Weeded            2016-10-14      2016   2021-11-12 LC              1 2017-07-19
Because it's Christmas / Katherine Spencer.                                                                          Spencer, Katherine.           Weeded            2016-12-01      2016   2021-11-12 KB             10 2020-02-25
No body's perfect : stories by teens about body image, self-acceptance, and the search for identity / Kimberly
Kirberger.                                                                                                           Kirberger, Kimberly, 1953-    Weeded            2009-08-31      2003   2021-11-12   LC            9   2020-01-08
Kian & JC : don't try this at home / by Kian Lawley & JC Caylen.                                                     Lawley, Kian, 1995-           Weeded            2016-10-14      2016   2021-11-12   LC            1   2017-11-01
How to be you : stop trying to be someone else and start living your life / Jeffrey Marsh.                           Marsh, Jeffrey,.              Weeded            2016-08-31      2016   2021-11-12   LC            1
Living in a gray world : a Christian teen's guide to understanding homosexuality / Preston Sprinkle.                 Sprinkle, Preston M., 1976-   Weeded            2016-08-31      2015   2021-11-12   LC            0
Genocide of one : a thriller / Kazuaki Takano ; translated by Philip Gabriel.                                        Takano, Kazuaki, 1964-        Weeded            2015-01-06      2014   2021-11-12   KB           10   2018-04-16
Teen psychic : exploring your intuitive spiritual powers / Julie Tallard Johnson.                                    Johnson, Julie Tallard.       Weeded            2016-08-18      2003   2021-11-12   LC            3   2018-01-02
The Grays / Whitley Strieber.                                                                                        Strieber, Whitley.            Weeded            2010-07-14      2006   2021-11-12   KB           11   2018-12-03
They called themselves the K.K.K. : the birth of an American terrorist group / by Susan Campbell Bartoletti.         Bartoletti, Susan Campbell.   Weeded            2011-05-17      2010   2021-11-12   LC            2   2011-08-16
A boy made of blocks : a novel / Keith Stuart.                                                                       Stuart, Keith.                Weeded            2016-10-05      2016   2021-11-12   KB            6   2018-04-02
The emotionary : n. a dictionary of words that don't exist for feelings that do / words by Eden Sher ; comics by
Julia Wertz.                                                                                                         Sher, Eden, 1991-             Weeded            2016-12-27      2016   2021-11-12   LC            2   2017-10-16
For the king's favor / Elizabeth Chadwick.                                                                           Chadwick, Elizabeth.          Weeded            2012-07-12      2010   2021-11-13   KB           12   2019-09-03
To defy a king / by Elizabeth Chadwick.                                                                              Chadwick, Elizabeth.          Weeded            2012-07-12      2011   2021-11-13   KB            5   2019-03-28
Illumination / Terry McGarry.                                                                                        McGarry, Terry.               Weeded            2016-08-09      2001   2021-11-13   KB           10   2019-02-14
The binder's road / Terry McGarry.                                                                                   McGarry, Terry.               Weeded            2016-08-09      2003   2021-11-13   KB            6   2018-06-28
Shadowfever                                                                                                          Moning, Karen Marie           Weeded            2013-09-05      2011   2021-11-13   KB           11   2018-04-07
Castonbury park : scandalous whispers : / Carole Mortimer, Helen Dickson.                                            Mortimer, Carole.             Weeded            2012-12-11      2012   2021-11-13   KB           13   2019-06-21
Triad / Terry McGarry.                                                                                               McGarry, Terry.               Weeded            2016-08-09      2005   2021-11-13   KB            5   2018-05-14
The secret life of Anna Blanc / Jennifer Kincheloe.                                                                  Kincheloe, Jennifer, 1966-    Weeded            2015-12-11      2015   2021-11-13   KB            6   2018-02-20
If looks could kill / Kate White.                                                                                    White, Kate, 1950-            Weeded            2002-04-30      2002   2021-11-15   KB           41   2019-08-30
Mmm, cookies                                                                                                         Munsch, Robert N. (1945-)     Weeded            2000-05-15      2000   2021-11-15   KB           36   2021-10-20
Hard to kill [VHS].                                                                                                                                Weeded            2009-12-11      1998   2021-11-15   LC           26   2017-01-23
Open country / Kaki Warner.                                                                                          Warner, Kaki.                 Weeded            2010-09-20      2010   2021-11-15   KB           25   2019-02-20
We are not ourselves                                                                                                 Thomas, Matthew               Weeded            2014-11-05      2014   2021-11-15   KB            7   2018-03-05
Kiss Carlo: a novel                                                                                                  Trigiani, Adriana             Weeded            2017-08-01      2017   2021-11-15   KB            8   2018-05-01
Dawg / Gold Circle Films and Stephen J. Cannell Productions in association with Final Draft, Inc. presents a film
by Victoria Hochberg ; producers, Stephen J. Cannell, Wayne S. Williams, Larry Katz, David Kronemyer ;
screenplay writer, Ken Hastings ; director, Victoria Hochberg.                                                                                     Weeded            2016-09-06      2003   2021-11-15 LC              5 2017-07-31


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                                                                                                                                                                                                                    All-Time
Title                                                                                                                       Author                      Deletion Reason Added       Copyright Deleted        Branch Circs    Last Circ
Beastars. Volume 2 / / story & art by Paru Itagaki ; translation, Tomoko Kimura ; English adaptation, Annette
Roman.                                                                                                                      Itagaki, Paru, 1993-        Weeded         2021-10-27        2019   2021-11-17 LB              1 2021-11-09
The noticer : sometimes all a person needs is a little perspective / Andy Andrews.                                          Andrews, Andy.              Weeded         2009-09-22        2009   2021-11-17 KB             15 2020-08-03
William Barret Travis: his sword and his pen                                                                                Turner, Martha Anne         Weeded         2000-03-22        1972   2021-11-17 KB              7 2018-07-21
The little old lady who broke all the rules : a novel / Catharina Ingelman-Sundberg ; translated from the Swedish by
Rod Bradbury.                                                                                                               Ingelman-Sundberg, C.,.     Weeded         2016-10-06        2016   2021-11-17 KB             15 2019-08-20
Beastars. Vol. 3 / / Paru Itagaki.                                                                                          Itagaki, Paru, 1993-        Weeded         2021-10-27        2019   2021-11-17 LB              1 2021-11-09
Kitchen #1.                                                                                                                                             Weeded         2004-07-12               2021-11-17 KB             73 2018-05-11
The world of ice & fire : the untold history of Westeros and the Game of Thrones / George R.R. Martin, Elio M.
Garcia Jr. and Linda Antonsson.                                                                                             Martin, George R. R.        Weeded         2014-12-10        2014   2021-11-17   KB           22   2019-07-11
Really bad girls of the Bible : more lessons from less-than-perfect women / Liz Curtis Higgs.                               Higgs, Liz Curtis.          Weeded         2003-05-20        2002   2021-11-17   KB           17   2020-06-19
Gabi, a Girl in Pieces / by Isabel Quintero.                                                                                Quintero, Isabel.           Weeded         2016-01-28        2014   2021-11-17   LC            3   2018-06-22
The five silent years of Corrie ten Boom / Pamela Rosewell.                                                                 Moore, Pamela Rosewell.     Weeded         2002-08-30        1986   2021-11-17   KB           18   2019-04-15
Under the moon : a Catwoman tale / written by Lauren Myracle ; art by Isaac Goodhart ; Jeremy Lawson, colorist ;
Deron Bennett, letterer.                                                                                                    Myracle, Lauren, 1969-      Weeded         2019-09-09        2019   2021-11-18   LC            4   2021-11-18
Sex and violence : a novel / Carrie Mesrobian.                                                                              Mesrobian, Carrie.          Weeded         2015-10-08        2013   2021-11-18   LC            2   2021-02-20
Die hard / Twentieth Century Fox ; a Gordon Company/Silver Pictures production ; a John McTiernan film.                                                 Weeded         2016-10-29        2001   2021-11-19   KB           10   2020-11-24
Sting                                                                                                                       Brown, Sandra (1948-)       Weeded         2016-09-07        2016   2021-11-19   KB           33   2021-10-04
                                                                                                                            Bush, George W, 1946-,
41 : a portrait of my father / George W. Bush.                                                                              (George Walker.)            Weeded         2017-10-30        2014   2021-11-22   LC            3   2018-05-16
Ghost [sound recording] : confessions of a counterterrorism agent / Fred Burton.                                            Burton, Arthur T.           Weeded         2009-01-07        2008   2021-11-22   LC           15   2020-07-13
Ghost soldiers : [the forgotten epic story of World War II's most dramatic mission] / Hampton Sides.                        Sides, Hampton.             Weeded         2017-10-30        2001   2021-11-22   LC            6   2020-07-13
You don't look your age : and other Fairy Tales / Sheila Nevins.                                                            Nevins, Sheila,.            Weeded         2017-07-19        2017   2021-11-22   LC            3   2018-02-02
Storks [DVD] / Rated: PG Parental Guidance Suggested.                                                                                                   Weeded         2017-11-14        2016   2021-11-22   KB           34   2020-07-21
In a heartbeat [sound recording] : sharing the power of cheerful giving / Leigh Anne and Sean Tuohy with Sally
Jenkins.                                                                                                                    Tuohy, Leigh Anne.          Weeded         2010-08-17        2010   2021-11-22 LC              8 2018-08-09
Poetry speaks : hear great poets read their work from Tennyson to Plath / editors, Elise Paschen and Rebekah
Presson Mosby ; narrator, Charles Osgood.                                                                                                               Weeded         2020-08-17        2001   2021-11-22 LC              0
Lessons from the prairie : learning self-reliance, resilience, optimism, and the pioneering spirit from America's
favorite show / Melissa Francis.                                                                                            Francis, Melissa, 1972-     Weeded         2017-06-30        2017   2021-11-22 LC              6 2018-08-09
Little britches [sound recording] : man of the family / Ralph Moody; Cameron Beierle.                                       Moody, Ralph, 1898-         Weeded         2006-06-29        2001   2021-11-22 LC             30 2018-07-23
Poetry speaks : hear great poets read their work from Tennyson to Plath / editors, Elise Paschen and Rebekah
Presson Mosby ; narrator, Charles Osgood.                                                                                                               Weeded         2020-08-17        2001   2021-11-22 LC              0
Poetry speaks : hear great poets read their work from Tennyson to Plath / editors, Elise Paschen and Rebekah
Presson Mosby ; narrator, Charles Osgood.                                                                                                               Weeded         2020-08-17        2001   2021-11-22 LC              0
Love is the best medicine [sound recording] : what two dogs taught one veterinarian about hope, humility, and
everyday miracles / Nick Trout.                                                                                             Trout, Nick.                Weeded         2010-06-16        2010   2021-11-22 LC             11 2018-05-01
Kin                                                                                                                         Black, Holly                Weeded         2009-12-14        2008   2021-11-23 LC              9 2018-12-17
Mini's first time / Bold Films presents a Trigger Street Production ; produced by Evan Astrowsky, Edward Bass,
Dana Brunetti, Kevin Spacey ; written by Nick Guthe ; directed by Nick Guthe.                                                                           Weeded         2015-03-18        2006   2021-11-23 LC             13 2021-08-11
Bone. [5], : Rock Jaw : : master of the Eastern border / by Jeff Smith ; with color by Steve Hamaker.                       Smith, Jeff.                Weeded         2009-09-30        2007   2021-11-23 LC             17 2016-04-05
Captain America : the classic years / Joe Simon and Jack Kirby ; art assistance Reed Crandall, Bernie Klein, Al
Avison, Al Gabriel, Al Liederman, Syd Shores, Alex Schomberg ;.                                                             Simon, Joel.                Weeded         2002-02-05        1998   2021-11-23 LC             59 2021-02-23
Night passage / James Stewart, Audie Murphy, Dan Duryea, Diane Foster, Elaine Stewart, Aaron Rosenberg,
Borden Chase.                                                                                                                                           Weeded         2014-06-30        2003   2021-11-23   LC            6   2017-11-06
The unsinkable Walker Bean                                                                                                  Renier, Aaron.              Weeded         2012-08-24        2010   2021-11-23   LC            4   2018-04-09
Incredibles 2 Blu-Ray — 2-disc set includes bonus disc                                                                                                  Weeded         2019-01-07        2018   2021-11-23   LC            3   2019-07-25
Freshman : tales of 9th grade obsessions, revelations, and other nonsense / by Corinne Mucha.                               Mucha, Corinne, 1983-       Weeded         2012-08-24        2011   2021-11-23   LC            2   2018-02-06
The war at Ellsmere / written and illustrated by Faith Erin Hicks.                                                          Hicks, Faith Erin.          Weeded         2010-09-27        2008   2021-11-23   LC            5   2018-11-06
iZombie. [1] / : dead to the world. / Chris Roberson, writer ; Michael Allred, artist ; Laura Allred, colorist ; Todd
Klein, letterer.                                                                                                            Roberson, Chris.            Weeded         2012-08-24        2011   2021-11-23   LC            8   2019-07-31
The Griff : a graphic novel / Christopher Moore and Ian Corson with Jennyson Rosero.                                        Moore, Christopher, 1946-   Weeded         2012-08-24        2011   2021-11-23   LC            7   2020-10-01
Crown of horns / by Jeff Smith ; with color by Steve Hamaker ; [maps by Mark Crilley].                                      Smith, Jeff.                Weeded         2009-08-13        2009   2021-11-23   LC           23   2016-02-05
Ghost circles. [7], / Ghost circles / / by Jeff Smith ; with color by Steve Hamaker.                                        Smith, Jeff.                Weeded         2009-08-13        2008   2021-11-23   LC           15   2016-02-05
Out from Boneville / by Jeff Smith ; with color by Steve Hamaker ; [maps by Mark Crilley].                                  Smith, Jeff.                Weeded         2008-09-16        2005   2021-11-23   LC           30   2021-03-10
The hound of Baskervilles / by Sir Arthur Conan Doyle ; retold by Martin Powell ; illustrated by Daniel Pérez.              Powell, Martin.             Weeded         2010-02-24        2009   2021-11-23   LC            9   2019-02-06
The great cow race / by Jeff Smith ; with color by Steve Hamaker ; [maps by Mark Crilley].                                  Smith, Jeff.                Weeded         2008-09-16        2005   2021-11-23   LC           30   2021-03-31


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            EXHIBIT 7
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Carrie Sultemeier

From:                             Amber Milum <amilum@co.llano.tx.us>
Sent:                             Friday, November 12, 2021 10:16 AM
To:                               Ron Cunningham
Cc:                               'Jerry Don Moss'
Subject:                          RE: FW: Pornographic Filth at the Llano Public Libraries



I am in shock! I was not expecting the pictures. For the record, the book Gender Queer
is NOT in any of the County Libraries. It is NOT in the system and to my knowledge
never has been. I would never purchase a book like that for the libraries.

We are all working on getting books pulled. I will also work on the lists that she
provided. Some of those are already in the Adult sections. We are not pulling any Adult
fiction, Adult Non-Fiction, or YA, YA+ because all of that is in the Adult section. We are
working on all children and junior books. I will be adding when the books were
purchased and how many times they have been checked out to the spreadsheet for you.


;4.m6er :Mi{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/



-----Original Message-----
From: "Ron Cunninghamn <rcunningham@co.llano.tx.us>
Sent: Wednesday, November 10, 2021 4:02pm
To: "Amber Milum" <amilum@co.llano.tx.us>
Cc: "'Jerry Don Moss"' <
Subject: FW: Pornographic                     I raries

Amber,
As we discussed in our meeting in my office at 9:45 AM on November 9, 2021 any and
all books that depict any type of sexual activity or questionable nudity are to be pulled
immediately.
I am also requesting that any of these books that are available online be pulled as well.
Please advise Commissioner Moss and I when this task has been completed.
Thank you,


Ron Cunningham
Llano County Judge
325.247.7730
801 Ford Street
                                                           1
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Suite 101
Llano, Texas 78643
Judge Ron Cunningham rcunningham@co.llano.tx.us
Jennifer Buchanan-Administrative Assistant jbuchanan@co.llano.tx.us

From: Bonnie N Wallace <
Sent: Wednesday, November 10, 2021 2:20 PM
To: Ron Cunningham <rcunningham@co.llano.tx.us>; Ron Cunningham




Bonnie N Wallace

Begin forwarded message:

       From: Bonnie N Wallace<
       Date: November 10, 2021
       To: Bonnie N Wallace
       Subject: Pornographic



       It came to my attention a few weeks ago that pornographic filth has been
       discovered at the Llano Library. It is also at Kingsland and the Buchanan
       Dam libraries. I have attached below just one sample of a "children's book"
       which is currently at our libraries.

       About 20-30 concerned citizens attended the Llano County Commissioners
       Court on October 25th to voice our concerns. I also attended the
       Commissioners Court meeting on November 8th. I was surprised that 2
       "Friends of the Llano Library" attended and talked about "racist and abusive
       local parents who refuse to let their children express their gender
       identity" . Shocking that this exists right here, but alas ... it does.

      I would like all community leaders, business owners, pastors and parents to
      become involved in this issue, which is the only way to resolve it. Currently,
      these books (I have attached a list of dozens which are currently at our
      libraries) are in the CHILDREN'S section of the library and can be checked
      out by our children and grandchildren. I am not advocating for any books to
      be censored but to be RELOCATED to the ADULT section where a child would
      need to get their parent's approval to check out. It is the only way that I
      can think of to prohibit future censorship of books I do agree with, mainly
      the Bible, if more radicals come to town and want to use the fact that we
      censored these books against us.

      It is a fine line, and I'm open to other approaches. But mainly we all just
      need to know what is happening right here in our beloved Llano.

                                             2
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Open your eyes, folks. And share with friends and relatives who live in other
locations as well so they can check their local libraries.

I'd like all the pastors to get involved in this. Perhaps they can organize a
weekly prayer vigil for this specific issue. Also, everyone needs to share this
on social media (I don't do any social media). Join the Friends of the Llano
Library or Friends of the Kingsland Library. If you're already a member, get
more involved in the book selections because this is atrocious.

May God protect our children from this FILTH.

Bonnie N. Wallace
              cell)




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            EXHIBIT 8
            Case 1:22-cv-00424-RP Document 22-10 Filed 05/09/22 Page 71 of 139
Re: Update on library books

From: Amber Milum (amilum.klib@yahoo.com)

To:
Date: Wednesday, November 17, 2021, 11:01 AM CST



Great, Thank you. I have not seen the full list.




Amber Milum
Llano County Library System Director
102 E Haynie St.

Llano, TX 78643

325-247-5248

http://www.llano-library-system.net/



 On Wednesday, November 17, 2021, 09:22:58 AM CST, Jeanne Puryear<                                          wrote:


 I don't wish to stir the pot, just wanted you to see the email that includes the 16 page list of books I mentioned to you on
 Monday, this week. The link is clearly hi-lited about the middle of the email. it's the portion of the email from Rochelle Wells.
 Jeanne

 ---------- Forwarded m i i iei---------
                                -ssa
 From: Eva Carter <
 Date: Fri, Nov 12, 2 1 at :
 Subject: Fwd: Update on libra books
 To: Rob n Tibbs                                   , Lynsi Herron _                          , Elysia Barkley
                                                                              , Jeanne Puryear




  I just wanted to be sure you got this good news!

  Sent from my iPad

  Begin forwarded message:


      From: Chris Jones                                  >
      Date: November 11, 2021 at 8:36:14 PM CST
      To: Rochelle Wells
      Cc: Eva Carter                        , Amy Jordan <                                 , Anne Beckman <
      Carolyn Stovall <                 , Celia Griffin                                , Cindy  Campbell
                                 onna Cox<                             , Donna Hall                           , Edgar Patricia
                                  , Erin Seargeant <                                , Fowler John                         , Gail Rose
                            , Jackie Cherico                                 , Jerry Don Moss
                                                        , Jo Anne Mims <
                               , Julie L e v e r e t t . _ , Ka                                                       , Katy
                                                     , Lindsa Alexander                                                pson
                                  , Mary Cunningham <
                                     , Pam Huston                                              a Danahy<                            >,
                                                , Phyllis Ann Rose <                            hyllis Farr alexander
w                       ►,Rhonda
                Case 1:22-cv-00424-RP Document 22-10   Filed
                                                   , Sherry   05/09/22 Page 72 of
                                                            James                 139 Simpson
                                                                               >, Sherry

Smith   <1111•••••••••  , Sidonie Thornton
                               Tiffany Latta
Subject: Re: Update on library books
                                                                          , Tania Quigley                            ,Alice




That is great news! Thank you Rochelle for taking with Jerry Don and giving us the update. Praise God we're making
progress.

On Thu, Nov 11, 2021, 7:28 PM Rochelle Wells<                                     wrote:
  I just wanted to give everyone an update on the status of the books in the library:

  Commissioner Moss and Judge Cunningham have instructed Amber, the head librarian, to remove certain books, both
  physical books and ebooks (via the LIBBY app). There will also be no new books coming in until this is settled. If you
  go into the library you will see Amber and Tina (Children's librarian) are currently going through the Children's section,
  labeling books, and I am assuming also removing the books Commissioner Moss has told them to remove. Amber was
  told to get rid of Lawn BOY. and Gender Queer (physical and ebook). Commissioner Moss, we are very grateful for your
  help in this situation and all you have done to begin to remedy it!

  Chris Jones has combed through that 16-page list of CRT and LGBTQ book to see which we have in Llano County
  libraries. Now we have to research the content of the ones we have found and some that were not on the list that we
  found in the process. Thank you, Chris, for all that work! We will be sending a list of the ones that are found to be
  inappropriate, along with a summary, to Commissioner Moss.


  Here is the article where the 16-page list was found: httP-s:1/thetexan.news/austin-isd-refuses-to-reP.ort-racially.:
  sexuallY.-controversial-books-to-state-lawmakers/?
  utm source=ActiveCampaign&utm medium=email&utm content=Texas+Medical+Association+Sues+Federal+Govern
  ment+Over+SurP.rise+Billing+Rule&utm camP-aign=DailY.+RounduP.+-+RSS+Campaign


  -    Rochelle Wells




      On Nov 1, 2021, at 2: 16 PM, Eva Carter<                       wrote:

      Chris. I'll take a page. Bring it to GG tomorrow evening.

      BTW, I could use some suggestions for what to say in a 2-3 minute speech at Thursday's Tea Party meeting at
      which I've been asked to put in a nutshell our opposition to some books in the library

      Sent from my iPad


       On Nov 1, 2021, at 8:34 AM, Chris Jones                                 wrote:



       Is anyone interested in going thru the 16 pages of books list in article 2 and checking to see if we have any if
       those books in our library? If w have a handful of people willing to do it, we could take a couple of pages each
       and make thejob go quicker? Looking each title up online through the library catalog would go quicker with help.
       Chris

       On Sat, Oct 30, 2021, 7:48 AM Eva Carter                          wrote:

         Especially interesting is the 2nd article@)

         Sent from my iPad

         Begin forwarded message:


           From: The Texan <
           Date: October 30, 2021 at 6:17:00 AM CDT
           To: Eva C a r t e r - -
     Case
Subject:    1:22-cv-00424-RP
         Texas Medical AssociationDocument   22-10
                                   Sues Federal      Filed Over
                                                Government 05/09/22    Page
                                                                Surprise       73Rule
                                                                         Billing  of 139




  Texas Medical Association Sues Federal
  Government Over Surprise Billing Rule
  10/29/202118:01




  Congress passed a law restricting the issuance of surpri se medical bills stuck with patients
  after providers and insurance companies negotiate payment.




  Austin ISO Refuses to Report Racially, Sexually
  Controversial Books to State Lawmakers
   10/29/2021 17:30
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                                                                                                                                                      Been
                                                                                                                                        Added to the checked
Title                                                                            Author                       Location    Shelf           system       out      Purchased by
Be dazzled                                                                       La Sala, Ryan                Overdrive
The girls I've been                                                              Sharpe, Tess                 LC          YF+ SHA          3/30/2021    2      Tina/Amber
A good kind of trouble                                                           Ramee, Lisa Moore            O, LC       JF RAM            2/3/2020    1      Tommi
A home for goddesses and dogs                                                                                 O
All out : the no-longer-secret stories of queer teens throughout the ages        Saundra Mitchell             O
Ana on the edge                                                                  Sass, AJ                     KB          JF SAS            2/2/2021    0      Suzette/Amber
Brave Face: A Memoir                                                             Hutchinson, Shaun David      O
Caste : the origins of our discontents                                           Wilkerson, Isabel            LC               305.5      12/15/2020    3      Tommi
Cemetery boys                                                                    Thomas, Aiden                KB          YF THO            6/3/2021    3      Tina/Amber
Cinderella is dead                                                               Bayron, Kalynn               O
Class act                                                                        Craft, Jerry                 LB          JF CRA          12/14/2020    5      Tommi
Darius the Great deserves better                                                 Khorram, Adib                O
Felix ever after                                                                 Callender, Kacen             O
Hot dog girl                                                                     Dugan, Jennifer              O
In The Dream House                                                               Machado, Carmen Maria        O
In the role of Brie Hutchens . . .                                               Melleby, Nicole              O
Into the real                                                                    Brewer, Z                    O
Reverie                                                                          La Sala, Ryan                LC          YF LAS             2/3/2020    0     Tommi
The whispers                                                                     Howard, Greg                 KB          YF HOW            1/23/2019    4     Amber
How to be an antiracist                                                          Kendi, Ibram X.              KB                305.8      10/22/2020    1     Amber
Ivy Aberdeen's letter to the world                                               Blake, Ashley Herring        LC          YF+ BLA            5/7/2020    0     Tommi
                                                                                                                                        6-25-2019 2-     5     Amber
New kid                                                                          Craft, Jerry                 LC, KB      JF CRA        10-2020         11     Tommi
The devouring gray                                                               Herman, Christine Lynn       LC          YF HER            7/20/2020    2     Tommi
The Deck of Omens                                                                Herman, Christine Lynn       LC          YF HER            7/20/2020    2     Tommi
The downstairs girl                                                              Lee, Stacey                  LB          YF LEE            8/29/2020    3     Melissa
The last to let go                                                               Smith, Amber                 LC          YF SMI             9/6/2019    1     Tommi
The mighty heart of Sunny St. James                                              Blake, Ashley Herring        LC          YF+ BLA            2/3/2020    1     Tommi
Boys and Sex                                                                     Pomeroy, Wardell Baxter      O
The upside of unrequited                                                         Albertalli, Becky            KB          YF ALB             5/5/2017   10     Renny
They both die at the end                                                         Silvera, Adam                KB          YF SIL             7/8/2021    1     Suzette/Amber
We are the ants                                                                  Hutchinson, Shaun David      KB          YF HUT             2/9/2016    6     Renny
Between the world and me                                                         Coates, Ta-Nehisi            KB          305               7/29/2021    0     Suzette/Amber
Cradle and all                                                                   Patterson, James             KB          F PAT            10/25/2007   61     Diane
Freakboy                                                                         Clark, Kristin Elizabeth     LC          YF CLA            10/8/2015    1     Diane
When the moon was ours                                                           McLemore, Anna-Marie         KB          YF MCL             3/2/2017    2     Renny
Grasshopper jungle : a history                                                   Smith, Andrew                LC          YF SMI            10/8/2015    2     Diane
                                                                                                                                        11/5/2014       10
I'll give you the sun                                                            Nelson, Jandy                LC, KB      YF NEL        10/8/2015        4     Diane
Me and Earl and the Dying Girl                                                   Andrews, Jesse               KB          YF AND            9/13/2017    5     Amber
                                                                                                                                     1/4/2016           15     Diane
Me and Earl and the Dying Girl                                                   Andrews, Jesse               KB, LB      DVD        1/3/2020            2     Amber
Simon vs. the Homo Sapiens agenda                                                Albertalli, Becky            KB          YF ALB          5/4/2018       6     Amber
Beyond magenta : transgender teens speak out                                     Kuklin, Susan                LC          Y305 KUK       10/8/2015       2     Diane
Some assembly required : the not-so-secret life of a transgender teen            Andrews, Arin                LC          Y306 AND       1/28/2016       4     Diane
Gabi, a girl in pieces                                                           Quintero, Isabel             LC          YF QUI         1/28/2016       3     Diane
Separate is never equal                                                          Tonatiuh, Duncan             LC          J379 TON       3/31/2015       7     Diane
Drama                                                                            Telgemeier, Raina            KB          YF+ TEL        2/25/2014      48     Diane
Far from the tree : parents, children, and the search for identity               Solomon, Andrew              LC          362 SOL        1/28/2013       8     Diane
Shine                                                                            Myracle, Lauren              LC          YF MYR         1/23/2012      10     Diane
They called themselves the K.K.K. : the birth of an American terrorist group     Bartoletti, Susan Campbell   LC          322.4 BAR      5/17/2011       2     Diane
The teenage guy's survival guide                                                 Daldry, Jeremy               KB          Y305 DAL        5/4/2018       1     Amber
Changing bodies, changing lives : a book for teens on sex and relationships      Bell, Ruth                   LC          Y613.9 BEL      3/5/2001      10     Diane
The Cider House Rules                                                            Irving, John                 LC          DVD           12/13/2010      72     Diane
Boy erased : a memoir of identity, faith, and family                             Conley, Garrard              KB          DVD            3/28/2019      18     Amber
What if it's us?                                                                 Albertalli, Becky            KB          YF ALB         1/18/2019       3     Amber
At the edge of the universe                                                      Hutchinson, Shaun David      KB          YF HUT          3/2/2018       5     Amber
The 57 Bus                                                                       Slater, Dashka               KB          Y364 SLA       6/25/2020       2     Amber
                                                                                                                                   10/14/2016        1
Being Jazz : my life as a (transgender) teen                                     Jennings, Jazz.              LC          Y306 JEN 3/2/2017          3     Jackie
Far from the tree : how children and their parents learn to accept one another   Solomon, Andrew              LC          362 SOL              duplicate on list
Spinning                                                                         Walden, Tillie               LC          Y796 WAL     9/11/2018     4     Tommi
The best man                                                                     Peck, Richard                LC          YF+ PEC      8/18/2017    11     Tommi
Girl made of stars                                                               Blake, Ashley Herring        LC          YF+ BLA       6/6/2018     2     Tommi
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Melissa Wright

From:                            Amber Milum <amilum@co.llano.tx.us>
Sent:                            Thursday, October 28, 2021 11 :06 AM
To:                              Ron Cunningham
Subject:                         Critical race theory book




Good morning,

I wanted to let you know before it crune up in any of your meetings the Kingsland library does have the book.

The book is still in the system but it is behind the front desk. If anyone wants to check it out they have to ask a
librarian. It is no longer on the shelf.

Have a good day,
Amber




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amilum@co.llano.tx.us

From:                              Melissa Macdougall < mmacdougall@co.llano.tx.us >
Sent:                              Monday, December 13, 2021 1:15 PM
To:                                amilum@co.llano.tx.us
Subject:                           RE: Commissioner's Court



Thanks for the update.

I'm very happy that my grant was approved.

Of course I'll need information/ procedures on what constitutes "inappropriate" and on the labeling.

I actually don't see it as good news that we have to close. I think we could easily get it done here without being closed,
and it will be an inconvenience for all of our patrons and a hardship for some, especially on such short notice. And I
expect people are going to be very upset about Overdrive disappearing right before the holidays. I envy Llano and
Kingsland next week having separation from patrons at the door!

Will you be sending a poster/ flyer or wording to use when announcing the closure and the Overdrive change? I want to
get the word out right away, yet I know there will still be many who don't get the message.

Thank you,

Melissa Macdougall, Head Librarian
Lakeshore Library
325-379-1174
Currently reading: Bewilderment by Richard Powers




From: amilum@co.llano.tx.us <amilum@co.llano.tx.us>
Sent: Monday, December 13, 202112:55 PM
To: Melissa Macdougall <mmacdougall@co.llano.tx.us>
Subject: Commissioner's Court

Hi Melissa,

Good news your agenda items was approved. You may apply.

Bad news CC has approved to suspend Overdrive. I will be looking into different options.
It will be suspended in a few days.

Good news CC approved for all three libraries to be closed Dec 20, 21 & 22. Remember
we "close" at 12:30 on the 22nd. We will all be labeling books and checking our shelves
for "inappropriate" books ...

The Library Advisory board was also approved. The Commissioners and Judge will be
selecting who they would like to be on it. I believe whomever will be appointed on
January 10th the first CC of the new year. They decided ...
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2   appointees for Precinct       1
3   appointees for Precinct       2
3   appointees for Precinct       3
4   appointees for Precinct       4
1   appointee for Judge



JJ.m6er :Mi{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/




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Overdrive Access control measures via Apollo member records
From: Chris Brailas <
sent: Thu, Jan 13, 2022 at 3:46 pm
To:   amilum@co.llano.tx.us


Overdrive as a resource for your library checks the status of Member accounts
in your Apollo ILS to determine if a member should be allowed access. In
short we've updated your Apollo ILS to now allow you to set age brackets as a
filter when determining how we respond. This will let you block members
belonging to specific age brackets from accessing certain resources.

More specifically how this works is that whenever a library member attempts to
log into Overdrive, regardless of what interface they attempt login from,
Overdrive captures their card number and password, and queries your Apollo
account via 3M's SIP2 protocol. This query checks that the member exists, that
the supplied password is correct, and that the account is in good standing. If
an age bracket in Apollo is blocked from a particular resource now, Apollo will
respond that member accounts with that bracket assigned are not valid when
login is attempted. This will prevent access to Overdrive, or any other SIP2
connected resources for members assigned an age bracket marked as ineligible
for the given resource in the Apollo ILS. If needed I'm happy to break down
the full process of the SIP communication, how the block is communicated, and
how the entire chain of communication is secured.

Let us know if we can be of any further assistance or answer questions for any
interested parties.


Christopher Brailas
Biblionix. LLC
100 Congress Ave. Suite #2000
Austin, TX 78701
877-800-5625 ext 259
www.bibl1onix.com
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Melissa Wright

From:                              Jerrydon moss
Sent:                              Thursday, February ,
To:                                Matthew Rienstra; Dwain K. Rogers
Subject:                           Fwd: Overdrive Access
Attachments:                       Overdrive Access Contol Measures via Apollo Members Records.pdf




Begin forwarded message:



From: Amilum <amilum@co.llano.tx.us>
Date: Jan 18, 2022 at 10:16 AM
To: Jerrydonmoss <
Subject: Overdrive

Good morning,

I wanted to let you know: I have been in touch with Jim from Overdrive, and
Chris, Emily, Heather, and Karl from Biblionix. We have found a solution to our
Overdrive issue. The Judge requested the solution should include:
      •   An option for parents or guardians who wish to apply the OverDrive filters to their child's card that would
          prevent the child from accessing material on OverDrive that they as the parent or guardian deem inappropriate.
          If a parent or guardian chooses to install these filters, OverDrive should provide a means to ensure the child
          cannot alter these filters without the parent or guardian's consent.
      •   An option for parents or guardians who wish their child to not have access to OverDrive at all.


The first option will not be acceptable because Jim from Overdrive confirmed the flaw
with the filters, he said "Any user can go to their account settings and change the filters
to display different content within OverDrive. We don't have a way to block specific
content from showing for specific users."

I recommend we allow Adults access to Overdrive and all Juveniles will be blocked from
accessing Overdrive since the filters can be changed without parent consent. Juveniles
will still have access to library materials.

I have already changed the settings in our system to block children and teens from
accessing Overdrive. I asked Biblionix if this block will allow access if juveniles try to
login with the Overdrive app and Emily from Biblionix said, "These blocks are effective
regardless of how the member accesses Overdrive."


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. I will also be able to set the bounds at which a member ages up from child to teen and
: teen to adult. Biblionix will check member birthdates at midnight every day and update
; accounts automatically. This means members are automatically granted access to
  Overdrive the day they turn 18 without needing to wait for the library to manually
: update their accounts.

I have attached an email letter from Chris at Biblonix explaining how the system will
block juveniles from accessing Overdrive.

  It is my hope I have provided a satisfactory resolution to this matter and would like to
: apologize that it has taken this long to do so. Please let me know if you would like to
  discuss this further. I have already spoken to the Judge about this.

 Sincerely,

.ft_m6er :Mi{um
 Llano County Library System _Director
 102 E. Haynie St.
Llano. TX 78643
325.247.5248
http://www.llano-library-system.net/




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Confidentiality Notice: This email and any attachments are OverDrive Confidential for the sole use of the intended recipient. Any review, copying, or
distribution of this email and attachments by others is strictly prohibited. If you are not the intended recipient, please contact the sender immediately
and permanently delete any copies of this email.


From: amilum@co.llano.tx.us <amilum@co.llano.tx.us>
Sent: Monday, December 13, 2021 2:53 PM
To: Jim Monastra <
Subject: RE: Overdrive

Hi Jim,

Our Commissioner's Court has decided to suspend our Overdrive subscription at this
time. We have a group of concerned patrons worried about the book Gender Queer
being seen by children. I have tried to tell everyone how to use filters and the links for
kids and teens, but they don't think it's enough.

Please suspend Overdrive for the Llano County Library System.

Thank you for all your help,

}lm6er 9,1.i{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/



-----Original Message-----
From: "Jim Monastra"
Sent: Monday, Decem                                            .
To: 11 amilum@co.          " <                           ·                lano.tx.us>
Cc: "Alix Morris"
Subject: RE: Over
Hi Amber,

Thanks for getting in touch. As of now, the library has not yet paid the annual invoice provided in October for this coming
year. Access can be suspended within a few business days, but I'd need to investigate more on my end with various
teams.


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Are you able to provide more context into the decision here and why this is a possibility? Is the potential suspension
because of one book in the collection or several? I'd be happy to provide more info for you, but if you can provide more
about the meeting it would be appreciated.

Thanks,
Jim

Jim Monastra, MUS • Account Manager I
Public Libraries
Phone: 216-573-6886 ext. 1295
Fax'. 216-573-6889


OverDrive, Inc. Global Digital Distributor of eBooks, audiobooks, & more
World Headquarters I One OverDtive Way I Cleveland, Ol'lio44125 USA
www.overdrive.com Proud to be a Certified B Corp

Current reads:
The Storyteller by Dave Grahl
Paper Girls by Brian K Vaughn




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distribution of this email and attachments by others is strictly prohibited . If you are not the intended recipient please contact the sender immediately
and permanently delete any copies of this email.


From: amilum @co.llano.tx.us <amilum@co.llano.tx.us>
Sent: Friday, December 10, 2021 1:47 PM
To: Jim Monastra                          >
Subject: Overdrive

Hi Jim,

It's me again. I have been trying to get information out about individuals being able to set up filters on
their own devices. There has been an outrage over a particular book on Overdrive in my community. I will
be attending a Commissioner's Court meeting next week and they will be discussing a suspension of
Overdrive. I am hoping it will not come to that but I would like to have all the information if needed.

My questions are:

If it's approved to suspend our Overdrive subscription how soon can we turn off access?

Has the Llano County Library System even paid its subscription for this year?

I would appreciate any other information you feel would be important.

Thank you again for all your help,



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Jlm6er :Mi{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/




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amilum@co.llano.tx.us

From:                             amilum@co.llano.tx.us
Sent:                             Tuesday, February 1, 2022 12:5 1 PM
To:                               M elissa Macdougall
Subject:                          RE: FW: Cengage Learning - 2665 1567



Well, I was hoping we were going to be able to purchase soon. I was going to have all
our lists ready for the board to review and then I received a phone call telling me we
are not to add anything into the system or remove anything from the system until the
advisory board by-laws are in place and the policies are updated ...

Please, tell Mike, we are doing our best to get him paid. If he needs us to send the
books back we will , and they will have to send them back in a month or two. I do not
have a PO for this invoice yet either.

I know how frustrating this is. I am getting it from all sides.

Hang in there,

}lm6er ;Muum
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/



-----Original Message-----
From: "Melissa Macdougall" <lakeshore.library@gmail.com>
Sent: Tuesday, February 1, 2022 12:22pm
To: "Amber Milum" <amilum@co.llano.tx.us>
Subject: FW: Cengage Learning - 26651567

Please reply to Mike or let me know what to say.

Thanks,

Melissa Macdougall, Head Librarian
Lakeshore Library
325-379-1174
Currently reading: The Girl With the Lauding Voice by Abi Dare
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From: Anderson, Mike [PS]<
Sent: Tuesday, February 1, 2022 12:08 PM
To: 'lakeshore.library@gmail.com' <lakeshore.library@gmail.com>
Subject: Cengage Learning - 26651567

Good Afternoon,

I was wondering, if the attached invoice 76261430 has been scheduled for payment.

Thank you,

                               Mike Anderson
                               Credit Analyst

                               Email:
                               Cengage Learning Lockbox - PO Box 936743, Atlanta, GA 31193 - 6743
                               Gale Lockbox - PO Box 936754, Atlanta, GA 31193-6754



As of 04/01116, Cengage accepts credit & debit cards for proforma and point of sale orders only. To set up ACH or update your existing ACH information
for after invoice payments, email ACH vendor forms to




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amilum@co.llano.tx.us

From:                             Melissa Macdougall <mmacdougall@co.llano.tx.us>
Sent:                             Monday, January 31, 2022 11:20 AM
To:                               Amber Milum
Subject:                          books



Amber,

Attached are my standing order titles for January through March to send to the board. They are all Westerns and
Christian Romance.

The first two books in the spreadsheet are the ones that I've had sitting here in an unopened box for a couple of months.

I prefer to purchase these with money from my County Books account.

I'm working on a list from Ingram. Will you need movie titles too?

I just saw our job posting on the County website - I didn't know it was up. I guess I can assume they are not allowing
Linda the extra hour-and-a-half?

Thanks,

Melissa Macdougall, Head Librarian
Lakeshore Ubrary
325-379-11.74
Currently reading: The Girl With the Lauding Voice by Abi Dare




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amilum@co.llano.tx.us

From:                              sbaker@co. llano.tx.us
Sent:                              Thursday, February 10, 2022 1:48 PM
To:                                amilum@co.llano.tx.us
Subject:                           Order lists



I just sent you my order lists. Please let me know what the next step is.
Thank you.

B. Suzette Baker
Llano County Library System
Kingsland Library/Head Librarian
325-388-6609




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Carrie Sultemeier

From:                               Amber Milum <amilum@co.llano.tx.us>
Sent:                               Thursday, January 20, 2022 12:42 PM
To:                                 Ron Cunningham
Subject:                            Advisory Board meeting



Good afternoon,

Wanted to make you aware that it has come to my attention that one of the audience
members (there were 3) recorded the meeting on her phone.


)lm6er :Mi{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www. llano-library-system. net/




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Carrie Sultemeier

From:                                Amber Milum <amilum@co.llano.tx.us>
Sent:                                Wednesday, December 22, 2021 9:26 AM
To:                                  Ron Cunningham
Subject:                             RE: OverDrive and Youth Library Cards



Judge,

I believe the only other online ebook source is Project Gutenberg which is a free service
offered through our catalog. Project Gutenberg are books that their copyright has
expired. It is full of classics, and books in foreign languages. The books can be scanned
and downloaded from the internet.
I have never used it.

I agree Overdrive should be turned back on for our Adult users. I will work on updating
our new card form adding Overdrive checklist.


)f.m6er :M.i{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325.247.5248
http://www.llano-library-system.net/



-----Original Message-----
From: "Ron Cunningham" <rcunningham@co.llano.tx.us>
Sent: Tuesday, December 21, 2021 1:09pm
To: "Amber Milum <amilum@co.llano.tx.us>
                           11



Cc: "Dwain K. Rogers" <drogers@co.llano.tx.us>
Subject: OverDrive and Youth Library Cards

Amber,
Can you please inquire as to what other online eBook options are available for Llano
County?
I understand Bibliotheca is an option, but from what I can see that service also has
OverDrive inventory...

At any rate, I think we will probably need to turn OverDrive back on for adults in our
ComCourt on January 10. We may need to reactivate this for children, but if we do, we
need to have a new application for youth with includes:
      1.   A check box beside the current youth library card policy parents must initial stating they have reviewed the
           policy
      2.   A check box beside an acknowledgement that the Llano Library Card can enable the card holder access to
           OverDrive and the Central Texas Consortium
                                                               1
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  3.   A check box beside the OverDrive details on how to apply filters to OverOrive
  4.   A check box verifying parents or guardians are responsible for applying the filters
  5.   A check box verifying parents can review all books checked out by their children
  6.   Any other things you or Dwain can think of.

Ron Cunningham
Llano County Judge
325.247.7730
801 Ford Street
Suite 101
Llano, Texas 78643
Judge Ron Cunningham rcunningham@co.llano.tx.us
Jennifer Buchanan-Administrative Assistant jbuchanan@co.llano.tx.us




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Carrie Sultemeier

From:                              Amber Milum <amilum@co.llano.tx.us>
Sent:                              Monday, November 8, 2021 5:17 PM
To:                                Ron Cunningham
Cc:                                'Jerry Don Moss'
Subject:                           RE: Thanksgiving



Yes Sir,

I can be there at 8:30. Are we meeting in your office? If so how do I get in?


}lm6er :Mi{um
Llano County Library System Director
102 E. Haynie St.
Llano, TX 78643
325 .247.5248
http://www.llano-library~ystem.net/



-----Original Message-----
From: "Ron Cunningham" <rcunningham@co.1lano.tx.us>
Sent: Monday, November 8, 2021 4:09pm
To: "Amber Milum" <amilum@co.llano.tx.us>
Cc: '"Jerry Don Moss'"
Subject: RE: Thanksgivi g

Thank you Amber,
Lets meet in the morning.
As action items to be done immediately:
      1. Any books with photos of naked or sexual conduct regardless if they are animated or actual photos are to be
         pulled until further notice.
      2. No additional books will be ordered or purchased until we have a plan to move forward.


Ron Cunningham
Llano County Judge
325.24 7. 7730
801 Ford Street
Suite 101
Llano, Texas 78643
Judge Ron Cunningham rcunninqham@co.llano.tx.us
Jennifer Buchanan-Administrative Assistant jbuchanan@co.llano.tx.us

From: amilum@co.llano.tx.us <amilum@co.llano.tx.us>
Sent: Monday, November 8, 2021 9:48 AM

                                                            1
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            EXHIBIT 22
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                    TEXAS HOUSE of RE PRESENT AT l VE S




                COMMITTEE ON GENERAL INVESTIGATING
                                C hair Matt Krause • Vice C hair Victoria Neave


                                              October 25, 2021

Via Email
Texas Education Agency
Deputy Commissioner School Programs
Attention: Lily Laux
1701 N. Congress Avenue
Austin, Texas, 78701

Via BCC Email
Selected Superintendents

Re:     School District Content Inquiry

Dear Ms. Laux and Superintendents:

Recently, a number of Texas school districts around the state including Carroll ISD 1, Spring
Branch ISD2, Lake Travis ISD3, Leander ISD4, and Katy ISD5, have removed books from
libraries and/or classrooms after receiving objections from students, parents, and taxpayers.

I am writing to you as the Chairman of the Texas House Committee on General Investigating.
Pursuant to Government Code Section 301.020(a)(4), the committee may initiate inquiries
concerning any “matter the committee considers necessary for the information of the legislature
or for the welfare and protection of state citizens.”

In accordance with the Committee’s jurisdiction and my authority as Chairman, I am initiating
an inquiry into Texas school district content and request preliminary information regarding the
following:



1
  https://www.nbcnews.com/news/us-news/southlake-texas-anti-racist-book-school-library-rcna2734.
2
  https://abc13.com/spring-branch-isd-sbisd-removes-controversial-book-transgender-library/11096467/.
3
  https://www.kxan.com/news/education/lake-travis-isd-pulls-will-review-book-deemed-sexually-explicit/.
4
  https://www.kvue.com/article/news/education/leander-isd-book-inappropriate-in-the-dream-house-board-
meeting/269-63852d91-f8f7-40f7-8de8-6438c9ca757f.
5
  https://www.reuters.com/world/us/texas-schools-remove-childrens-books-branded-critical-race-theory-2021-10-
07/.
              Capitol Office: E2. l 70 • P.O. Box 2910 • Austin, Texas 78768-2910 • (512) 463-0780
                               Members: Stephanie Klick, Reggie Smith, District 11 8
                                Darren Keyes , Committee Clerk & General Counsel
                                        Darren.Keyes_hc @ house.texas. gov
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October 25, 2021


        1. Please identify how many copies of each book in the attached Addendum your
           District possesses and at what campus locations including school library and
           classroom collections.
        2. Please identify the amount of funds spent by your District to acquire the books
           identified in request No. 1 above.
        3. Please identify any other books or content in your District, specifying the campus
           location and funds spent on acquisition, that address or contain the following topics:
           human sexuality, sexually transmitted diseases, or human immunodeficiency virus
           (HIV) or acquired immune deficiency syndrome (AIDS), sexually explicit images,
           graphic presentations of sexual behavior that is in violation of the law, or contain
           material that might make students feel discomfort, guilt, anguish, or any other form of
           psychological distress because of their race or sex or convey that a student, by virtue
           of their race or sex, is inherently racist, sexist, or oppressive, whether consciously or
           unconsciously.

Your prompt attention to this request is appreciated, and I request a written response via email by
November 12, 2021. If you have any questions, please contact me or the Committee’s General
Counsel, Darren Keyes.

Respectfully,



Matt Krause
Chairman
Texas House Committee on General Investigating




              Capitol Office: E2. l 70 • P.O. Box 2910 • Austin, Texas 78768-2910 • (512) 463-0780
                              Members: Stephanie Klick, Reggie Smith, District 11 8
                               Darren Keyes, Committee Clerk & General Counsel
                                       Darren.Keyes_hc@house.texas.gov
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October 25, 2021


                                               ADDENDUM

                                                [see attached]




              Capitol Office: E2. l 70 • P.O. Box 2910 • Austin, Texas 78768-2910 • (512) 463-0780
                              Members: Stephanie Klick, Reggie Smith, District 11 8
                               Darren Keyes, Committee Clerk & General Counsel
                                       Darren.Keyes_hc@house.texas.gov
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            EXHIBIT 23
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Title                                                                                                                        Author                    Published
2020 Black Lives Matter marches                                                                                              Markovics, Joyce L.         2021
A complicated love story set in space                                                                                        Hutchinson, Shaun David     2021
A lesson in vengeance                                                                                                        Lee, Victoria               2021
As far as you'll take me                                                                                                     Stamper, Phil               2021
Be dazzled                                                                                                                   La Sala, Ryan               2021
Black Lives Matter : from hashtag to the streets                                                                             Tyner, Artika R.            2021
Can't take that away                                                                                                         Salvatore, Steven           2021
Follow your arrow                                                                                                            Verdi, Jessica              2021
Have I ever told you Black lives matter                                                                                      King, Shani M.              2021
Perfect on paper                                                                                                             Gonzales, S.                2021
Protesting police violence in modern America                                                                                 Harris, Duchess             2021
Race and policing in modern America                                                                                          Harris, Duchess             2021
Race and the media in modern America                                                                                         Harris, Duchess             2021
Racial justice in America : topics for change                                                                                Nichols, Hedreich           2021
Spin with me                                                                                                                 Polonsky, Ami               2021
The girls I've been                                                                                                          Sharpe, Tess                2021
The key to you and me                                                                                                        Brown, Jaye Robin           2021
What is the Black Lives Matter movement?                                                                                     Nichols, Hedreich           2021
What is white privilege?                                                                                                     Erickson, Leigh Ann         2021
#BlackLivesMatter : protesting racism                                                                                        Thomas, Rachel L.           2020
A good kind of trouble                                                                                                       Ramee, Lisa Moore           2020
A high five for Glenn Burke                                                                                                  Bildner, Phil               2020
A home for goddesses and dogs                                                                                                Connor, Leslie              2020
All out : the no-longer-secret stories of queer teens throughout the ages                                                    Saundra Mitchell            2020
Ana on the edge                                                                                                              Sass, A. J.                 2020
Beyond the gender binary                                                                                                     Menon, Alok                 2020
Blood sport                                                                                                                  McAdam, Tash                2020
Brave Face: A Memoir                                                                                                         Hutchinson, Shaun David     2020
Caste : the origins of our discontents                                                                                       Wilkerson, Isabel           2020
Cemetery boys                                                                                                                Thomas, Aiden               2020
Ciel                                                                                                                         Labelle, Sophie             2020
Cinderella is dead                                                                                                           Bayron, Kalynn              2020
Class act                                                                                                                    Craft, Jerry                2020
Cynical theories : how activist scholarship made everything about race, gender, and identity--and why this harms everybody   Pluckrose, Helen            2020
Darius the Great deserves better                                                                                             Khorram, Adib               2020
Each of us a desert                                                                                                          Oshiro, Mark                2020
Fairest : a memoir                                                                                                           Talusan, Meredith           2020
Felix ever after                                                                                                             Callender, Kacen            2020
Flamer                                                                                                                       Curato, Mike                2020
Forget this ever happened                                                                                                    Clarke, Cassandra Rose      2020
Freeing Finch                                                                                                                Rorby, Ginny                2020
Girl crushed                                                                                                                 Heaney, Katie               2020
Hands Up                                                                                                                     McDaniel, Breanna           2020
Hello now                                                                                                                    Valentine, Jenny            2020
Hood feminism : notes from the women that a movement forgot                                                                  Kendall, Mikki              2020
Hot dog girl                                                                                                                 Dugan, Jennifer             2020
How it all blew up                                                                                                           Ahmadi, Arvin               2020
I am water                                                                                                                   Specksgoor, Meg             2020
I hope you're listening                                                                                                      Ryan, Tom                   2020
Identity : a story of transitioning                                                                                          Maison, Corey               2020
If we were us                                                                                                                Walther, K.L.               2020
In The Dream House                                                                                                           Machado, Carmen Maria       2020
In the role of Brie Hutchens . . .                                                                                           Melleby, Nicole             2020
Infinity son                                                                                                                 Silvera, Adam               2020
Into the real                                                                                                                Brewer, Z                   2020



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Title                                                                                                       Author                     Published
Jane against the world : Roe v. Wade and the fight for reproductive rights                                  Blumenthal, Karen            2020
Julián at the wedding                                                                                       Love, Jessica                2020
La luna dentro de mi                                                                                        Salazar, Aida                2020
Late to the party                                                                                           Quindlen, Kelly              2020
Lobizona                                                                                                    Garber, Romina               2020
Love, Creekwood a Simonverse novella                                                                        Albertalli, Becky            2020
Me and White Supremacy: Combat Racism, Change the World, and Become a Good Ancestor                         Saad, Layla                  2020
Middle school's a drag : you better werk!                                                                   Howard, Greg                 2020
More than a game : race, gender, and politics in sports                                                     Doeden, Matt                 2020
My heart underwater                                                                                         Fantauzzo, Laurel Flores     2020
My rainbow                                                                                                  Neal, Trinity                2020
Rainbow revolutionaries : 50 LGBTQ+ people who made history                                                 Prager, Sarah                2020
Rainbow revolutions : power, pride, and protest in the fight for queer rights                               Lawson, Jamie                2020
Real talk about sex & consent : what every teen needs to know                                               Bradshaw, Cheryl M.          2020
Reverie                                                                                                     La Sala, Ryan                2020
Rick                                                                                                        Gino, Alex                   2020
She, he, they, them : understanding gender identity                                                         Stanborough, Rebecca         2020
Shout                                                                                                       Anderson, Laurie Halse       2020
The art of saving the world                                                                                 Duyvis, Corinne              2020
The Black Flamingo                                                                                          Atta, Dean                   2020
The blood countess                                                                                          Popović, Lana                2020
The bridge                                                                                                  Konigsberg, Bill             2020
The deep & dark blue                                                                                        Smith, Niki                  2020
The fight for LGBTQ+ rights                                                                                 Smith, Devlin                2020
The fire never goes out : a memoir in pictures                                                              Stevenson, Noelle            2020
The gravity of us                                                                                           Stamper, Phil                2020
The love curse of Melody McIntyre                                                                           Talley, Robin                2020
The magic fish                                                                                              Trung, Le Nguyen             2020
The midnight lie                                                                                            Rutkoski, Marie              2020
The migration north                                                                                         De Medeiros, James           2020
The moon within                                                                                             Salazar, Aida                2020
The new Jim Crow : mass incarceration in the age of colorblindness                                          Alexander, Michelle          2020
The ship we built                                                                                           Bean, Lexie                  2020
The truth about keeping secrets                                                                             Brown, Savannah              2020
The whispers                                                                                                Howard, Greg                 2020
They, She, He Easy as ABC                                                                                   Gonzalez, Maya Christina     2020
This book is anti-racist : 20 lessons on how to wake up, take action, and do the work                       Jewell, Tiffany              2020
This is your time                                                                                           Bridges, Ruby                2020
Understanding gender                                                                                        Dawson, Juno                 2020
V For Vendetta                                                                                              Moore, Alan                  2020
Wayward witch                                                                                               Córdova, Zoraida             2020
When they call you a terrorist : a story of Black Lives Matter and the power to change the world            Khan-Cullors, Patrisse       2020
When we were magic                                                                                          Gailey, Sarah                2020
Who I was with her                                                                                          Tyndall, Nita                2020
You do you : figuring out your body, dating, and sexuality                                                  Mirk, Sarah                  2020
A kids book about racism                                                                                    Memory, Jelani               2019
All eyes on us                                                                                              Frick, Kit                   2019
All the bad apples                                                                                          Fowley-Doyle, Moïra          2019
All the things we do in the dark                                                                            Mitchell, Saundra            2019
An indigenous peoples' history of the United States for young people                                        Mendoza, Jean                2019
Avoiding bullies? : skills to outsmart and stop them                                                        Spilsbury, Louise            2019
Birthday                                                                                                    Russo, Meredith              2019
Cold falling white                                                                                          Prendergast, Gabriell        2019
Deposing Nathan                                                                                             Smedley, Zack                2019
Firestarter                                                                                                 Sim, Tara                    2019



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Title                                                                                                     Author                      Published
Gender equality                                                                                           Léonard, Marie des Neiges     2019
Gender queer                                                                                              Kobabe, Maia                  2019
Her royal highness                                                                                        Hawkins, Rachel               2019
Hold my hand                                                                                              Barakiva, Michael             2019
Ho'onani : hula warrior                                                                                   Gale, Heather                 2019
How (not) to ask a boy to prom                                                                            Goslee, S. J.                 2019
How to be an antiracist                                                                                   Kendi, Ibram X.               2019
It feels good to be yourself : a book about gender identity                                               Thorn, Theresa                2019
Ivy Aberdeen's letter to the world                                                                        Blake, Ashley Herring         2019
Jacob's room to choose                                                                                    Hoffman, Sarah                2019
Juliet takes a breath                                                                                     Rivera, Gabby                 2019
Kiss number 8                                                                                             Venable, Colleen A. F.        2019
Laura Dean Keeps Breaking Up With Me                                                                      Tamaki, Mariko                2019
Let's talk about love                                                                                      Kann, Claire                 2019
LGBT families                                                                                             Currie-McGhee, L. K.          2019
Moonstruck. Vol. 2, Some enchanted evening                                                                 Ellis, Grace                 2019
New kid                                                                                                   Craft, Jerry                  2019
Odd one out                                                                                               Stone, Nic                    2019
Of ice and shadows                                                                                        Coulthurst, Audrey            2019
Ordinary Hazards: A Memoir                                                                                Grimes, Nikki                 2019
Orpheus girl                                                                                              Rebele-Henry, Brynne          2019
Pet                                                                                                       Emezi, Akwaeke                2019
Rainbow : a first book of pride                                                                           Genhart, Michael              2019
Red at the bone                                                                                           Woodson, Jacqueline           2019
Redwood and Ponytail                                                                                      Holt, K. A.                   2019
Rethinking normal : a memoir in transition                                                                Hill, Katie Rain              2019
Sam!                                                                                                      Gabriel, Dani                 2019
Saturdays with Hitchcock                                                                                  Wittlinger, Ellen             2019
Some girls bind                                                                                           James, Rory                   2019
Something like gravity                                                                                    Smith, Amber                  2019
Stage dreams                                                                                              Gillman, Melanie              2019
The birds, the bees, and you and me                                                                       Hinebaugh, Olivia             2019
The Breakaways                                                                                            Johnson, Cathy G.             2019
The deepest breath                                                                                        Grehan, Meg                   2019
The devouring gray                                                                                        Herman, Christine Lynn        2019
The downstairs girl                                                                                       Lee, Stacey                   2019
The grief keeper                                                                                          Villasante, Alexandra         2019
The Handmaid's Tale: The Graphic Novel                                                                    Atwood, Margaret              2019
The Indian Removal Act and the Trail of Tears                                                             Hamen, Susan E.               2019
The Last Man                                                                                              Vaughan, Brian K.             2019
The last to let go                                                                                        Smith, Amber                  2019
The love & lies of Rukhsana Ali                                                                           Khan, Sabina                  2019
The meaning of birds                                                                                      Brown, Jaye Robin             2019
The mighty heart of Sunny St. James                                                                       Blake, Ashley Herring         2019
The music of what happens                                                                                 Konigsberg, Bill              2019
The pants project                                                                                         Clarke, Cat                   2019
The past and other things that should stay buried                                                         Hutchinson, Shaun David       2019
The red scrolls of magic                                                                                  Clare, Cassandra              2019
The stars and the blackness between them                                                                  Petrus, Junauda               2019
The truth is                                                                                              Ramos, NoNieqa                2019
Things that make white people uncomfortable : adapted for young adults                                    Bennett, Michae               2019
Trans mission : my quest to a beard                                                                       Bertie, Alex                  2019
Unpregnant                                                                                                Hendriks, Jenni               2019
Wait, what? : a comic book guide to relationships, bodies, and growing up                                 Corinna, Heather              2019
We are lost and found                                                                                     Dunbar, Helene                2019



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Title                                                                                                       Author                         Published
What Riley wore                                                                                             Arnold, Elana K.                 2019
When Aidan became a brother                                                                                 Lukoff, Kyle                     2019
White rabbit                                                                                                Roehrig, Caleb                   2019
Zenobia July                                                                                                Bunker, Lisa                     2019
Ziggy, Stardust & me                                                                                        Brandon, James                   2019
All we can do is wait : a novel                                                                             Lawson, Richard                  2018
An African American and Latinx history of the United States                                                 Ortiz, Paul                      2018
And she was                                                                                                  Verdi, Jessica                  2018
Being the Change: Lessons and Strategies to Teach Social Comprehension                                      Ahmed, Sara                      2018
Boy erased : a memoir of identity, faith, and family                                                        Conley, Garrard                  2018
Chainbreaker                                                                                                Sim, Tara                        2018
Doing it!                                                                                                   Witton, Hannah                   2018
Everything you love will burn : inside the rebirth of white nationalism in America                          Tenold, Vegas                    2018
Girl made of stars                                                                                          Blake, Ashley Herring            2018
Girl mans up                                                                                                Girard, M-E.                     2018
Harvey Milk : the first openly gay elected official in the United States                                    Hollander, Barbara Gottfried     2018
Hate crimes : when intolerance turns violent                                                                Sharif, Meghan                   2018
Hurricane Child                                                                                             Callender, Kheryn                2018
La carta de Ivy Aberdeen al mundo                                                                           Blake, Ashley Herrin             2018
Lawn Boy                                                                                                    Evison, Jonathan                 2018
LGBTQ rights                                                                                                Hyde, Natalie                    2018
Lily and Dunkin                                                                                             Gephart, Donna                   2018
Little & Lion                                                                                               Colbert, Brandy                  2018
Meet cute                                                                                                   Jennifer L. Armentrout           2018
Miles away from you                                                                                         Rutledge, A. B.                  2018
Moonstruck. Vol. 1, Magic to brew                                                                            Ellis, Grace                    2018
My life as a diamond                                                                                        Manzer, Jenny                    2018
Nate expectations                                                                                           Federle, Tim                     2018
Nevertheless, we persisted : 48 voices of defiance, strength, and courage.                                  Klobuchar, Amy                   2018
Not my idea : a book about whiteness                                                                        Higginbotham, Anastasia          2018
Not my idea : a book about whiteness                                                                        Higginbotham, Anastasia          2018
One half from the east                                                                                      Hashimi, Nadia                   2018
One true way                                                                                                Hitchcock, Shannon               2018
Peaceful fights for equal rights                                                                            Sanders, Rob                     2018
Political resistance in the current age                                                                     Harris, Duchess                  2018
Pride : the story of Harvey Milk and the Rainbow Flag                                                       Sanders, Rob                     2018
Prince & knight                                                                                             Haack, Daniel                    2018
Pulp                                                                                                        Talley, Robin                    2018
Sewing the rainbow : the story of Gilbert Baker and the rainbow flag                                        Pitman, Gayle E.                 2018
Ship it                                                                                                     Lundin, Britta                   2018
So you want to talk about race                                                                              Oluo, Ijeoma                     2018
Staying fat for Sarah Byrnes                                                                                Crutcher, Chris                  2018
The art of being normal                                                                                     Williamson, Lisa                 2018
The Black power movement and civil unrest                                                                   Hinton, Kerry                    2018
The bride was a boy                                                                                         Chii (Mangaka)                   2018
The Polar Bear Explorers' Club                                                                              Bell, Alex                       2018
The summer of Jordi Perez (and the best burger in Los Angeles)                                              Spalding, Amy                    2018
This is kind of an epic love story                                                                          Callender, Kacen                 2018
Tomorrow will be different : love, loss, and the fight for trans equality                                   McBride, Sarah                   2018
Underneath it all : a history of women's underwear                                                          Keyser, Amber                    2018
Valkyrie. Book one, Between the blade and the heart                                                         Hocking, Amanda                  2018
W is for welcome : a celebration of America's diversity                                                     Herzog, Brad                     2018
What if it's us                                                                                             Albertalli, Becky                2018
What's racism?                                                                                              Rogers, Amy B.                   2018
10 things I can see from here                                                                               Mac, Carrie                      2017



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Title                                                                                                      Author                    Published
A line in the dark                                                                                         Lo, Malinda                 2017
A very, very bad thing                                                                                     Self, Jeffery               2017
A woman's right to an abortion : Roe v. Wade                                                               Herda, D. J.                2017
Alan Cole is not a coward                                                                                  Bell, Eric                  2017
All American Boys                                                                                          Reynolds, Jason             2017
At the broken places : a mother and trans son pick up the pieces                                           Collins, Mary               2017
At the edge of the universe                                                                                Hutchinson, Shaun David     2017
Autoboyography                                                                                             Lauren, Christina           2017
Before I had the words : on being a transgender young adult                                                Kergil, Skylar              2017
Being Jazz : my life as a (transgender) teen                                                               Jennings, Jazz.             2017
Coming out as transgender                                                                                  Brezina, Corona             2017
Critical perspectives on gender identity                                                                   Nicki Peter Petrikowski     2017
Drag teen : a tale of angst and wigs                                                                       Self, Jeffery               2017
Draw the line                                                                                              Linn, Laurent               2017
Dreadnought                                                                                                Daniels, April              2017
Echo after echo                                                                                            Capetta, Amy Rose           2017
Far from the tree : how children and their parents learn to accept one another                             Solomon, Andrew             2017
Finding community                                                                                          Rodi, Robert                2017
Gender identity : the search for self                                                                      Light, Kate                 2017
George                                                                                                     Gino, Alex                  2017
Girl : love, sex, romance, and being you                                                                   Rayne, Karen                2017
Girlness : deal with it body and soul                                                                      Peters, Diane               2017
Guyness : deal with it body and soul                                                                       Pitt, Steve                 2017
History is all you left me                                                                                 Silvera, Adam               2017
Honestly Ben                                                                                               Konigsberg, Bill            2017
Identifying as transgender                                                                                 Woods, Sara                 2017
Identity & gender                                                                                          Ogden, Charlie              2017
In other lands : a novel                                                                                   Brennan, Sarah Rees         2017
It's not like it's a secret                                                                                Sugiura, Misa               2017
Jane, unlimited                                                                                            Cashore, Kristin            2017
Jaya and Rasa                                                                                              Patel, Sonia                2017
Kaleidoscope song                                                                                          Benwell, Fox                2017
Lana Wachowski                                                                                             Mapua, Jeff                 2017
LGBTQ rights                                                                                               Susan Henneberg             2017
LGBTQ+ athletes claim the field : striving for equality                                                    Cronn-Mills, Kirstin        2017
Like water                                                                                                 Podos, Rebecca              2017
Living with religion and faith                                                                             Rodi, Robert                2017
Looking for group                                                                                          Harrison, Rory              2017
Mama's boyz : in living color!                                                                             Craft, Jerry                2017
Mask of shadows                                                                                            Miller, Linsey              2017
Meg & Linus                                                                                                Nowinski, Hanna             2017
Our own private universe                                                                                   Talley, Robin               2017
Pants project                                                                                              Clarke, Cat                 2017
Queer, there and everywhere : 23 people who changed the world                                              Prager, Sarah               2017
Sovereign                                                                                                  Daniels, April              2017
Sparkle boy                                                                                                Newman, Lesléa              2017
Spinning                                                                                                   Walden, Tillie              2017
Star-crossed                                                                                               Dee, Barbara                2017
Symptoms of being human                                                                                    Garvin, Jeff                2017
Teens and gender dysphoria                                                                                 Nardo, Don                  2017
The 57 Bus                                                                                                 Slater, Dashka              2017
The best man                                                                                               Peck, Richard               2017
The edge of the abyss                                                                                      Skrutskie, Emily            2017
The gallery of unfinished girls                                                                            Karcz, Lauren               2017
The Love Interest                                                                                          Dietrich, Cale              2017



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Title                                                                                                      Author                     Published
The upside of unrequited                                                                                   Albertalli, Becky            2017
The you I've never known                                                                                   Hopkins, Ellen               2017
They both die at the end                                                                                   Silvera, Adam                2017
Transgender rights and protections                                                                         Klein, Rebecca T.            2017
Transgender role models and pioneers                                                                       Penne, Barbra                2017
Transphobia : deal with it and be a gender transcender                                                     Skelton, J. Wallace          2017
We are the ants                                                                                            Hutchinson, Shaun David      2017
We now return to regular life : a novel                                                                    Wilson, Martin               2017
We were eight years in power : an American tragedy                                                         Coates, Ta-Nehisi            2017
Absolute brightness                                                                                        Lecesne, James               2016
Aleecia                                                                                                    Wells, Maggie                2016
Alex                                                                                                       Aguilar Zeleny, Sylvia       2016
Are you LGBTQ?                                                                                             Nagle, Jeanne                2016
As I descended                                                                                             Talley, Robin                2016
Ask me how I got here                                                                                      Heppermann, Christine        2016
Away we go                                                                                                 Ostrovski, Emil              2016
Beast                                                                                                      Spangler, Brie               2016
Between the world and me                                                                                   Coates, Ta-Nehisi            2016
Bloodline                                                                                                  Aros, Dana                   2016
Candace                                                                                                    Wells, Maggie                2016
Chasing the day                                                                                            Aros, Dana                   2016
Con tango son tres                                                                                         Richardson, Justin           2016
Cradle and all                                                                                             Patterson, James             2016
Do you wonder about sex and sexuality?                                                                     Feinstein, Stephen           2016
Double exposure                                                                                            Birdsall, Bridget            2016
Expecting                                                                                                  Freeman, Shannon             2016
Freakboy                                                                                                   Clark, Kristin Elizabeth     2016
Gracefully Grayson                                                                                         Polonsky, Ami                2016
Highly illogical behavior                                                                                  Whaley, John Corey           2016
If I was your girl                                                                                         Russo, Meredith              2016
Introducing Teddy : a gentle story about gender and friendship                                             Walton, Jess                 2016
Invisible man, got the whole world watching : a young black man's education                                Smith, Mychal Denzel         2016
Isabella                                                                                                   Wells, Maggie                2016
Jasmine                                                                                                    Wells, Maggie                2016
Jess, Chunk, and the road trip to infinity                                                                 Clark, Kristin Elizabeth     2016
Just kill me                                                                                               Selzer, Adam                 2016
Launching our Black children for success : a guide for parents of kids from three to eighteen              Ladner, Joyce A              2016
Leroy                                                                                                      Aguilar Zeleny, Sylvia       2016
Look past                                                                                                  Devine, Eric                 2016
Love beyond body, space, and time : an indigenous LGBT sci-fi anthology                                    Hope Nicholson               2016
Luciana                                                                                                    Wells, Maggie                2016
Maria                                                                                                      Aguilar Zeleny, Sylvia       2016
Mikala                                                                                                     Aguilar Zeleny, Sylvia       2016
Of fire and stars                                                                                          Coulthurst, Audrey           2016
One of a kind, like me = Único como yo                                                                     Mayeno, Laurin               2016
Pride : celebrating diversity & community                                                                  Stevenson, Robin             2016
Qué nos hace humanos                                                                                       Garvin, Jeff                 2016
Raise the stakes                                                                                           Atwood, Megan                2016
Read me like a book                                                                                        Kessler, Liz                 2016
Sex, puberty, and all that stuff : a guide to growing up                                                   Bailey, Jacqui.              2016
Shawna                                                                                                     Wells, Maggie                2016
South of Sunshine                                                                                          Elmendorf, Dana              2016
Stamped from the beginning : the definitive history of racist ideas in America                             Kendi, Ibram X.              2016
Tattoo Atlas                                                                                               Floreen, Tim                 2016
Teens and LGBT issues                                                                                      Wilcox, Christine            2016



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The great American whatever                                                                                Federle, Tim                2016
The Lottery                                                                                                Hyman, Miles                2016
The other boy                                                                                              Hennessey, M. G.            2016
Tom                                                                                                        Aguilar Zeleny, Sylvia      2016
Transgender rights and issues                                                                              Pelleschi, Andrea           2016
Under threat                                                                                               Stevenson, Robin            2016
We march                                                                                                   Evans, Shane                2016
Whatever                                                                                                   Goslee, S. J.               2016
When the moon was ours                                                                                     McLemore, Anna-Marie        2016
Without Annette                                                                                            Mason, Jane B.              2016
Wonnie                                                                                                     Aguilar Zeleny, Sylvia      2016
Yo, Simon, homo sapiens                                                                                    Albertalli, Becky           2016
You know me well : a novel                                                                                 LaCour, Nina                2016
"Pink is a girl color" : ...and other silly things people say                                              Drageset, Stacy             2015
Abortion : interpreting the constitution                                                                   Hand, Carol                 2015
Abortion                                                                                                   Tamara Thompson             2015
Afterworlds                                                                                                Westerfeld, Scott           2015
Alex as well                                                                                               Brugman, Alyssa             2015
And still I rise : black America since MLK : an illustrated chronology                                     Gates, Henry Louis, Jr.     2015
Anything could happen                                                                                      Walton, Will                2015
Aristoteles y Dante descubren los secretos del universo                                                    Saenz, Benjamin Alire       2015
Becoming Nicole : the transformation of an American family                                                 Nutt, Amy Ellis             2015
Beyond clueless                                                                                            Alsenas, Linas              2015
Combat zone                                                                                                Jones, Patrick              2015
Considering hate : violence, goodness, and justice in American culture and politics                        Whitlock, Kay               2015
Cut both ways                                                                                              Mesrobian, Carrie           2015
Daughters unto devils                                                                                      Lukavics, Amy               2015
Fans of the impossible life                                                                                Scelsa, Kate                2015
Fathersonfather                                                                                            Jacobs, Evan                2015
Femme                                                                                                      Bach, Mette                 2015
Gender issues                                                                                              McIntosh, Kenneth           2015
Girls vs. guys : surprising differences between the sexes                                                  Rosen, Michael J.           2015
Grasshopper jungle : a history                                                                             Smith, Andrew               2015
Guardian                                                                                                   London, Alex                2015
High drama                                                                                                 Terrell, Brandon            2015
Hold me closer : the Tiny Cooper story                                                                     Levithan, David             2015
How prevalent is racism in society?                                                                        Parks, Peggy J.             2015
How to love : a novel                                                                                      Cotugno, Katie              2015
I'll give you the sun                                                                                      Nelson, Jandy               2015
Lizard radio                                                                                               Schmatz, Pat                2015
Me and Earl and the Dying Girl                                                                             Andrews, Jesse              2015
More happy than not                                                                                        Silvera, Adam               2015
My girlfriend's pregnant! : a teen's guide to becoming a dad                                               Shantz-Hilkes, Chloe        2015
None of the above                                                                                          Gregorio, I. W.             2015
Not otherwise specified                                                                                    Moskowitz, Hannah           2015
Out of Darkness                                                                                            Perez, Ashley Hope          2015
Playing a part                                                                                             Wilke, Daria                2015
Promposal                                                                                                  Helms, Rhonda               2015
Sex is a funny word : a book about bodies, feelings, and you                                               Silverberg, Cory            2015
Simon vs. the Homo Sapiens agenda                                                                          Albertalli, Becky           2015
Still life Las Vegas                                                                                       Sie, James                  2015
Summer love : an LGBTQ collection                                                                          Annie Harper                2015
Te daría el sol                                                                                            Nelson, Jandy               2015
Teen legal rights                                                                                          Hudson, David L.            2015
Tell me again how a crush should feel                                                                      Farizan, Sara               2015



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The first principle : a novel                                                                            Shrock, Marissa              2015
The five stages of Andrew Brawley                                                                        Hutchinson, Shaun David      2015
The Gale encyclopedia of medicine                                                                        Jacqueline L. Longe          2015
The gods of Tango                                                                                        De Robertis, Carolina        2015
The underground girls of Kabul : in search of a hidden resistance in Afghanistan                         Nordberg, Jenny              2015
This book is gay                                                                                         Dawson, Juno                 2015
Top 250 LGBTQ books for teens : coming out, being out, and the search for community                      Cart, Michael                2015
Transgender lives : complex stories, complex voice                                                       Cronn-Mills, Kirstin         2015
Transgender people                                                                                       Tamara Thompson              2015
Two boys kissing                                                                                         Levithan, David              2015
Wandering son, vol. 8                                                                                    Shimura, Takako              2015
What philosophy can do                                                                                   Gutting, Gary                2015
Will Grayson, Will Grayson                                                                               Green, John                  2015
Willful machines                                                                                         Floreen, Tim                 2015
Wonders of the invisible world                                                                           Barzak, Christopher          2015
You and me and him                                                                                       Dinnison, Kris               2015
Adam                                                                                                     Schrag, Ariel                2014
Beyond magenta : transgender teens speak out                                                             Kuklin, Susan                2014
Citizen : an American lyric                                                                              Rankine, Claudia             2014
Do abstinence programs work?                                                                             Christine Watkins            2014
Does this happen to everyone? : a budding adult's guide to puberty                                       Helms, Antje                 2014
Everything changes                                                                                       Hale, Samantha               2014
Everything leads to you                                                                                  LaCour, Nina                 2014
Eyes on target : inside stories from the brotherhood of the U.S. Navy SEALs                              McEwen, Scott                2014
Fan art                                                                                                  Tregay, Sarah                2014
Far from you                                                                                             Sharpe, Tess                 2014
Gabi, a girl in pieces                                                                                   Quintero, Isabel             2014
Gender identity                                                                                          Petrikowski, Nicki Peter     2014
Great                                                                                                    Benincasa, Sara              2014
I am Jazz!                                                                                               Herthel, Jessica             2014
Jacob's new dress                                                                                        Hoffman, Sarah               2014
Lies my girlfriend told me                                                                               Peters, Julie Anne           2014
Love & leftovers : a novel in verse                                                                      Tregay, Sarah                2014
Moon at nine                                                                                             Ellis, Deborah               2014
Morris Micklewhite and the tangerine dress                                                               Baldacchino, Christine       2014
My best friend, maybe                                                                                    Carter, Caela                2014
Native America and the question of genocide                                                              Alvarez, Alex                2014
No one needs to know                                                                                     Grace, Amanda                2014
One man guy                                                                                              Barakiva, Michael            2014
Remake                                                                                                   Todd, Ilima                  2014
Separate is never equal                                                                                  Tonatiuh, Duncan             2014
Sexual disorders                                                                                         Vitale, Ann E.               2014
Sexually transmitted diseases                                                                            David Haugen et al           2014
Sexually transmitted infections                                                                          Hunter, Miranda              2014
Some assembly required : the not-so-secret life of a transgender teen                                    Andrews, Arin                2014
The baby tree                                                                                            Blackall, Sophie             2014
The boy I love                                                                                           Gramont, Nina de             2014
The edge of the water                                                                                    George, Elizabeth            2014
The offenders : saving the world while serving detention!                                                Craft, Jerry                 2014
The sowing                                                                                               Dos Santos, Steven           2014
The way back                                                                                             Mac, Carrie                  2014
This One Summer                                                                                          Tamaki, Mariko               2014
Tomboy : a graphic memoir                                                                                Prince, Liz                  2014
Undone                                                                                                   Clarke, Cat                  2014
Wandering son, vol 7                                                                                     Shimura, Takako              2014



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Wandering son, vol. 6                                                                                                Shimura, Takako           2014
Wonder Woman unbound : the curious history of the world's most famous heroine                                        Hanley, Tim               2014
100 questions you'd never ask your parents : straight answers to teens' questions about sex, sexuality, and health   Henderson, Elisabeth      2013
A is for Activist                                                                                                    Nagara, Innosanto         2013
Abortion                                                                                                             Noël Merino               2013
Archenemy                                                                                                            Hoblin, Paul              2013
Doing it right : making smart, safe, and satisfying choices about sex                                                Pardes, Bronwen           2013
Ebony & ivy : race, slavery, and the troubled history of America's universities                                      Wilder, Craig Steven      2013
Golden boy : a novel                                                                                                 Tarttelin, Abigail        2013
If you could be mine                                                                                                 Farizan, Sara             2013
It's our prom (so deal with it)                                                                                      Peters, Julie Anne        2013
LGBTQ families : the ultimate teen guide                                                                             Apelqvist, Eva            2013
Life in outer space                                                                                                  Keil, Melissa             2013
Marco impossible                                                                                                     Moskowitz, Hannah         2013
Multicultural education : issues and perspectives                                                                    James A. Banks            2013
On the come up : a novel, based on a true story                                                                      Weyer, Hannah             2013
One of those hideous books where the mother dies                                                                     Sones, Sonya              2013
Openly straight                                                                                                      Konigsberg, Bill          2013
Proxy                                                                                                                London, Alex              2013
Qué me está pasando? : las respuestas a algunas de las preguntas más embarazosas del mundo                           Mayle, Peter              2013
Respecting the contributions of LGBT Americans                                                                       Kingston, Anna            2013
Roe v. Wade : abortion and a woman's right to privacy                                                                Higgins, Melissa          2013
See you at Harry's                                                                                                   Knowles, Johanna          2013
Sex                                                                                                                  David Haugen              2013
Sexual orientation                                                                                                   Lauri S. Scherer          2013
Should abortion be legal?                                                                                            Mooney, Carla             2013
Should teens have access to birth control?                                                                           Nardo, Don                2013
Tessa Masterson will go to prom                                                                                      Franklin, Emily           2013
The culling                                                                                                          Dos Santos, Steven        2013
The cutting room floor                                                                                               Klehr, Dawn               2013
The fight                                                                                                            Karre, Elizabeth          2013
The LGBT community                                                                                                   Seba, Jaime               2013
The sin eater's confession                                                                                           Bick, Ilsa J.             2013
The sweet revenge of Celia Door                                                                                      Finneyfrock, Kare         2013
The undivided past : humanity beyond our differences                                                                 Cannadine, David          2013
The waiting tree                                                                                                     Moynihan, Lindsay         2013
Wandering son, vol. 4                                                                                                Shimura, Takako           2013
Wandering son, vol. 5                                                                                                Shimura, Takako           2013
A guy's guide to sexuality and sexual identity in the 21st century                                                   Craig, Joe                2012
Aristotle and Dante discover the secrets of the universe                                                             Saenz, Benjamin Alire     2012
Ask the passengers                                                                                                   King, A. S.               2012
Beautiful music for ugly children                                                                                    Cronn-Mills, Kirstin      2012
Birth control                                                                                                        Roman Espejo              2012
Burn                                                                                                                 Gibson, Heath             2012
Drama                                                                                                                Telgemeier, Raina         2012
En el bosque                                                                                                         Stevenson, Robin H.       2012
Far from the tree : parents, children, and the search for identity                                                   Solomon, Andrew           2012
Gone, gone, gone                                                                                                     Moskowitz, Hannah         2012
Happy families                                                                                                       Davis, Tanita S.          2012
Homo                                                                                                                 Harris, Michael           2012
Hook up                                                                                                              Firmston, Kim             2012
I'm pregnant, now what?                                                                                              Stanley, Cleo             2012
Kiss the morning star                                                                                                Hoole, Elissa Janine      2012
Love & Haight                                                                                                        Carlton, Susan R.         2012
My awful popularity plan                                                                                             Rudetsky, Seth            2012



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My heartbeat                                                                                              Freymann-Weyr, Garret        2012
My mixed-up berry blue summer                                                                             Gennari, Jennifer            2012
October mourning : a song for Matthew Shepard                                                             Newman, Lesléa               2012
Privacy                                                                                                   Noël Merino                  2012
Reluctantly Alice                                                                                         Naylor, Phyllis Reynolds     2012
Shine                                                                                                     Myracle, Lauren              2012
Teenage sex and pregnancy                                                                                 Parks, Peggy J.              2012
Teenage sexuality                                                                                         Aarti D. Stephens            2012
The difference between you and me                                                                         George, Madeleine            2012
The letter Q : queer writers' notes to their younger selves                                               Sarah Moon                   2012
The miseducation of Cameron Post                                                                          Danforth, Emily M.           2012
The questions within                                                                                      Schaeffer, Teresa            2012
The ultimate guys' body book : not-so-stupid questions about your body                                    Larimore, Walter L.          2012
Wandering son, vol. 3                                                                                     Shimura, Takako              2012
A new generation of homosexuality : modern trends in gay and lesbian communities                          Palmer, Bill                 2011
Abortion                                                                                                  Noah Berlatsky               2011
Being gay, staying healthy                                                                                Seba, Jaime                  2011
Birth control                                                                                             Noël Merino                  2011
Coming out : telling family and friends                                                                   Seba, Jaime                  2011
Crossing lines                                                                                            Volponi, Paul                2011
Donovan's big day                                                                                         Newman, Lesléa               2011
Dreadnought                                                                                               Walden, Mark                 2011
Dying to live                                                                                             Baldwin, Kim                 2011
Feeling wrong in your own body : understanding what it means to be transgender                            Seba, Jaime                  2011
Final takedown                                                                                            Sherrard, Brent R.           2011
Gay and lesbian role models                                                                               Seba, Jaime                  2011
Gay believers : homosexuality and religion                                                                Sanna, Emily                 2011
Gay issues and politics : marriage, the military, & work place discrimination                             Seba, Jaime                  2011
Gay people of color : facing prejudices, forging identities                                               Seba, Jaime                  2011
Gays and mental health : fighting depression, saying no to suicide                                        Seba, Jaime                  2011
GLBTQ : the survival guide for gay, lesbian, bisexual, transgender, and questioning teens                 Huegel, Kelly                2011
H.I.V.E. : dreadnought                                                                                    Walden, Mark                 2011
Homophobia : from social stigma to hate crimes                                                            Palmer, Bill                 2011
Homosexuality around the world : safe havens, cultural challenges                                         Seba, Jaime                  2011
Hooked                                                                                                    Greenman, Catherine          2011
In my father's house                                                                                      Harris, E. Lynn              2011
In trouble                                                                                                Levine, Ellen                2011
It gets better : coming out, overcoming bullying, and creating a life worth living                        Dan Savage                   2011
Notes from the blender                                                                                    Cook, Trish                  2011
Pearl                                                                                                     Knowles, Johanna             2011
Pink                                                                                                      Wilkinson, Lili              2011
Pretend you love me : a novel                                                                             Peters, Julie Anne           2011
Putting makeup on the fat boy                                                                             Wright, Bil                  2011
Qué pasa en mi cuerpo? : el libro para muchachas                                                          Madaras, Lynda               2011
Religion in America                                                                                       David Haugen                 2011
She loves you, she loves you not-- : a novel                                                              Peters, Julie Anne           2011
Sister mischief                                                                                           Goode, L.                    2011
Smashing the stereotypes: what does it mean to be gay, lesbian, bisexual, or transgender?                 Seba, Jaime                  2011
Stick                                                                                                     Smith, Andrew                2011
Teen sex                                                                                                  Olivia Ferguson              2011
The Latino/a condition : a critical reader                                                                Richard Delgado              2011
The test                                                                                                  Kern, Peggy                  2011
Wandering son, vol. 1                                                                                     Shimura, Takako              2011
Wandering son, vol. 2                                                                                     Shimura, Takako              2011
We are all born free                                                                                      Amnesty International        2011



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What causes sexual orientation? : genetics, biology, psychology                                                                              Palmer, Bill                   2011
With or without you                                                                                                                          Farrey, Brian                  2011
A love story starring my dead best friend                                                                                                    Horner, Emily                  2010
Abortion                                                                                                                                     David Haugen                   2010
After                                                                                                                                        Efaw, Amy                      2010
Ash                                                                                                                                          Lo, Malinda                    2010
Dear diary, I'm pregnant : ten real life stories                                                                                             Englander, Anrenée             2010
Do abstinence programs work?                                                                                                                 Christina Fisanick             2010
Friendship, dating, and relationships                                                                                                        Payment, Simone                2010
From the notebooks of Melanin Sun                                                                                                            Woodson, Jacqueline            2010
Girls on the edge : the four factors driving the new crisis for girls : sexual identity, the cyberbubble, obsessions, environmental toxins   Sax, Leonard                   2010
GLBT teens and society                                                                                                                       Nagle, Jeanne                  2010
I'll get there, it better be worth the trip                                                                                                  Donovan, John                  2010
Jumpstart the world                                                                                                                           Hyde, Catherine Ryan          2010
Kiss                                                                                                                                         Wilson, Jacqueline             2010
Life at school and in the community                                                                                                          Worth, Richard                 2010
Love drugged                                                                                                                                 Klise, James                   2010
Masked                                                                                                                                       McClintock, Norah              2010
Quinceañera                                                                                                                                  Ilan Stavans                   2010
Scars                                                                                                                                        Rainfield, C. A.               2010
Sex : a book for teens : an uncensored guide to your body, sex, and safety                                                                   Hasler, Nikol                  2010
The accidental adventures of India McAllister                                                                                                Agell, Charlotte               2010
The dear one                                                                                                                                 Woodson, Jacqueline            2010
The grace of silence                                                                                                                         Norris, Michele                2010
The history of White people                                                                                                                   Painter, Nell Irvin           2010
The less-dead                                                                                                                                Lurie, April                   2010
They called themselves the K.K.K. : the birth of an American terrorist group                                                                 Bartoletti, Susan Campbell     2010
Will                                                                                                                                         Boyd, Maria                    2010
Almost perfect                                                                                                                               Katcher, Brian                 2009
Black Rabbit summer                                                                                                                          Brooks, Kevin                  2009
Freaks and revelations : a novel                                                                                                             Hurwin, Davida                 2009
Gender danger : survivors of rape, human trafficking, and honor killings                                                                     Simons, Rae                    2009
Glitter                                                                                                                                      Daniels, Babygirl              2009
Grown in 60 seconds                                                                                                                          Lee, Darrien                   2009
Hate crimes                                                                                                                                  Hudson, David L.               2009
How beautiful the ordinary : twelve stories of identity                                                                                      Michael Cart                   2009
In our mothers' house                                                                                                                        Polacco, Patricia              2009
La tormenta                                                                                                                                  Bell, William                  2009
Love is the higher law                                                                                                                       Levithan, David                2009
Magic and misery                                                                                                                             Marino, Peter                  2009
My invented life                                                                                                                             Bjorkman, Lauren               2009
My most excellent year : a novel of love, Mary Poppins, & Fenway Park                                                                        Kluger, Steve                  2009
Rage : a love story                                                                                                                          Peters, Julie Anne             2009
Say the word                                                                                                                                 Garsee, Jeannine               2009
Sex : if you're scared of the truth don't read this! : straight talk from a former U.S. Marine                                               Sommer, Carl                   2009
Sprout, or, My salad days, when I was green in judgment                                                                                      Peck, Dale                     2009
The abortion debate : understanding the issues                                                                                               Haney, Johannah                2009
The God box                                                                                                                                  Sanchez, Alex                  2009
The truth about sexual behavior and unplanned pregnancy                                                                                      Robert N. Golden               2009
The vast fields of ordinary                                                                                                                  Burd, Nick                     2009
Abortion : a documentary and reference guide                                                                                                 Rose, Melody                   2008
Big guy                                                                                                                                      Stevenson, Robin               2008
Boy minus girl                                                                                                                               Uhlig, Richard Allen           2008
Conception                                                                                                                                   Buckhanon, Kalisha             2008
Dishes                                                                                                                                       Wallace, Rich                  2008



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Falling hard : 100 love poems by teenagers                                                                                                         Betsy Franco                  2008
Fancy white trash                                                                                                                                  Geerling, Marjetta            2008
Gravity                                                                                                                                            Lieberman, Leanne             2008
Hit the road, Manny                                                                                                                                Burch, Christian              2008
Life, death and sacrifice : women and family in the Holocaust                                                                                      Esther Hertzog                2008
Love & lies : Marisol's story                                                                                                                      Wittlinger, Ellen             2008
Lucas y yo                                                                                                                                         O'Hearn, Audrey               2008
Making smart choices about sexual activity                                                                                                         Perkins, Stephanie C.         2008
Mousetraps                                                                                                                                         Schmatz, Pat                  2008
No girls allowed: tales of daring women dressed as men for love, freedom and adventure                                                             Hughes, Susan                 2008
Nothing pink                                                                                                                                       Hardy, Mark                   2008
Out of the pocket                                                                                                                                  Konigsberg, Bill              2008
Roe v. Wade                                                                                                                                        Hillstrom, Laurie Collier     2008
Sexual health information for teens : health tips about sexual development, reproduction, contraception, and sexually transmitted infections ...   Sandra Augustyn Lawton        2008
Suicide notes : a novel                                                                                                                            Ford, Michael Thomas          2008
The abortion debate                                                                                                                                Farrell, Courtney             2008
The dirt on sex                                                                                                                                    Lookadoo, Justin              2008
The last exit to normal                                                                                                                            Harmon, Michael B.            2008
The traitor game                                                                                                                                   Collins, B. R.                2008
Two parties, one tux, and a very short film about The grapes of wrath                                                                              Goldman, Steven               2008
We the students : Supreme Court cases for and about students                                                                                       Raskin, Jamin B.              2008
What they always tell us                                                                                                                           Wilson, Martin                2008
Women's rights                                                                                                                                     Justin Karr                   2008
Youth with gender issues : seeking an identity                                                                                                     McIntosh, Kenneth             2008
7 days at the hot corner                                                                                                                           Trueman, Terry                2007
Abortion                                                                                                                                           Juettner, Bonnie              2007
Abortion                                                                                                                                           Marcovitz, Hal                2007
Abortion                                                                                                                                           Norah Piehl                   2007
Annie on my mind                                                                                                                                   Garden, Nancy                 2007
Another kind of cowboy                                                                                                                             Juby, Susan                   2007
Freak show                                                                                                                                         St. James, James              2007
Gender identity : the ultimate teen guide                                                                                                          Winfield, Cynthia L.          2007
Getting it                                                                                                                                         Sanchez, Alex                 2007
Great events from history. Gay, lesbian, bisexual, and transgender events,1848-2006. Vol 1                                                         Lillian Faderman              2007
Grl2grl : short fictions                                                                                                                           Peters, Julie Anne            2007
Hang-ups, hook-ups, and holding out : stuff you need to know about your body, sex, and dating                                                      Holmes, Melisa                2007
Hear us out! : lesbian and gay stories of struggle, progress and hope, 1950 to the present                                                         Garden, Nancy                 2007
Kissing Kate                                                                                                                                       Myracle, Lauren               2007
My life as a rhombus                                                                                                                               Johnson, Varian               2007
Naomi and Ely's no kiss list : a novel                                                                                                             Cohn, Rachel                  2007
Parrotfish                                                                                                                                         Wittlinger, Ellen             2007
S.E.X. : the all-you-need-to-know progressive sexuality guide to get you through high school and college                                           Corinna, Heather              2007
Sex for guys                                                                                                                                       Forssberg, Manne              2007
Sexual decisions : the ultimate teen guide                                                                                                         Gowen, L. Kris                2007
Teen pregnancy                                                                                                                                     Emma Carlson Berne            2007
Teenage pregnancy and parenting                                                                                                                    Lisa Frick                    2007
The abortion controversy                                                                                                                           Lucinda Almond                2007
The what's happening to my body? book for boys                                                                                                     Madaras, Lynda                2007
The what's happening to my body? book for girls : a growing-up guide for parents and daughters                                                     Madaras, Lynda                2007
Tips on having a gay (ex) boyfriend                                                                                                                Jones, Carrie                 2007
Your sexuality                                                                                                                                     Hirschmann, Kris              2007
101 questions about reproduction : or how 1 + 1 = 3 or 4 or more--                                                                                 Brynie, Faith Hickman         2006
A tale of two summers                                                                                                                              Sloan, Brian                  2006
Abortion : opposing viewpoints                                                                                                                     James D. Torr                 2006
Absolute convictions : my father, a city, and the conflict that divided America                                                                    Press, Eyal                   2006



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Angel's choice                                                                                                                 Baratz-Logsted, Lauren     2006
Between Mom and Jo                                                                                                             Peters, Julie Anne         2006
Bioethics : who lives, who dies, and who decides?                                                                              Altman, Linda Jacobs       2006
Crush                                                                                                                          Mac, Carrie                2006
Dating, relationships, and sexuality : what teens should know                                                                  Beckman, Wendy Hart        2006
Equal rights                                                                                                                   O'Connor, Maureen          2006
It's not the stork! : a book about girls, boys, babies, bodies, families, and friends                                          Harris, Robie H.           2006
Playing the field : a novel                                                                                                    Bildner, Phil              2006
Ready or not? : a girl's guide to making her own decisions about dating, love, and sex                                         Radziszewicz, Tina         2006
Reproductive rights                                                                                                            William Dudley             2006
Safe sex 101 : an overview for teens                                                                                           Hyde, Margaret O.          2006
So hard to say                                                                                                                 Sanchez, Alex              2006
Teenage sexuality                                                                                                              Ken R. Wells               2006
The abortion rights movement                                                                                                   Meghan Powers              2006
The full spectrum : a new generation of writing about gay, lesbian, bisexual, transgender, questioning, and other identities   Levithan, David            2006
Tres con tango                                                                                                                 Richardson, Justin         2006
When religion & politics mix : how matters of faith influence political policies                                               McIntosh, Kenneth          2006
Wide awake                                                                                                                     Levithan, David            2006
Absolutely, positively not gay                                                                                                 LaRochelle, David          2005
And Tango makes three                                                                                                          Richardson, Justin         2005
Antonio's card = La tarjeta de Antonio                                                                                         Gonzalez, Rigoberto        2005
Boy girl boy                                                                                                                   Koertge, Ronald            2005
Far from Xanadu                                                                                                                Peters, Julie Anne         2005
Girl, nearly 16, absolute torture                                                                                              Limb, Sue                  2005
Image and identity : becoming the person you are                                                                               Gowen, L. Kris             2005
M or F? : a novel                                                                                                              Papademetriou, Lisa        2005
Rainbow High                                                                                                                   Sanchez, Alex              2005
Rainbow road                                                                                                                   Sanchez, Alex              2005
Roe v. Wade : a women's choice?                                                                                                Gold, Susan Dudley         2005
Sky bridge                                                                                                                     Pritchett, Laura           2005
Stained                                                                                                                        Jacobson, Jennifer         2005
Taking responsibility : a teen's guide to contraception and pregnancy                                                          Lange, Donna               2005
Teen sex                                                                                                                       Christine Watkins          2005
The center of the world                                                                                                        Steinhöfel, Andreas        2005
The courage to be yourself : true stories by teens about cliques, conflicts, and overcoming peer pressure                      Al Desetta                 2005
The hookup artist                                                                                                              Shaw, Tucker               2005
The Order of the Poison Oak                                                                                                    Hartinger, Brent           2005
The truth about sexual behavior and unplanned pregnancy                                                                        Mark J. Kittleson          2005
Totally Joe                                                                                                                    Howe, James                2005
Abortion : understanding the debate                                                                                            Gay, Kathlyn               2004
Bend, don't shatter : poets on the beginning of desire                                                                         T. Cole Rachel             2004
Beyond choice : reproductive freedom in the 21st century                                                                       Sanger, Alexander          2004
Geography Club                                                                                                                 Hartinger, Brent           2004
Homosexuality : opposing viewpoints                                                                                            Auriana Ojeda              2004
It's perfectly normal : a book about changing bodies, growing up, sex, and sexual health                                       Harris, Robie H.           2004
Lucky                                                                                                                          De Oliveira, Eddie         2004
Orphea Proud                                                                                                                   Wyeth, Sharon Dennis       2004
Paper trail : common sense in uncommon times                                                                                   Goodman, Ellen             2004
Sonny's house of spies                                                                                                         Lyon, George Ella          2004
Teens & sex                                                                                                                    Marcovitz, Hal             2004
The Bermudez Triangle : a novel                                                                                                Johnson, Maureen           2004
The dateable rules : a guide to the sexes                                                                                      Lookadoo, Justin           2004
What happened to Lani Garver                                                                                                   Plum-Ucci, Carol           2004
101 questions about sex and sexuality-- : with answers for the curious, cautious, and confused                                 Brynie, Faith Hickman      2003
Abortion                                                                                                                       Mary E. Williams           2003



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Title                                                                                                                                                    Author                       Published
Dateable : are you? are they?                                                                                                                            Lookadoo, Justin               2003
Gingerbread                                                                                                                                              Cohn, Rachel                   2003
If wishes were horses                                                                                                                                    McInerney-Whiteford, Merry     2003
Keeping you a secret : a novel                                                                                                                           Peters, Julie Anne             2003
La guia esencial sobre sexualidad adolescente : un manual indispensable para los adolescentes y padres                                                   Basso, Michael J.              2003
Middlesex                                                                                                                                                Eugenides, Jeffrey             2003
Rainbow boys                                                                                                                                             Sanchez, Alex                  2003
Sexual health information for teens : health tips about sexual development, human reproduction, and sexually transmitted diseases : including facts ab   Deborah A. Stanley             2003
Target                                                                                                                                                   Johnson, Kathleen Jeffrie      2003
Teen pregnancy                                                                                                                                           Nolan, Mary                    2003
The earthborn                                                                                                                                            Collins, Paul                  2003
The girl with a baby                                                                                                                                     Olsen, Sylvia                  2003
The house you pass on the way                                                                                                                            Woodson, Jacqueline            2003
The underground guide to teenage sexuality : an essential handbook for today's teens and parents                                                         Basso, Michael J.              2003
Any way the wind blows : a novel                                                                                                                         Harris, E. Lynn                2002
Boy v. girl? : how gender shapes who we are, what we want, and how we get along                                                                          Abrahams, George               2002
Dancing naked : a novel                                                                                                                                  Hrdlitschka, Shelley           2002
Death wind                                                                                                                                               Bell, William                  2002
Inventions and inventors                                                                                                                                 Roger Smith                    2002
Talk about sex : the battles over sex education in the United States                                                                                     Irvine, Janice M.              2002
Teen pregnancy                                                                                                                                           Cassedy, Patrice               2002
Teen sex                                                                                                                                                 Tamara L. Roleff               2002
Teens and sex                                                                                                                                            Myra H. Immell                 2002
The guy book : an owner's manual for teens : safety, maintenance, and operating instructions for teens                                                   Jukes, Mavis                   2002
The shell house                                                                                                                                          Newbery, Linda                 2002
Abortion                                                                                                                                                 Lassieur, Allison              2001
Alison, who went away                                                                                                                                    Vande Velde, Vivian            2001
Birth control and protection : options for teens                                                                                                         Peacock, Judith                2001
Conversaciones : relatos de padres y madres de hijas lesbianas e hijos gay                                                                               Mariana Romo-Carmona           2001
Empress of the world                                                                                                                                     Ryan, Sara                     2001
Highwire moon : a novel                                                                                                                                  Straight, Susan                2001
Love rules                                                                                                                                               Reynolds, Marilyn              2001
Pregnancy                                                                                                                                                William Dudley                 2001
Pugdog                                                                                                                                                   U'ren, Andrea                  2001
Teen pregnancy                                                                                                                                           Myra H. Immell                 2001
The Abortion controversy                                                                                                                                 Lynette Knapp                  2001
The Ethics of abortion                                                                                                                                   Jennifer A. Hurley             2001
The reproductive system                                                                                                                                  O'Donnell, Kerri               2001
The shared heart : portraits and stories celebrating lesbian, gay, and bisexual young people                                                             Mastoon, Adam                  2001
Borrowed light                                                                                                                                           Feinberg, Anna                 2000
Eight seconds                                                                                                                                            Ferris, Jean                   2000
Everything you need to know about sexual identity                                                                                                        Donaldson-Forbes, Jeff         2000
Healthy sexuality : what is it?                                                                                                                          Endersbe, Julie                2000
Holly's secret                                                                                                                                           Garden, Nancy                  2000
Katie.Com                                                                                                                                                Tarbox, Katherine              2000
Problems of death : opposing viewpoints                                                                                                                  James D. Torr                  2000
Protect and defend : a novel                                                                                                                             Patterson, Richard North       2000
Teen pregnancy : tough choices                                                                                                                           Endersbe, Julie                2000
Teen sex : risks and consequences                                                                                                                        Endersbe, Julie                2000
Teen suicide                                                                                                                                             Tamara L. Roleff               2000
The abortion conflict : a pro/con issue                                                                                                                  Durrett, Deanne                2000
When can I start dating? : questions about love, sex, and a cure for zits                                                                                Watkins, James                 2000
Best best colors                                                                                                                                         Hoffman, Eric                  1999
Deal with it! : a whole new approach to your body, brain, and life as a gurl                                                                             Drill, Esther                  1999
Everything you need to know about going to the gynecologist                                                                                              Diamond, Shifra                1999



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Title                                                                                                   Author                     Published
From boys to men : all about adolescence and you                                                        Gurian, Michael              1999
It's so amazing! : a book about eggs, sperm, birth, babies, and families                                Harris, Robie H.             1999
Kids still having kids : talking about teen pregnancy                                                   Bode, Janet                  1999
The blue lawn                                                                                           Taylor, William              1999
The teenage body book                                                                                   McCoy, Kathy                 1999
The teenage guy's survival guide                                                                        Daldry, Jeremy               1999
The year they burned the books                                                                          Garden, Nancy                1999
Thumbelina : a novel                                                                                    Koenig, Andrea               1999
"Hello," I lied : a novel                                                                               Kerr, M. E.                  1998
Articles of faith : a frontline history of the abortion wars                                            Gorney, Cynthia              1998
Changing bodies, changing lives : a book for teens on sex and relationships                             Bell, Ruth                   1998
Cool and celibate? : sex or no sex                                                                      Bull, David                  1998
Gay and lesbian rights : a struggle                                                                     Oliver, Marilyn Tower        1998
Love, sex, and God                                                                                      Ameiss, Bill                 1998
Roe v. Wade : abortion and the Supreme Court                                                            Romaine, Deborah S           1998
The last time I wore a dress                                                                            Scholinski, Daphne           1998
"I'm pregnant, now what do I do?"                                                                       Buckingham, Robert W.        1997
A baby doesn't make the man : alternative sources of power and manhood for young men                    Jamiolkowski, Raymond M.     1997
Abortion : opposing viewpoints                                                                          Tamara L. Roleff             1997
Dear diary, I'm pregnant : teenagers talk about their pregnancy                                         Englander, Anrenée           1997
Everything you need to know about teen pregnancy                                                        Hughes, Tracy                1997
The legal atlas of the United States                                                                    Fast, Julius                 1997
The new Civil War : the lesbian and gay struggle for civil rights                                       Silver, Diane                1997
What's the big secret? : a guide to sex for girls and boys                                              Brown, Laurene Krasny        1997
Whistle me home                                                                                         Wersba, Barbara              1997
Bad boy                                                                                                 Wieler, Diana J.             1996
Free your mind : the book for gay, lesbian, and bisexual youth--and their allies                        Bass, Ellen                  1996
It's a girl thing : how to stay healthy, safe, and in charge                                            Jukes, Mavis                 1996
The abortion battle : looking at both sides                                                             Lowenstein, Felicia          1996
The case of Roe v. Wade                                                                                 Stevens, Leonard A.          1996
The Seventeen guide to sex and your body                                                                Weill, Sabrina Solin         1996
Baby be-bop                                                                                             Block, Francesca Lia         1995
Beyond dreams : true-to-life series from Hamilton High                                                  Reynolds, Marilyn            1995
Human sexuality : opposing viewpoints                                                                   Brenda Stalcup               1995
Looking for Jamie Bridger                                                                               Springer, Nancy              1995
My two uncles                                                                                           Vigna, Judith                1995
The abortion controversy                                                                                 Charles Cozic               1995
The eagle kite : a novel                                                                                Fox, Paula                   1995
The journey out : a guide for and about lesbian, gay and bisexual teens                                 Pollack, Rachel              1995
Am I blue? : coming out from the silence                                                                Marion Dane Bauer            1994
Deliver us from Evie                                                                                    Kerr, M. E.                  1994
Hearing us out : voices from the gay and lesbian community                                              Sutton, Roger                1994
Invisible life : a novel                                                                                Harris, E. Lynn              1994
Pregnancy : private decisions, public debates                                                           Gay, Kathlyn                 1994
Pregnancy                                                                                               Cush, Cathie                 1994
Roe v. Wade : abortion                                                                                  Gold, Susan Dudley           1994
Roe v. Wade : the abortion question                                                                     Herda, D. J.                 1994
The reproductive system                                                                                 Silverstein, Alvin           1994
You are the Supreme Court justice                                                                       Aaseng, Nathan               1994
Black swan.                                                                                             Dhondy, Farrukh              1993
Detour for Emmy                                                                                         Reynolds, Marilyn            1993
Drugs and sex                                                                                           Boyd, George A.              1993
Homosexuality : opposing viewpoints                                                                     William Dudley               1993
The cider house rules                                                                                   Irving, John                 1993
The confessions of Nat Turner                                                                           Styron, William              1993



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Title                                                                                                            Author                    Published
Thinking out loud : on the personal, the political, the public, and the private                                  Quindlen, Anna              1993
Twelve days in August.                                                                                           Ketchum, Liza               1993
A question of choice                                                                                             Weddington, Sarah Ragle     1992
The drowning of Stephan Jones.                                                                                   Greene, Bette               1992
The facts of life : science and the abortion controversy                                                         Morowitz, Harold J.         1992
When heroes die.                                                                                                 Durant, Penny Raife         1992
Asking about sex and growing up : a question-and-answer book for boys and girls                                  Cole, Joanna                1991
Boys and sex                                                                                                     Pomeroy, Wardell Baxter     1991
Everything you need to know about growing up female                                                               Kahaner, Ellen             1991
Everything you need to know about growing up male                                                                Glassman, Bruce             1991
Medical ethics : moral and legal conflicts in health care                                                        Jussim, Daniel              1991
Whose life? : a balanced, comprehensive view of abortion from its historical context to the current debate       Whitney, Catherine          1991
Abortion decisions of the Supreme Court, 1973 through 1989 : a comprehensive review with historical commentary   Drucker, Dan                1990
Everything you need to know about teen motherhood                                                                Hammerslough, Jane          1990
Jack                                                                                                             Homes, A. M.                1990
Roe vs. Wade                                                                                                     Video                       1990
Those other people                                                                                               Childress, Alice            1989
Coping with birth control                                                                                        Benson, Michael D.          1988
Roe v. Wade : the untold story of the landmark Supreme Court decision that made abortion legal                   Faux, Marian                1988
Tommy stands alone : the Roosevelt High School series                                                            Velásquez, Gloria           1985
Abortion and the politics of motherhood                                                                          Luker, Kristin              1984
Matters of life and death                                                                                        Dolan, Edward F.            1982
Why am I so miserable if these are the best years of my life? : A survival guide for the young woman             Eagan, Andrea Boroff        1976
A case of need                                                                                                   Crichton, Michael           1969




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  (https://www.dailytrib.com/)




                                (https://business.marblefalls.org/community-events-calendar/details/marble-
                                falls-mayfest-may-4-7-may-4-2022-5-00-pm-may-7-2022-12-00-am-542850)
   Marble Falls, Burnet, Kingsland, Llano, Spicewood, Horseshoe Bay, and ALL of the Highland Lakes


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           Flood 2018 
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                                                                        LLANO COUNTY
                                                                               COUNTY LIBRARY ADVISORY BOARD
                                                                                      LIBRARY ADVISORY BOARD CLOSES
                                                                                                             CLOSES MEETINGS TO THE
                                                                                                                    MEETINGS TO THE PUBLIC
                                                                                                                                    PUBLIC




                  Llano County Library Advisory Board closes                                                           Current Edition
                            meetings to the public
                          2 months ago | Brigid Cooley (https://www.dailytrib.com/author/brigidcooley/)
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          A sign directing people to the Llano County Library,102 E. Haynie St. in Llano, just past the Roy B. Inks
          Bridge on Texas 71. During a March 3 meeting, members of the Llano County Library Advisory Board
          voted to close its meetings to the public after listening to a discussion on the Texas Open Meetings Act
          given by a member of the county’s legal department. Staff photo by Brigid Cooley
                                                                                                                       (https://www.opendoorrecovery.



          The Llano County Library Advisory Board voted to hold future meetings in                                     THEDAILY
          private during its Thursday, March 3, meeting. The decision followed a                                       HIGHLAND LAKES NEWS & COMMUNITY


          presentation from Matthew Rienstra, assistant attorney to the county, on the                                     SIGNUPNOW!
          Texas Open Meetings Act and Public Information Act.                                                          (https://www.dailytrib.com/signu


          First adopted by the state in 1967, the Texas Open Meetings Act                                              Receive Breaking news
          (https://www.texasattorneygeneral.gov/sites/default/files/files/divisions/open-                              and the best of
              --------· --- --------------
          government/openmeetings_hb.pdf) establishes rules of conduct for                                             DailyTrib.com Direct to
          governmental bodies to ensure a certain level of transparency while also                                     your inbox
          allowing members of the public an opportunity to hold elected officials and
          appointees accountable. The act requires these entities host meetings publicly
          as well as post meeting agendas in a place accessible to the public
          beforehand.                                                                                                      Choose List(s)
                                                                                                                           Choose Llst(s)
https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-meetings-to-the-public/                                                  2/7
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          Types of groups, boards, and committees falling under the term
          “governmental body” are outlined in Section 552.003 of the act                                   101HighlandLakes.com
          (https://statutes.capitol.texas.gov/docs/GV/htm/GV.552.htm) and include                             DailyTrib.com
          county commissioners courts, school boards, and city councils.
                                                                                                           First
                                                                                                           First Name:
                                                                                                                 Name:
          Because the Library Advisory Board does not meet criteria listed in the act and
          all recommendations made must be approved by the Llano County
          Commissioners Court in order to be enacted, public meetings are not
          required, Rienstra explained.
                                                                                                           Last
                                                                                                           Last Name:
                                                                                                                Name:
          “(The act) does not apply to you,” he told the board. “You’re not passing rules
          or exercising any authority.”

          The public was allowed to attend previous meetings, except for those held by                     Email
                                                                                                           Emall address:
          the board’s five subcommittees. Residents attended each of the five publicly
          held meetings, addressing the board during a section set aside for public                          Your email addre
          comments until the board stopped allowing comments at its Feb. 17 meeting
          (https://www.dailytrib.com/2022/02/21/llano-county-library-board-considers-
          switching-online-reading-service/).
                                                                                                               SIGN UP
          The March 3 meeting is not the only time the board has discussed whether it
          should hold its meetings publicly. After the topic was brought up during a Jan.
          24 meeting, board Vice-Chair Bonnie Wallace informed the group that, while
          the board was not subject to the Open Meetings Act, commissioners had
          encouraged meetings be held publicly “so that we can have transparency.”                           Browse The Archives


          However, Rienstra made it clear that board members could decide how they
                                                                                                          Select Month        V
          wanted to conduct meetings amongst themselves.

          “If you’re not a governmental body, you do not have to post meetings (and)                                   Tags
          you do not have to have open meetings,” he explained. “If several of you want
          to walk around your neighborhood and say, ‘Hey, I’m on a special advisory                       BURNET
          board, what do you think?’ You can do that. If you want to have some kind of                    (HTTPS://WWW.DAILYTRIB.COM/TAG
          meeting where the public comes in and fires off their questions, you can do it.
          How you do it? That’s your business.”
                                                                                                          BURNET BASKETBALL
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
          Near the end of the meeting, board member Rhonda Schneider made a
          motion to make future meetings private. The board approved it unanimously.                      BASKETBALL/)


          In addition to discussing open meetings, Rienstra gave board members a                          BURNET CONSOLIDATED INDEPEND
          briefing on the Public Information Act. According to the Texas Attorney                         SCHOOL DISTRICT
          General’s website (https://www.texasattorneygeneral.gov/open-
                                 -------· -- - -                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
          government/office-attorney-general-and-public-information-act), the act                         CONSOLIDATED-INDEPENDENT-SCH
          provides legal guidelines “for the disclosure and protection of public                          DISTRICT/)
          information.”

                                                                                                          BURNET COUNTY
          Through the act, members of the public can request access to information
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
          such as legal documents and emails shared between government employees.
          However, it does not apply to communication between private citizens such as                    COUNTY-2/)

          advisory board members.



https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-meetings-to-the-public/                              3/7
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          “You are not subject to it for the same reason (as the Open Meetings Act),”                     BURNET COUNTY COMMISSIONERS
          Rienstra said during the meeting. “You are not a governmental body.”                            (HTTPS://WWW.DAILYTRIB.COM/TAG
                                                                                                          COUNTY-COMMISSIONERS-COURT/)
          An exception, however, applies when communication includes a county
          employee, he continued.
                                                                                                          BURNET FOOTBALL
          “We’re not trying to scare you off,” Rienstra said. “We’re trying to let you know               (HTTPS://WWW.DAILYTRIB.COM/TAG
          that you do not have any obligation to send any of your information to us, but                  FOOTBALL/)
          once you do, it becomes open records.”
                                                                                                          BURNET NEWS
          During the meeting, it was asked whether notes taken by Amber Milum, the
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
          director of the county’s library system, would be considered public record.
                                                                                                          NEWS/)

          Milum is the only library staff member to attend every one of the board’s
          meetings in order to provide insight on library policies and day-to-day work.                   BURNET SCHOOLS
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
          “If (Milum) is taking notes of these meetings, that could become a public                       SCHOOLS/)
          information document, yes,” Rienstra confirmed.
                                                                                                          BUSINESS
          “Take her pen,” Wallace quipped.
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG

          The Llano County Library Advisory Board will hold its next meeting at 3 p.m.
          Thursday, March 24, at the Justice of the Peace Annex Meeting Hall, 8347 RR                     COMMUNITY

          1431 in Buchanan Dam. No one from the public will be allowed to attend.                         (HTTPS://WWW.DAILYTRIB.COM/TAG


          brigid@thepicayune.com (mailto:brigid@thepicayune.com)                                          CORONAVIRUS
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                           Brigid Cooley                                                                  COTTONWOOD SHORES

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            Burnet County Rodeo a fun and fundraising event
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             3 HOURS AGO | DANIEL
                            DANIEL CLIFTON (HTTPS://WWW.DAILYTRIB.COM/AUTHOR/DANIELTHEPICAYUNE-COM/)
                                   CLIFTON (HTTPS://WWW,DAILYTRIB.COM/AUTHOR/DANIELTHEPICAYUNE-COMl)      FOOTBALL/)

          (https://www.dailytrib.com/2022/05/05/traffic-count-costs-pay-off-in-the-future-
          marble-falls-edc-learns/)                                                                       MARBLE FALLS
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
                                                                                                          FALLS/)


                                                                                                          MARBLE FALLS ATHLETICS
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
                                                                                                          FALLS-ATHLETICS/)


                                                                                                          MARBLE FALLS BASKETBALL
                                                                                                          (HTTPS://WWW.DAILYTRIB.COM/TAG
                                                                                                          FALLS-BASKETBALL/)


https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-meetings-to-the-public/                                 5/7
5/5/22, 8:25 PM        Case 1:22-cv-00424-RP     Document
                                        Llano County             22-10
                                                     Library Advisory       Filedmeetings
                                                                      Board closes 05/09/22       Page
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            Traffic count costs pay off in the future, Marble Falls EDC learns                                                   MARBLE FALLS CITY COUNCIL
            (https://www.dailytrib.com/2022/05/05/traffic-count-costs-pay-off-in-
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG
            the-future-marble-falls-edc-learns/)
                                                                                                                                 FALLS-CITY-COUNCIL/)
                            SUZANNE FREEMAN
             4 HOURS AGO | SUZANNE         (HTTPS://WWW.DAILYTRIB.COM/AUTHOR/SFREEMAN/)
                                    FREEMAN IHTTPS://WWW.DAILYTRIB.COM/AUTHOR/SFREEMAN{l

          4 thoughts on “Llano County Library                                                                                    MARBLE FALLS FOOTBALL
          Advisory Board closes meetings to the                                                                                  (HTTPS://WWW.DAILYTRIB.COM/TAG

          public”
          n
                                                                                                                                 FALLS-FOOTBALL/)


                           getitright says:
                           g,tltnght
                                                                                                                                 MARBLE FALLS INDEPENDENT SCHO
                                                                                                                                 DISTRICT
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG
             03/05/2022 at 12:38 pm (https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-meetings-
             to-the-public/#comment-25771)
                                                                                                                                 FALLS-INDEPENDENT-SCHOOL-DIST

                           Sounds like they sure are scared that Llano citizens will find out what they are trying to
                           cover up.                                                                                             MARBLE FALLS NEWS
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG
                           Joy says:
                                                                                                                                 FALLS-NEWS/)



             03/04/2022 at 9:59 pm (https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-meetings-
                                                                                                                                 MARBLE FALLS PARKS
             to-the-public/#comment-25768)                                                                                       (HTTPS://WWW.DAILYTRIB.COM/TAG




             n             What is it that they want to hide?


                               Jim Olive says:
                              JlmOI"'
                                                                                                                                 FALLS-PARKS/)


                                                                                                                                 MARBLE FALLS SCHOOLS
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG
                                                                                                                                 FALLS-SCHOOLS/)
                  03/07/2022 at 11:30 am (https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-
                  meetings-to-the-public/#comment-25776)

                               It does appear odd that these meetings are secret.                                                MARBLE FALLS TRACK
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG
                           Ruth says:
                                                                                                                                 FALLS-TRACK/)


             03/04/2022 at 9:51 pm (https://www.dailytrib.com/2022/03/04/llano-county-library-advisory-board-closes-meetings-    NEWS
             to-the-public/#comment-25767)
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG
                           This is censorship at it’s worst. Law suits will inevitably follow as the Llano County Library
                           System’s policies and procedures are currently still in effect.
                           Censorship and government appointed committees need and must be investigated.                         OBITUARIES
                                                                                                                                 (HTTPS://WWW.DAILYTRIB.COM/TAG

          Comments are closed.                                                                                                   2/)



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            or discriminatory
               discriminatory language,
                               language, defamatory
                                          defamatory statements,
                                                      statements, or or threats
                                                                        threats will
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                                                                                      not be
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            allowed.
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                                                                                                                                                   THE PICAYUNE MAGAZINE
                                                                                                                                                   (HTTPS://WWW.DAILYTRIB.COM/TAG
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